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                      DEPARTMENT OF VETERANS AFFAIRS
                      OFFICE OF RESOLUTION MANAGEMENT




DaShaun McCray                         )
2205 S. Linden                         )
Wichita KS 67207                       )
                                       )
                                       )
Complainant                            )
                                       )
                                       )
and                                    ) Case No. 2003-589W-2020102157
                                       )
                                       )
Secretary                              )
Department of Veterans Affairs         )
810 Vermont Avenue, NW                 )
Washington, DC 20420                   )
                                       )
                                       )
         Agency                         )
                                       )
Department of Veterans Affairs         )
Robert J. Dole VAMC                    )




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                       DEPARTMENT OF VETERANS AFFAIRS
                      OFFICE OF RESOLUTION MANAGEMENT

                                      DaShaun McCray
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From:            McCray, DaShaun
To:              Batiste, Cecilia A. (ORM)
Cc:              Alford, Natalina (ORM)
Subject:         RE: VA Form 4939
Date:            Tuesday, March 31, 2020 7:48:24 AM
Attachments:     VA Form 4939.pdf


Thank you for the notification

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Batiste, Cecilia A. (ORM) <Cecilia.Batiste@va.gov>
Sent: Tuesday, March 31, 2020 6:44 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Cc: Alford, Natalina (ORM) <Natalina.Alford@va.gov>
Subject: RE: VA Form 4939

Good morning,

There is no attachment to this email.

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 30, 2020 7:30 PM
To: ORMCDO4939 <ORMCDO4939@va.gov>
Cc: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: VA Form 4939

Mr. Rodger L. Evans, District Manager

Aggrieved Person: DaShaun McCray
Case Number: 2003589W-2020102157

Very Respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218


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Phone: 316-685-2221 ext 52734




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                            DEPARTMENT OF VETERANS AFFAIRS
                                   CONTINENTAL DISTRICT
                               OFFICE OF RESOLUTION MANAGEMENT
                                2002 Holcombe Boulevard Building 110
                                         Houston, TX 77030



                                                                       In reply refer to: 08N

June 17, 2020

Linda Harris, EEO Investigator
Office Resolution Management 08N
2002 Holcombe Boulevard Building 110
Houston, TX 77030

SUBJECT: Assignment of Investigation

1. You are hereby assigned to investigate the following discrimination complaint:

    DaShaun McCray – 2003-589W-2020102157 – VAMC, Wichita, KS

2. This letter will be your authorization effective June 22, 2020 to: (1) investigate the
accepted claim(s) in this complaint; (2) require all employees of the Department of
Veterans Affairs to cooperate with the investigation; and (3) require employees of the
agency having any knowledge of the matter accepted for investigation to furnish
testimony without a pledge of confidence. Pursuant to 29 C.F.R. §1614.108(c)(2), the
Investigator’s authority to administer the oath is automatic during the course of this
investigation.

3. Advanced preparation and investigative work are to begin immediately. A copy of the
list of documents requested from the facility is in CATS. The resulting report of
investigation is to be completed and submitted prior to the 175th day of the formal filing
date. If this complaint has been amended or consolidated with another complaint, the
investigation must be completed within the earlier of 175 days after the filing of the last
amendment/complaint or not later than 360 days after the filing of the original complaint.

4. You are authorized to use Peterson for court reporting/transcription services.

5. For questions or assistance, please contact Timothy Helke, ORM Case Manager at
Timothy.Helke@va.gov.




                                             RODGER L. EVANS
                                             Continental District Manager

Enclosure: Assignment Letter to Complainant
           Assignment Letter to Facility Director


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                               DEPARTMENT OF VETERANS AFFAIRS
                                   OFFICE OF RESOLUTION MANAGEMENT
                                           CONTINENTAL DISTRICT
                                     2002 Holcombe Boulevard Building 110
                                              Houston, TX 77030

                                                                                  In reply refer to: 08N

June 17, 2020

VIA Email: DaShaun.McCray@va.gov

DaShaun McCray
2205 S. Linden
Wichita, KS 67207

SUBJECT: Assignment of an EEO Investigator to Investigate Your Complaint of
Discrimination – Case No. 2003-589W-2020102157, Filed on March 31, 2020

1. This is to inform you that effective June 22, 2020, Linda Harris, Investigator of the
Office of Resolution Management (ORM) is being assigned to investigate this complaint.
This letter serves to authorize the Investigator to (a) investigate the accepted claims of
this complaint; (b) require all employees of the agency to cooperate with the investigation;
and (c) require employees having any knowledge of the matter accepted for investigation
to furnish testimony without a pledge of confidence.              Pursuant to 29 C.F.R.
§1614.108(c)(2), the Investigator’s authority to administer the oath is automatic during the
course of this investigation.

2. The Investigator will contact you in the near future to inform you of when the
investigation will begin. Should you have any questions, please contact Linda Harris,
Investigator at 713-791-1414 extension 28892 or Linda.Harris8@va.gov. You are
strongly encouraged to use email to submit your correspondence and/or
documents to ORM.

3. When the investigation is complete you will receive a copy of the investigation file as
well as a digitized copy of the file on a CD. If you have opted for Electronic Delivery of
Documents, you will receive only a CD. Should you wish to also receive a printed copy
of the file, please inform the investigator in writing.




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McCray, DaShaun 2003-589W-2020102157


The CD that you receive will be fully text searchable and can be bookmarked. It is an
identical copy of the CD that is provided to EEOC should you request a Hearing. The
password for the CD is Va$eo115.




                                         RODGER L. EVANS
                                         Continental District Manager

Enclosure: PA/HIPAA Notice

cc: Ricky A. Ament, Director, (589), Via Email: Ricky.Ament@va.gov
    Robert J. Dole VAMC
    5500 E. Kellogg
    Wichita, KS 67218

    Neil K. Simmons, EEO Program Manager, Via Email: Neil.Simmons@va.gov




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                                Privacy Act, 5 U.S.C. 552a, and
            Health Insurance Portability and Accountability Act (HIPAA)
                                 Violation Notice

YOU ARE HEREBY BEING INFORMED THAT THE OFFICE OF RESOLUTION MANAGEMENT IS
REQUIRED TO REPORT ALL PRIVACY ACT AND/OR HIPAA VIOLATIONS.

The Privacy Act, 5 U.S.C. 552a, applies to any records about an individual which are
retrieved by that individual’s name or personal identifier (such as Social Security or C-File
number). The Department of Veterans Affairs maintains over eighty systems of records.
ORM personnel will encounter some of these systems when performing their duties.
Some examples are Patient Medical Records (24VA136); General Personnel Records
(Title 38) – VA (76VA05); General Personnel Records (Title 5) (OPM/GOVT-1); and
Veteran, Employee and Citizen Health Care Facility Investigation Records – VA
(32VA00).

The purpose of the Privacy Act of 1974 is to balance the government’s need to maintain
information about individuals with the rights of individuals to be protected against
unwarranted invasions of their privacy stemming from federal agencies’ collection,
maintenance, use, and disclosure of personal information about them.

The Privacy Act contains a “no disclosure without consent” rule that states no agency
shall disclose any record which is contained in a system of records by any means of
communication to any person, or to another agency, except pursuant to a written request
by, or with the prior written consent of, the individual to whom the record pertains.

The Privacy Act further provides for criminal penalties as follows: Any officer or employee
of an agency, who by virtue of his employment or official position, has possession of, or
access to, agency records which contain individually identifiable information the
disclosure of which is prohibited by this section or by rules or regulations established
there under, and who knowing that disclosure of the specific material is so prohibited,
willfully discloses the material in any manner to any person or agency not entitled to
receive it, shall be guilty of a misdemeanor and fined not more than $5,000.
~~~~~~~~~~~~~~~~~~~~~~~~~

The Health Insurance Portability and Accountability Act of 1996 (HIPAA) provides security
standards and safeguards for individually identifiable health information. The term
"individually identifiable health information" means any information, including
demographic information collected from an individual, that
        a) is created or received by a health care provider, health plan, employer, or health
        care clearinghouse; and
        b) relates to the past, present, or future physical or mental health or condition of
        an individual, the provision of health care to an individual, or
        the past, present, or future payment for the provision of health care to an individual,
        and identifies the individual; or



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McCray, DaShaun 2003-589W-2020102157



       (c) with respect to which there is a reasonable basis to believe that the information
       can be used to identify the individual.

The "Safeguards" portion of the Act provides that each person who maintains or transmits
health information shall maintain reasonable and appropriate administrative, technical,
and physical safeguards
       a) to ensure the integrity and confidentiality of the information;
       b) to protect against any reasonably anticipated threats or hazards to the security
       or integrity of the information; and unauthorized uses or disclosures of the
       information; and
       c) otherwise to ensure compliance with this part by the officers and employees of
       such person.

The Act further provides for penalties of "wrongful disclosure of individually identifiable
health information" as follows:

       (a) OFFENSE--A person who knowingly and in violation of this part
             1) uses or causes to be used a unique health identifier;
             2) obtains individually identifiable health information relating to an
             individual; or
             3) discloses individually identifiable health information to another person,
             shall be punished as provided in subsection (b).

       (b) PENALTIES--A person described in subsection (a) shall
             1) be fined not more than $50,000, imprisoned not more than 1 year, or
             both;
             2) if the offense is committed under false pretenses, be fined not more than
             $100,000, imprisoned not more than 5 years, or both;
             3) if the offense is committed with intent to sell, transfer, or use individually
             identifiable health information for commercial advantage, personal gain, or
             malicious harm, be fined not more than $250,000, imprisoned not more than
             10 years, or both.

~~~~~~~~~~~~~~~~~~~~~~~~~

IF YOU PROVIDE PROTECTED INFORMATION BELONGING TO OTHER INDIVIDUALS (I.E., VA
PATIENTS OR COWORKERS) WITHOUT THEIR WRITTEN CONSENT DURING THE PROCESSING OF
YOUR EEO COMPLAINT, THIS INFORMATION WILL BE RETURNED TO THE ENTITY RESPONSIBLE
FOR MAINTAINING SUCH RECORDS AND DISCIPLINARY ACTION MAY BE TAKEN AGAINST YOU FOR
UNAUTHORIZED USE AND DISCLOSURE OF PROTECTED INFORMATION.




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             Office of Resolution Management
              DaShaun McCray
              2003-589W-2020102157



1.    EEOC regulations require that the formal investigation be completed
within 180 days of the file date. The original file date of your complaint is
March 31, 2020 and the regulatory timeline expires on September 27, 2020.

2.    ORM requests a voluntary extension of 90 days to the timeline for the
following reason: To allow time for a thorough investigation.

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íìéïçîè                  Ü¿¬»æ îðîðòðéòïí ïïæïíæðð óðêùððù   07/13/2020
________________________________________                     __________________________________________
Complainant                                                  Date

 N/A
________________________________________                     __________________________________________
Representative                                               Date

                                                              7/13/2020
________________________________________                     __________________________________________
District EEO Manager                                         Date




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                           DEPARTMENT OF VETERANS AFFAIRS
                           OFFICE OF RESOLUTION MANAGEMENT
                                  CONTINENTAL DISTRICT
                                   COUNSELOR REPORT

                              CASE NUMBER: 2003-589W-2020102157
                               COUNSELOR NAME: Alford, Natalina

Name of Aggrieved Party:                      Ms. DaShaun McCray
Home and/or Alternate Address:                2205 S. Linden, Wichita, KS 67207
Home Telephone Number:                        N/A
Cellular/Mobile Number                        (314) 691-4218
Business Address:                             5500 E. Kellogg Avenue, Wichita, KS 67218
Business Telephone Number:                    (316) 685-2221 ext. 52734
Email Address:                                DaShaun.McCray@va.gov
Position Title/Grade:                        Nurse Manager / / VN 3
Employee        X Former                     Applicant
                    Employee
VHA             X VBA                        NCA                           Canteen            Other
Title 5             Title 38            X    Hybrid T38                    Full-time     X    Part-time
Probationary        Career              X    Career Conditional            Temporary          Term
Name of Facility:                             VAMC, WICHITA
Address of Facility:                          5500 E. Kellogg Avenue, Wichita, KS 67218
Facility Telephone Number:                    (316) 685-2221
Name of Representative:                       N/A
Representative’s Address:                     N/A
Representative’s Telephone:                   N/A

                               NOTIFICATION OF PROCEDURAL RIGHTS
Initial Contact:                            Telephone                           Date:        01/31/2020
Initial Interview                           Telephone                           Date:        02/06/2020
Rights & Responsibilities/Notices:          Email                               Rec’d:       02/12/2020
Notice to Unreachable Aggrieved:            UPS/Cert Mail:                      Rec’d:       N/A
Agreed to Waive Anonymity:                  YES [X]               NO []         Date         02/06/2020
Notification to Facility Director           Email                               Date:        02/12/2020
ADR offered by facility [ ] MOU [ ]:        YES [ ]               NO [ ]        Date:        N/A
Facility Returned Signed Refusal            YES []                NO [X]        Date         N/A
ADR Agreed to by Aggrieved:                 YES [ ]               NO [X ]       Date:        02/06/2020
Settlement (SA) []                          Withdrawal (WD) []:                 Date:        N/A
Notice of Closure (for SA/WD):              Regular Mail:                       Rec’d:       N/A
Notice of Right to File:                    Email:                03/16/2020    Rec’d:       03/16/2020




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Case Number: 2003-589W-2020102157
Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

                               RMO/WITNESS INFORMATION
Responding Management Official(s):       Ruth Duda, Community Care Service Chief
                                         (316)685-2221 x57073
(Name, Title, Telephone Number)
Witness(es) Suggested for Interview by   None
Aggrieved Party (Name, Title, Tele #):
Witness(es) Suggested for Interview by   None
RMO (Name, Title, Telephone Number):

Claim - 1:Harassment/Hostile Work Environment (Non-Sexual)
Incident Date: 03/02/2020
Basis: Race - Black
                Yes      No            Yes (date)   No If claim is untimely, explain
                (date)                                   reason for the untimeliness in
Mixed Case               X MSPB                      X description of claim below.*
                               Filed
Union                    X Is Claim 03/02/20202
Grievance                      Timely
Filed
Administrative Grievance Filed                       X
Have you contacted another EEO                       X (EEO Official Name)
Official?

Brief Description of Claim:

The Aggrieved Party (AP) believed that she was discriminated against based on her Race
(Black) by Ruth Duda, Responding Management Official (RMO) as evidenced by the following
events.

1. In April 2018 to present, RMO Duda uses intimidation when speaking at the AP’s
   workstation.

2. In April 2018, RMO Duda yelled and stood over the AP in a public area to discuss another
   employee’s personal’s issues regarding pay prior to the AP becoming a Nurse Manager in
   2019. The RMO angrily stated “If she wants to get paid, you better tell her to send us the
   form!”

3. In January 2019 to present, RMO Duda usurps the AP’s supervisory authority towards staff,
   informs staff of different actions in comparison of what the AP instructed, and pits the staff
   against the AP.

4. On January 24, 2020, RMO Duda, increased the AP’s workload and sent several emails to
   her after the AP attended a meeting with Chief of Staff to discuss the RMO’s behavior.

5. On January 30, 2020, RMO Duda refused to allow the AP to speak during a meeting with
   the Ricky A. Ament, Medical Center Director to discuss the department’s workload. The AP
   claims Mr. Ament raised his hand and requested the RMO allow to the AP to speak.

6. On January 31, 2020, RMO Duda intimated the AP by standing behind the AP’s
   workstation/personal space and looked at the AP’s computer. RMO Duda yelled “You did
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Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

   not allow me to talk during the meeting with the Pentad and you gave incorrect information!
   Are you offended?”

7. On February 10, 2020, RMO Duda verbally discredited the AP’s ability as a supervisor by
   stating, “You took all leadership away from Janelle Adams (Registered Nurse, AP’s co-
   worker). It appears you were also taking credit for all progress made what was to be
   implemented in the future with little input from the staff.” The RMO approached Ms. Adams
   and asked if she felt the AP had taken over the meeting and was this the reason, she no
   longer wanted to be a Transfer RN.

8. In February 2020, RMO Duda informed the AP that the Mrs. Adams and other staff were
   fearful of retaliation when speaking with her. The AP states she spoke with Mrs. Adams and
   was informed that RMO Duda approached her on February 10, 2020, and asked her
   questions that she felt were pitting the entire staff against the AP.

   Background Information: In February 2020, Mrs. Adams went to the AP’s office stated she
   felt undermined and all the effort to gel and create a successful team was worth her effort
   and stress. Ms. Adam also stated she felt nothing was being done about Lori Lewis, RN,
   Transfer Team, lack of customer service and attitude to be a team player, and the staff is
   fearful of speaking to you in fear of retaliation.” The AP later spoke with Ms. Adams and was
   informed that Ms. Duda approached her to pit Ms. Adams and other staff against the AP.

9. On February 14, 2020, RMO Duda held a meeting with the AP and invited Heather Brown
   (AP’s mentor) without giving the AP proper notice and verbally discredited the AP’s ability
   as a supervisor. The AP claims during the meeting RMO Duda mentioned that the AP took
   over a meeting on February 7, 2020, did not allow another employee (Registered Nurse,
   Name unknown) to speak, and stated the other employees were fearful to discuss anything
   with the AP due fear of retaliation.

10. On March 2, 2020, RMO Duda threatened to fire and provided inaccurate information to the
    AP when she requested clarification on how to proceed regarding an employee’s expired
    nursing license. In an email on March 2, 2020, RMO Duda responded, “I find your response
    interesting, as I was also told to fire you when you violated the HIPPA law. Yet I chose a
    merciful route.(Name Unknown) could produce a license tomorrow, and you would have lost
    a valuable employee.”

Resolution Sought:
Monetary Amount unspecified
Harassment to stop from RMO.

Management’s Response: Email response from RMO Duda.

Claim HWE: Claim states I, RMO, usurped her authority beginning in 2018 and forward. I am
confused by this statement as Ms. McCray was a staff nurse and not in a position of
authority/supervisory role till returning from surgery in Jan. of 2019 (staff meeting minutes
attached for reference). Since no examples were provided with this alleged claim, I can only
summarize Ms. McCray is referencing to the frequent changes that occur in the Community
Care (CC) arena. Between the changes in the Choice Program, the conversion to TriWest (TW),
then Patient Centered Community Care (PC3), then PC3 with VA-scheduling, the preparation
for the roll-out of the Mission Act, the many new programs to be initiated and now the switching
to Optum the Third-Party Payer replacing TW; varying instructions were provided by VISN
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Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

leadership, as they too were trying to figure out all the new regulations and processes to follow.
Each communication was then passed on to staff, and at times became very confusing.
(Supporting evidence of this noted in e-mail dated 12/11/2019). The Community Care (CC) field
guidebook was and is continually being updated to support new processes. Ms. McCray did
voice opposition to some of the proposed processes by VISN leadership, and that may be her
perception to pitting staff against each other, as I recommend, we follow VISN guidance. In the
end, all processes were and are being finalized. All staff are using the most current process to
date. I still value Ms. McCray’s input as she is very diligent to review the most current directives
and processes identified in the CC field guidebook.

Ms. McCray statement in the claim that her behavior was discussed at the meeting between
myself and Dr. Cummings is an assumption on her part, as she was not in attendance nor did I
discuss any specific behavior of Ms. McCray. I did ask Dr. Cummings, COS, for advice on how
best to lead Ms. McCray as I feel she is becoming more frustrated and I am not sure of the
reason, and I feel she will no longer accepts advice on leading staff. It was advised to me at one
of my standing weekly meeting with Dr. Cummings to allow Ms. McCray to have full
responsibility of all Nurse Manger Functions. This was a concern after the EEO review
conducted by Neil Simmons in our department concerning the direct supervisors (see
attachment). Therefore, the announcement was made at the 1/6/2020 OCC Supervisory
meeting as noted above. It was not until the meeting called by Dr. Cummings, on 1/31/20 that I
heard from Ms. McCray’s mouth how unhappy and dissatisfied she was in her current position.
Ms. McCray informed me (announced) that she had spoken to Dr. Cummings and Dr. Cotton
weeks earlier concerning me and repeatedly stated ‘she was done with Community Care’. The
false claims she stated referencing to 2018 were merely out of lack knowing the entire story,
one which she would not have been privy to as a staff nurse.

Claim states she was not allowed to speak at the meeting in which I was presenting to our
Executive Leadership team, known as the Pentad, of which the Director is present on
1/30/2020. However, such claim is easily disputed by all in attendance. While it was my
responsibility to present as Chief of the service, Ms. McCray took over answering questions
concerning how the data was gathered. Because Ms. McCray had only a cursory overview of
the model, she stated misleading statements to the authenticity of the report which resulted in
having to produce another report to address time required on backlog, which is built into the
staffing model by Central Office. (Pentad presentation supplied as well as next backlog report
post meeting 1/30/20, and the series of e-mails to get correct data submitted). Important to note
after meeting with COS on 1/31/20, Ms. McCray refused to complete backlog report or submit a
plan, RMO finished report and submitted to COS.

Claim counters the very statement she inferred in not being allowed to speak. When I arrived at
the OCC office, post morning huddles with Leadership, with briefcase, lunch bag, purse in hand,
and my coat is still on, Ms. McCray asks if I had read the e-mail from Dr. Cummings. I had not,
and she had it pulled up on her computer screen. She pushed herself back in the chair and
posturing for me to read it. Because I have bi-focals I had to go around her desk to see the
screen. Standing beside her, I read the e-mail. At which she belligerently accused me of
invading her personal space. I immediately returned to the opposite side of the desk. She was
very upset as Dr. Cummings has removed her from participating on the Referral Coordination
Team. I asked if she was offended, and indeed she was, in addition to claiming to be the only
subject matter expert and certified case manager in this VA. After moving on from that topic, I
commented that I was going to allow her to complete the report for Dr. Cummings and the rest
of the Pentad, as she took over the presentation and created much more work. I did not yell or
raise my voice; it was stated very matter of fact in a calm manner. This too irritated Ms. McCray.
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Case Number: 2003-589W-2020102157
Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

 While I still believed she could become a great manager, she is not listening to advice or
suggestions. I tried verbally counseling Ms. McCray on 2/5/20 not for any disciplinary action but
to educate her as a manager how to meet deadlines, use Inter Qual criteria, use data and lead
staff (see my notes from the verbal counseling). I realized that I could no longer be of value to
train Ms. McCray as a manager, however, she mentioned Heather Brown, Deputy Nurse Exc. is
her mentor for professional growth. Because I believe that Ms. McCray has the potential to be a
good leader, and she has announced she is looking for other job opportunities, with Ms.
McCray’s knowledge I invited Ms. Brown to the meeting with Ms. McCray and myself on
2/14/2020. Ms. McCray voiced no objection to having Ms. Brown attend our meeting. Heather
could provide the mentorship for Ms. McCray for the areas of staff interactions that I had to bring
to Ms. McCray’s attention (see meeting notes attached). Unfortunately, my best intentions were
miss-construed; no self-reflection, no openness to guidance or constructive criticism was
accepted by Ms. McCray. Instead she became agitated and left in an abrupt manner.

Informal Documents Requested:
a. Documentation, if any, showing whether the supervisor or any management official was made
aware of the alleged harassment. (i.e. written/verbal complaints).
b. A copy of any management inquiry or investigation conducted based on the allegation, along
with all supporting documents.
c. Documentation, if any, of corrective action(s) taken subsequent to the alleged harassment /
hostile work environment.

Informal Documents Received:
a. RMO Duda’s response.
b. Employee Feedback session conducted by EEO Program Manager.
c. Claim 1-Clarifying with VISN.
d. Claim 2-Shared delegation of duties
e. Claim 3- Backlog 1
f. Claim 3- Backlog 2
g. Claim 3- Status and Plan
h. Claim 4- Cummings streamline Reference Coordinator Team
i. Executive Career Field FY 19 Year End Review




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Case Number: 2003-589W-2020102157
Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

Claim - 2: Training
Incident Date: 01/04/2020
Basis: Race - Black
                 Yes     No                   Yes (date)   No If claim is untimely, explain reason
                 (date)                                       for the untimeliness in description
Mixed Case                X MSPB                           X of claim below.*
                               Filed
Union                     X Is Claim          X
Grievance                      Timely         01/04/2020
Filed
Administrative Grievance Filed                             X
Have you contacted another EEO                             X    (EEO Official Name)
Official?

Brief Description of Claim:

From January 28, 2019 to January 4, 2020, RMO Duda failed to provide Nurse Manager training
to the AP and required her to complete the staffing model duty (inputting data regarding
consults and staff) without formally providing training despite several requests.

Resolution Sought:
Monetary Amount unspecified
Harassment to stop from RMO.

Management’s Response: Email response from RMO Duda
To date, Ms. McCray has been in her position approximately one year. However, due to the
frequent physical therapy appointments of Ms. McCray in January of 2019 and many program
changes in the department, I opted to roll-out her full duties slowly as to not overburden or
discourage her as a new manager. Between February of 2019 and June of 2019, I shared the
responsibility of investigating, resolution of complaint, and writing the response for all
congressional inquiries and White House responses pertaining to CC consults as well as
fielding billing inquiry calls and veteran/vendor complaints. I delegated full responsibility of
Veteran Care Agreements (VCA) and well as oversight of all Individual Authorization conversion
to Ms. McCray. While I assisted in the implementation of Decision Support Tree (DST) program
and education of all other services. Ms. McCray was also preforming other routine manager
duties such as Nurses Performance appraisals, staffing, time keeping, dispute resolution
between staff, and other meetings associated with being a Nurse Manager. From June of 2019
to December of 2019, Ms. McCray led the team in the conversion to Provider Profile
Management System (PPMS) and Health Sharing Referral Management (HSRM) programs
(programs now replacing TW) (PP slide attached with workload distribution noted). These
programs are now being utilized with minimal support needed. Therefore, at the 1/6/2020 OCC
Supervisory weekly staff meeting I announced I would be turning over all duties to the
immediate supervisor, respectively MSA to Ms. Dial and RN to Ms. McCray. While informing
them I, I stated I know it is a heavy load as I have been a front-line manager, and if they needed
assistance, I am willing to help. Ms. McCray assured me multiple times ‘I can handle it’. She
seemed very pleased and confident to have full responsibility for all the nursing functions.
Therefore on 1/22/20 I trained Ms. McCray on how to access the VISN SharePoint site and
complete the staffing model used for requesting staff. I invited her to attend the meeting with
leadership where I was to present the staffing requests for the department on 1/30/20, as this
was another opportunity for exposure to upper level meetings and business etiquette.
Unfortunately, from 1/6-1/30, less than a month, Ms. McCray was missing many deadlines. She
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Case Number: 2003-589W-2020102157
Name of Aggrieved Party: Ms. DaShaun McCray
Name of Facility: VAMC, WICHITA
Date of Initial Contact: 01/31/2020

refused to ask for help and when offered acted offended. When I had to follow-up on
assignments as her supervisor to ensure the task was completed, she became angry that I had
discovered another deadline missed.

Informal Documents Requested:
a. Complainant’s request, if submitted in writing, concerning the action at issue.
b. Management’s denial of request, if made in writing, with any supporting documents.
c. Written description of course or training denied, if available

Informal Documents Received:
a. RMO Duda’s response regarding training.

                            SUMMARY OF RESOLUTION EFFORTS

On February 6, 2020, during the initial telephonic interview, this counselor educated the AP on
the EEO process and Alternative Dispute Resolution (ADR) procedures. The AP declined to
participate in mediation. Resolution efforts were unsuccessful and the Notice of Right to File
was issued.

                                       FINAL INTERVIEW

On March 16, 2020, during the final interview, this counselor discussed with the AP the results
of informal counseling. This counselor informed all AP of the following: (1) The claim listed
above was the only claim addressed during informal EEO counseling; and (2) If a Formal
Complaint of Discrimination (VA Form 4939) is filed, a new claim(s) raised for the first time on
said formal that was not brought to the attention of an EEO counselor and not like or related to
the above claim will be subject to dismissal in accordance to C.F.R. § 1614.107 a(2).

On March 16, 2020, the NRTF and VA Form 4939 was sent to the AP via electronic mail.



Natalina “Natalie” Alford                                          04/28/2020
EEO Counselor                                                      Date




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                            DEPARTMENT OF VETERANS AFFAIRS
                                OFFICE OF RESOLUTION MANAGEMENT
                                 2002 Holcombe Boulevard, Building 110
                                           Houston, TX 77030




March 16, 2020
                                                                              In reply refer to: 08N
VIA: Email: DaShaun.McCray@va.gov

DaShaun McCray
2205 S. Linden
Witicha, KS 67207

Dear Ms. McCray:

I am closing the informal counseling on the matter you presented to this office on ,
January 31, 2020 Case Number: 2003-589W-2020102157. Your complaint is as
follows:

  Bases               Claims and Dates of Occurrence
  Race              Harassment/Hostile Work Environment (Non-Sexual)
  (African
  American)         1. In April 2018 to present, Ruth Duda, Responding Management Official
                       (RMO) uses intimidation when speaking at workstation and stood over
  Retaliation          Aggrieved Party’s (AP) to discuss another staff personal issue prior to
  (EEO Activity)       the AP becoming a Nurse Manager in 2019.

                    2. In January 2019 to present, RMO Duda usurps the AP’s supervisory
                       authority towards staff, informs staff of different actions in comparison
                       of what the AP instructed, and pits the staff against the AP.

                    3. On January 24, 2020, RMO Duda, increased the AP’s workload and
                       sent several emails to the AP after attending a meeting with Chief of
                       Staff to discuss the RMO’s behavior.

                    4. On January 30, 2020, RMO Duda refused to allow the AP to speak
                       during a meeting with the Medical Center Director to discuss the
                       department’s workload.

                    5. On January 31, 2020, RMO Duda intimated the AP by standing behind
                       the AP’s workstation/personal space and looked at the AP’s computer.
                       The RMO yelled at the AP and stated, “You did not allow me to talk
                       during the meeting with the Pentad and you gave incorrect information!
                       Are you offended?”

                    6. January 28, 2019 to January 4, 2020, RMO Duda failed to provide
                       training to the AP as the nursing manager and instructed the AP to
                       complete the staffing model duty (input data regarding consults and
                       staff) but never formally trained the AP after several requests made by
                       the AP.



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Notice of Right to File a Discrimination Complaint
Name of Aggrieved Person: DaShaun McCray
Case Number: 2003-589W-2020102157
                      7. On February 10, 2020, during a staff meeting, RMO verbally discredited
                         the AP’s ability as a supervisor by stating, “You took all leadership
                         away from Janelle Adams (AP’s subordinate) and it appeared you were
                         also taking credit for all progress made and what was to be
                         implemented in the future, with little input from the staff. Janelle came
                         into my office several days later and stated she felt undermined and all
                         the effort to gel and create a successful team was worth her effort and
                         stress. Ms. Adam also stated she felt nothing was being done about
                         Lori Lewis, RN (Transplant team) lack of customer service and attitude
                         to be a team player. The said staff is fearful of speaking to you in fear of
                         retaliation.” The AP later spoke with Ms. Adams and was informed that
                         Ms. Duda approached her to pit the Ms. Adams against the AP.

                      8. On February 14, 2020, RMO Duda held a meeting with the AP and
                         invited Heather Brown (AP’s mentor) without giving the AP the proper
                         notice and verbally discredited the AP’s ability as a supervisor. The AP
                         claims RMO Duda mentioned that the AP took over a meeting on
                         February 7, 2020, did not allow another employee (Registered Nurse)
                         to speak, stated the RN was fearful to discuss anything with the AP
                         due fear of retaliation.

                      9. On March 2, 2020,RMO Duda threatened to fire the AP after providing
                         inaccurate information pertaining to staff member (RN) who nursing
                         license may have expired. RMO Duda sent a text to the AP stating that
                         a staff member (RN) must show her proof of licensure or be fired
                         immediately. The AP checked Kansas State Board of Nursing while the
                         staff member was in her office the system stated the license had
                         lapsed. RMO Duda informed the AP the staff member would need to be
                         sent home. The AP responded sent home as in escorted out show
                         within time frame. The RMO responded, “ For now opportunity to
                         show…” The AP asked the RMO who gave her that information and the
                         RMO stated two members of Human Resources and the Nurse
                         Executive. The AP informed RMO Duda that the information was
                         incorrect and the RMO became upset.


Upon receipt of this letter please notify me no later than 5 business days whether the
above information is incorrect.

I have enclosed a copy of the Notice of Right to File a Discrimination Complaint
(including VA Form 4939). At this point, you have two options available to you. To help
you make your decision, I have also enclosed a link to the Equal Employment
Opportunity Commission’s (EEOC) website for an overview of the guidelines on the
federal sector EEO complaint process. http://www.eeoc.gov/federal/
Please select one of the options below as your final decision:

Option 1: You can choose to file a formal complaint of discrimination on some or all of
the claim(s) listed above. If you wish to file a formal complaint, please complete, sign,



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Notice of Right to File a Discrimination Complaint
Name of Aggrieved Person: DaShaun McCray
Case Number: 2003-589W-2020102157
and date the VA Form 4939; returning the form to the address listed on the Notice of
Right to File a Discrimination Complaint.

        If you decide to file a formal complaint, you have 15 calendar days from
        receipt of this notice in which to do so. Please do not mail the VA Form 4939
        to me; your formal complaint must be mailed to the address listed on the first
        page of the enclosed Notice of Right to File a Discrimination Complaint.

Upon receipt of a formal complaint, the Office of Resolution Management (ORM) will
review your complaint and determine if the claim(s) 1 raised meet(s) EEOC’s procedural
requirements for continued processing.

If your complaint meets procedural requirements and is accepted by ORM for
investigation, you will be given the opportunity to submit any documentation in support
of your allegations of discrimination to the ORM investigator assigned to investigate
your complaint, as part of the process for gathering evidence relevant to the merits of
your accepted claim(s). There is no need to provide evidence in support of your claim(s)
until notified that your claim(s) is accepted for investigation.

Option 2: You can take no further action, indicating your wish not to pursue the
allegations listed above any further.

If you have any questions or need assistance, please call me at (713)770-2434.

Sincerely,




Natalina “Natalie” Alford
EEO Counselor

Enclosure: Notice of Right to File a Discrimination Complaint
           VA Form 4939




1 A claim is the action(s) the Agency has taken or is taking that causes the aggrieved person to believe

s/he is the victim of discrimination for which, if proven, there is a remedy under the federal equal
employment statues. It is important to limit your description of the specific claim(s) to one or two
sentences.

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          NOTICE OF RIGHT TO FILE A DISCRIMINATION COMPLAINT

                           Aggrieved Person: DaShaun McCray
                          Case Number: 2003-589W-2020102157

1. If you are not satisfied with the results of the informal EEO process and
   believe that you have been subjected to discrimination because of race, color,
   religion, sex, national origin, age, disability, genetic information, or retaliation,
   you have the right to file a formal complaint of discrimination. If you decide to
   file a formal complaint, you must do so WITHIN FIFTEEN CALENDAR
   DAYS OF RECEIPT OF THIS NOTICE.

2. Attached is VA Form 4939, Complaint of Employment Discrimination. If you
   choose to file a formal complaint at this time, use this form, and carefully read
   the instructions on the reverse side before completing it. The counselor is
   available to assist you in filling out this form and to answer any questions you
   may have about it. If you require assistance, please contact your counselor
   immediately. Please note that the 15-calendar day time frame will not be
   extended due to your need to seek my assistance in completing this
   form.

3. You may file a complaint in person, by mail, fax, or e-mail with the District
   Manager at the address below:

                              RODGER L. EVANS, District Manager
                              Department of Veterans Affairs
                              Office of Resolution Management 08N
                              2002 Holcombe Blvd., Bldg. 110
                              Houston, TX. 77030

                              Fax: (713)794-7672

                              Email: ORMCDO4939@va.gov

4. You must identify each claim you are protesting and provide the date on which
   each occurred. Your complaint must be limited to the claim(s) you discussed
   with the counselor. Therefore, if there are any claims that you have not
   discussed with the counselor, you must do so immediately. Regulations
   require that you provide the Department with an opportunity to resolve each
   claim informally at EEO counseling.

5. You are entitled to representation at every stage of the complaint process.
   You may choose anyone as a representative, unless the person occupies a
   position within VA that would create a conflict of interest. If you do select a
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   Page 2.
   Notice of Right to File a Discrimination Complaint
   Name of Aggrieved Person: DaShaun McCray
   Case Number: 2003-589W-2020102157

   representative, you must inform this ORM District Office, in writing, of the
   representative’s name, telephone number, and business address.

6. If you are a member of the bargaining unit, you may have the right to dispute
   the events discussed with the counselor through the union grievance
   procedure. Regulations provide that you may file either a grievance or an
   EEO complaint about the events in dispute, but not both. Should you file both,
   whichever you file first (a union grievance or an EEO complaint) will be
   considered an election to proceed in that forum.

7. If you are complaining about a matter that may be appealed to the Merit
   Systems Protection Board (MSPB), you may file an EEO complaint or an
   MSPB appeal, but not both. Whichever you file first (a formal EEO complaint
   or an MSPB appeal) will be considered an election to proceed in that forum. If
   the counselor can be of further assistance to you, please advise.




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                         COMPLAINT OF EMPLOYMENT DISCRIMINATION INSTRUCTIONS
Read the following instructions carefully before you complete this form. Please complete all items on the complaint form.

GENERAL: Pursuant to the Equal Employment Opportunity Commission (EEOC) Title 29 Code of Federal Regulations (29 C.F.R.) §1614, VA
Form 4939, Complaint of Employment Discrimination, can be used by VA employees, former employees and applicants for employment who file a
formal Equal Employment Opportunity (EEO) complaint of discrimination. This regulation prohibits discrimination based on race, color, religion,
gender (sex), national origin, age (40 years and over), physical or mental disability, genetic information (including family medical history), and/or
reprisal for participating in the EEO process or opposing unlawful discrimination.
You can obtain assistance from your EEO Counselor in filling out this form. Your EEO Counselor can also answer any questions you may have
about this form. In item 8, you should specify the basis of your complaint: race, color, religion, gender (sex), national origin, age (date of birth),
physical or mental disability (specific information about your disability), genetic information (including family medical history), and/or reprisal for
participating in the EEO process or opposing unlawful discrimination. If you list "Reprisal," please state the nature of the prior EEO activity in which
you were engaged, i.e. did you file a prior EEO complaint? Use an additional sheet of paper, if necessary.
It is very important that you be precise as to the dates of all actions or events you are protesting. In addition, the claims listed in item 9, must be
limited to those claims discussed with an EEO Counselor (discussed within 45 calendar days of occurrence of the event, or within 45 calendar days
of the effective date, if a personnel action) or like or related claims. If any of the claims listed in item 9 were discussed with an EEO Counselor, but
not within 45 calendar days of their occurrence or of their effective date, you must explain why you waited more than 45 calendar days. If any of the
claims listed in item 9 were not discussed with an EEO Counselor, please contact the Office of Resolution Management (ORM), Regional EEO
Officer IMMEDIATELY. The requirement that you contact an EEO Counselor about every claim listed in item 9 will not be waived under any
circumstances. Failure to do so will only delay the processing of your complaint.
It is your responsibility to keep the (ORM) informed of your current address. If you move, immediately advise the ORM District Office where you
filed this complaint of your new address. In addition, you may receive certified and express mail in connection with your complaint. It is your
responsibility to claim all certified and express mail. Failure to notify ORM of a change in address or to claim certified and express mail may lead to
dismissal of your complaint.
REPRESENTATION: You may have a representative of your own choosing at all stages of the processing of your complaint. No EEO Counselor,
EEO Investigator or EEO Officer may serve as a representative. (Your representative need not be an attorney, but only an attorney representative
may sign the complaint on your behalf.)
WHEN TO FILE: Your formal complaint must be filed within 15 calendar days of the date you received the "Notice of Right to File a
Discrimination Complaint" (NRTF) from your EEO Counselor. If you do not meet this time limit, you must explain why you waited more than 15
calendar days to file. These time limits may be extended under certain circumstances; however, they will NOT be waived and your complaint will
NOT be investigated unless you explain your untimeliness and the explanation is acceptable in accordance with EEOC, 29 C.F.R. §1614(c).
WHERE TO FILE: The complaint should be filed with the ORM District Office identified in the NRTF. You may submit a copy either by mail, in
person, electronically (via e-mail), or by facsimile. Filing instructions are contained in the cover letter attached to the NRTF.
PRIVACY ACT STATEMENT: Maintenance and disclosure of VA Form 4939 is made in accordance with the Privacy Act of 1974. Collection of
the information on this form is authorized and/or required by the regulations of the EEOC, 29 C.F.R. §1614. All records, from which information is
retrieved, by the name or personal identifier of a respondent, are maintained by a Government-wide Systems of Records: EEOC/GOVT-1, Equal
Employment Opportunity Complaint Records and Appeal Records. The information collected will be used by ORM to determine whether your
complaint is acceptable for investigation and in connection with any subsequent investigation and processing of your complaint. In the course of any
investigation, this form may be shown to any individual who may be required by regulations, policies or procedures of the EEOC and/or ORM to
provide information in connection with this complaint, including individuals you may have identified as responsible for the acts or events at issue in
this complaint. Other disclosures may be: (a) to respond to a request form from a Member of Congress regarding the status of the complaint or
appeal; (b) to respond to a court subpoena and/or to refer to a district court in connection with a civil suit; (c) to disclose information to authorized
officials or personnel to adjudicate a complaint or appeal; or (d) to disclose information to another Federal agency or to a court or third party in
litigation when the Government is party to a suit before the court.
RESPONDENT BURDEN STATEMENT: In accordance with the Paperwork Reduction Act of 1995, The Department of Veterans Affairs (VA)
may not conduct or sponsor, and the respondent is not required to respond to this collection of information unless it displays a valid OMB Control
Number. The valid OMB Control Number for this information collection is 2900-0716. The collection of this information is voluntary. However, the
information is necessary to determine if your complaint of employment discrimination is acceptable for further processing in accordance with EEOC,
29 C.F.R. §1614. The time required to complete this information collection is estimated to average 30 minutes per response, including the time for
reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing the form. Send comments
regarding this burden estimate or any other aspects of this collection, including suggestions for reducing this burden, to VA Clearance Officer
(005R1B), 810 Vermont Avenue, Washington, DC 20420. SEND COMMENTS ONLY. DO NOT SEND THIS FORM, A COMPLAINT OF
EMPLOYMENT DISCRIMINATION, OR REQUEST FOR BENEFITS TO THIS ADDRESS

REVERSE OF VA FORM 4939, MAR 2017




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                       DEPARTMENT OF VETERANS AFFAIRS
                               OFFICE OF RESOLUTION MANAGEMENT
                                2002 Holcombe Boulevard, Building 110
                                          Houston, TX 77030


                                                                         In reply refer to: 08N
VIA: Email (DaShaun.McCray@va.gov)

February 12, 2020

DaShaun McCray
2205 S. Linden
Witicha, KS 67207

Dear Ms. McCray:

I will serve as the EEO counselor in the matter you reported to the Office of Resolution
Management (ORM) on January 31, 2020, Case Number 2003-589W-2020102157 as
follows:
  Basis         Claim and Date of Occurrence
  Race          Harassment/Hostile Work Environment (Non-Sexual)
  (African
  American)     1. In 2018 to present, Ruth Duda, Responding Management Official (RMO) usurps
                   the Aggrieved Party’s (AP) supervisory authority towards staff, informs staff of
                   different actions in comparison of what the AP instructed, and pits the staff
                   against the AP.

                2. On January 24, 2020, RMO Duda, increased the AP’s workload and sent several
                   emails to the AP after attending a meeting with Chief of Staff to discuss the
                   RMO’s behavior.

                3. On January 30, 2020, RMO Duda refused to allow the AP to speak during a
                   meeting with the Medical Center Director to discuss the department’s work load.

                4. On January 31, 2020, RMO Duda intimated the AP by standing behind the AP’s
                   workstation/personal space and looked at the AP’s computer. The RMO yelled at
                   the AP and stated, “You did not allow me to talk during the meeting with the
                   Pentad and you gave incorrect information! Are you offended?”

If this information is incorrect, please advise me within five days of receipt of this letter.

I am enclosing the Notice of Rights and Responsibilities and a document entitled “Role
& Responsibilities of the EEO Counselor.” Please read these documents carefully, sign
where indicated, and return a copy, preferably via e-mail to Natalina.Alford@va.gov or
via fax at (713)794-7672 or to the address above.

If you have any questions or need additional information, call me at (713)770-2434.

Sincerely,


Natalina “Natalie” Alford
EEO Counselor


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                     NOTICE OF RIGHTS AND RESPONSIBILITIES

                             Aggrieved Person: DaShaun McCray

                           Case Number: 2003-589W-2020102157

Under 29 C.F.R. §1614.105(a) & (a)(1), aggrieved persons who believe they have been
discriminated against on the basis of race, color, religion, sex, national origin, age,
disability, reprisal or genetic information must consult an EEO counselor prior to filing a
complaint in order to try to informally resolve the matter.

An aggrieved person must initiate contact with an EEO counselor within 45 calendar
days of the date of the matter alleged to be discriminatory or, in the case of a personnel
action, within 45 calendar days of the effective date of the action.

If the alleged matter(s) are beyond the 45 calendar day time limit for contacting an EEO
counselor, you will be given an opportunity to provide an explanation of your untimely
contact to the EEO counselor.

ORM is required to advise you that you have certain rights and responsibilities
regarding the EEO matter that you raised. They are:

   a. The right to remain anonymous during EEO Counseling. Your name will be
      divulged to others only upon your authorization for ORM to do so. You should
      know, however, that it might be very difficult to resolve your complaint informally if
      you choose to remain anonymous. Please indicate your choice by initialing
      below:

            I want to remain anonymous

            I do NOT want to remain anonymous

   b. The right to a representative during the EEO complaint process including during
      EEO counseling. You may select anyone to represent you, as long as their
      position with VA would not represent a conflict of interest. The EEO counselor
      cannot be your representative. Please initial next to your selection below:

            I do NOT want a representative at this time. I understand I may select a
            representative later (or at any stage of the EEO process).
            I have a representative. My representative is:

            Name:                                            Attorney:   Yes        No
            Address:                                         Phone: (    )
            Email:                                           Fax: (    )


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Notice of Rights and Responsibilities
Name of Aggrieved Person: DaShaun McCray
Case Number: 2003-589W-2020102157

   c. The right to have your claim(s) addressed through the agency Alternative Dispute
      Resolution (ADR) program or EEO counseling, but not both. Participation in the
      ADR program is voluntary on your part and ADR may be entered into in lieu of
      traditional EEO counseling. If ADR is elected during the pre-complaint process,
      the counseling period may be extended up to but not more than 90 calendar
      days. Your agreement to participate in ADR must be in writing. When ADR is
      elected, the EEO counselor will only gather enough information on your basis
      (es) and claim(s) to assist the agency in making a procedural determination in
      the event resolution through ADR is not reached.

       The EEO counselor will have no further involvement in the matter until the
       counselor is advised of the completion of the ADR process or the end of the 90
       day counseling period, whichever comes first. At that time, if a resolution is not
       reached through ADR or the 90 day counseling period has ended, a final
       interview will be conducted and you will be issued a Notice of Right to File a
       Discrimination Complaint.

   d. The right to request a reasonable accommodation during the EEO complaint
      process. Section 501 of the Rehabilitation Act requires agencies to provide
      reasonable accommodations to qualified applicants and employees with
      disabilities. To make a request and find your local reasonable accommodation
      coordinator, visit the Office of Diversity and Inclusion website at:
      http://www.diversity.va.gov/programs/pwd.aspx

   e. Under 29 C.F.R. §1614.301, Relationship to Negotiated Grievance Procedure, if
      you are employed by an agency subject to 5 U.S.C. 7121(d), and is covered by a
      bargaining unit agreement that permits allegations of discrimination to be raised
      in a negotiated grievance procedure, and you wish to file a complaint or a
      grievance of alleged employment discrimination, you must elect to raise the
      matter under either Part 1614 OR the negotiated grievance procedure, but not
      both. You may file the grievance before, during or after EEO counseling, but not
      after you file a formal discrimination complaint through EEO. An election to
      proceed under a negotiated grievance procedure is indicated by the filing of a
      timely grievance. Whichever you file first, a formal EEO complaint or a union
      grievance will be considered an election to proceed in that forum, and it must be
      presented in writing. At the formal level, any complaint filed after a grievance has
      been filed on the same matter, shall be dismissed without prejudice to the
      complainant’s right to proceed through the negotiated grievance procedure. The
      dismissal of such a complaint shall advise the complainant of the obligation to
      raise discrimination in the grievance process and of the right to appeal the final
      grievance decision to the Commission.
      https://www.eeoc.gov/federal/directives/md-110_appendix_d.cfm

   f. If you are disputing a matter that can be appealed to the Merit Systems


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        Protection Board (MSPB), you may file an EEO complaint or an MSPB appeal,
        but not both. Whichever you file first (a formal EEO complaint or an MSPB
        appeal) will be considered an election to proceed in that forum.
        https://www.eeoc.gov/federal/directives/md-110_appendix_d.cfm

   g. Within thirty (30) days of your first contact with an EEO counselor, you have the
      right to receive a written notice terminating counseling and informing you of the
      right to file a formal complaint (unless the period has been extended by prior
      written consent). You also have the right, at the conclusion of counseling, to file
      a formal complaint within 15 calendar days of receipt of the Notice of Right to
      File a Discrimination Complaint. When you are represented by an attorney, the
      Commission’s service regulations require that all notices be served on the
      attorney, with a copy to you. Time frames are computed from the date of receipt
      by the attorney, not the date of receipt by the aggrieved person.

   h. If you allege age discrimination, you have the right to file a lawsuit in Federal
      District Court, without filing a formal EEO complaint. A Notice of Intent to Sue
      must be filed within 180 calendar days of the date of the alleged discriminatory
      act. However, you must first notify the Equal Employment Opportunity
      Commission (EEOC), 131 M Street, NE Fourth Floor, Suite 4NWO2F
      Washington, DC 20507-0100 of your intent to do so, at least thirty (30) calendar
      days in advance of the filing your Notice of Intent to Sue.
      https://www.eeoc.gov/federal/directives/md-110_appendix_d.cfm

   i.   If you are complaining about sex-based wage discrimination (being paid less
        than a person of the opposite sex, even though they are doing equal work), you
        may file a formal EEO complaint, or lawsuit in Federal District Court, pursuant to
        the Equal Pay Act. In addition to other remedies available through the EEO
        complaint process, liquidated damages are available for willful violation of the
        Equal Pay Act. https://www.eeoc.gov/federal/directives/md-110_appendix_d.cfm

   j.   If you file a formal EEO complaint and it is accepted, you have the right to
        request an immediate Final Agency Decision from the Department of Veterans
        Affairs, or a hearing before an administrative judge of the EEOC after 180 days
        from the date you file the formal complaint, or after completion of the
        investigation, whichever comes first. If you request a Final Agency Decision, the
        request should be addressed to District Manager (08N), Office of Resolution
        Management, 2002 Holcombe Boulevard, Building 110, Houston, TX 77030. If
        you request an EEOC hearing, the request should be addressed to the EEOC
        District office under your geographical jurisdiction with a copy to the above-
        named District Manager. The list of offices can be found at
        http://www.eeoc.gov/federal/directives/md-110_appendix_n.cfm.

   k. Except for complaints of age discrimination, you have the right to file a lawsuit in
      Federal District court at any time 180 calendar days after filing a formal complaint
      or up to 90 calendar days after receipt of a Final Agency Decision from VA. You

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        may also appeal a Final Agency Decision to EEOC within 30 calendar days of
        receipt of the decision. If you choose to appeal a Final Agency Decision to
        EEOC, you have the right to file a lawsuit in Federal District Court at any time
        after 180 calendar days from the filing of such an appeal, or up to 90 calendar
        days after receiving an appellate decision from EEOC.

   l.   If you believe that other individuals, similarly situated to you, have suffered from
        the same kind of discrimination, you may have the right to file a class action
        complaint. A class action complaint must allege that you have been individually
        harmed by a VA personnel management policy or practice that has similarly
        harmed numerous other class members. You must also allege that there are
        questions of fact that are common to, and typical of, the claims of the class, and
        that you or your representative will fairly and adequately protect the interests of
        the class. EEOC also requires that a class agent be represented by a qualified
        attorney. https://www.eeoc.gov/federal/directives/md-110_chapter_8.cfm

   m. You have the responsibility to cooperate with VA during the processing of your
      complaint. You must keep the VA informed of your current address; you must
      claim any mail sent to you, and you must cooperate with any individual assigned
      to the complaint. If you eventually file an appeal with EEOC about the complaint,
      you must serve copies of the appeal papers on VA.

   n. If your complaint involves back pay, you have a duty to mitigate damages by
      actively seeking and/or retaining employment. Interim earnings or amounts,
      which could be earned by a complainant with reasonable diligence, generally
      must be deducted from back pay.

   o. If you have filed two or more complaints, the agency will consolidate them after
      appropriate notice to you. When a complaint has been consolidated with one or
      more earlier complaints, the agency shall complete its investigation within the
      earlier of 180 days after the filing of the last complaint or 360 days of the filing of
      the first complaint. In addition, the Administrative Judge may consolidate
      multiple complaints at the EEOC hearing stage.

   p. Finally, you must limit any formal EEO complaint you may file to those matters
      discussed with ORM, or to like or related matters (that is, matters which are
      directly related to those matters or which are unmistakably derived from those
      matters). Additionally, if you wish to amend a previously filed complaint, only
      matters that are like or related to the claim(s) in the pending complaint may be
      added. To protect your rights, discuss all claims with ORM before you file a
      formal complaint.

   q. If you reject an agency offer of resolution made pursuant to 29 C.F.R.
      §1614.109(c), it may result in the limitation of the Agency’s payment of attorney’s
      fees or costs.


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   r. Extension of Counseling for Resolution Efforts. When the aggrieved individual
      and an EEO Counselor engage in resolution efforts, they may decide that they
      need additional time to reach an agreement. If the aggrieved person consents,
      the EEO office may extend the counseling period an additional period up to but
      not exceeding 60 days. See 29 C.F.R. § 1614.105(e). Prior to the end of the 30-
      day period, the aggrieved person may agree in writing with the agency to
      postpone the final interview and extend the counseling period for an additional
      period of no more than 60 days. If the matter has not been resolved before the
      conclusion of the agreed extension, the notice described in paragraph (g) of this
      section shall be issued.

   s. Unless you inform us otherwise, all EEO correspondence transmitted by ORM
      will be sent to you and your designated representative, if applicable, via email. If
      your representative chooses not to participate in the email receipt of documents,
      he/she must notify ORM in writing. In instances where documents may be too
      large to email, ORM will physically mail any such correspondence to your
      address of record.

       If you should file a formal complaint, and it is accepted for investigation, you will
       receive a copy of the investigative file via encrypted email or via another means
       approved by the agency. With this election, you will not receive a printed copy of
       the investigative file unless you notify ORM in writing of your request to receive a
       printed file.

       ORM will use the date you or your attorney, if applicable, received the
       correspondence via email for purposes of calculating timeliness. Therefore, if the
       email address to which EEO correspondence is sent is a VA account, you must
       use the Read Receipt Option in Outlook to provide proof of delivery to ORM. If
       you or your representative is not using a VA email account to receive EEO
       correspondence, you must provide ORM with email confirmation immediately
       upon receipt of documents and notices. For timeliness purposes if read receipt or
       email confirmation is not provided, it shall be presumed that the parties received
       the Agency’s correspondence within five days after the date it was sent via email.

   t. You may be asked to provide documentation to ORM to support your case. The
      Department of Veterans Affairs National Rules of Behavior (§2.hh) state that you
      “will protect sensitive information from unauthorized disclosure, use, modification,
      or destruction,…” You are asked to redact any unnecessary personally
      identifiable information (names, patient records, addresses, phone number, etc..)
      from any documents that you provide to ORM. If you believe that the sensitive
      information in the documents is essential to your case, contact your ORM
      counselor/investigator and advise him/her of your concern BEFORE sending the
      information.



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If you wish to discuss your rights and responsibilities further, or if you have questions or
need additional information you may contact me preferably by e-mail,
Natalina.Alford@va.gov or via telephone at (713)770-2434 or at the above address.


__________________________________                         ____________
DaShaun McCray, Aggrieved Person                           Date


__________________________________                         ____________
N/A , Representative                                       Date




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             ROLE AND RESPONSIBILITIES OF THE EEO COUNSELOR


   • I am an information gatherer.

   • My counseling activities are intentionally informal in order to
     contribute to a climate within which facts may be given freely and
     resolutions explored by both parties with minimum tension.

   • I talk with the principles in the dispute in a casual and non-
     intimidating manner.

   • As an EEO counselor, my job is to assist the parties of the complaint
     in their efforts to reach an amicable agreement.

   • I am not a representative or an advocate of the aggrieved person. I
     do not, for example, advise the aggrieved person whether to file a
     formal complaint.

   • I do not offer opinions about the merits of the case, but I do advise on
     what EEO laws and regulations require to prevail in a case.

   • I provide all parties with technical information about how the process
     works and about their rights and responsibilities during the process.

   • I am not management’s representative. I am a neutral of the Office of
     Resolution Management (ORM).




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                           DEPARTMENT OF VETERANS AFFAIRS
                              OFFICE OF RESOLUTION MANAGEMENT
                                        Continental District
                                      Houston, TX 77030



May 12, 2020
                                                                          In reply refer to: 08N
VIA: E-Mail



Dr. Dana Foley, Interim Director (589W/00)
Department of Veterans Affairs
Robert J. Dole, VA Medical Center
5500 East Kellogg
Wichita, KS 67218

SUBJECT: Notice of Acceptance of EEO Complaint of DaShaun McCray,
Case No. 2003-589W-2020102157, Filed March 31, 2020

1. This is to inform you that DaShaun McCray filed a complaint of discrimination
on March 31, 2020. Enclosed is a copy of the acceptance letter that was sent to
the complainant.

2. All documents and records, including the Official Personnel Folder related to
this complaint, must be maintained at the facility and made available at the time
of the investigation.

3. Advanced preparation for the investigation is to begin as soon as possible.
This includes securing all documents (appropriately redacted)1 identified in the
attachment to this letter. We require that the requested information be provided
within 10 calendar days of your receipt of this letter using electronic delivery via
email to ORMOICTAdministrativeTeam@VA.gov or via DOD’s SAFE portal. You
may contact us at RMOICTAdministrativeTeam@VA.gov for questions related to
using SAFE.

If electronic delivery is not possible, requested information should be mailed to:

                         DVA-Office of Resolution Management
                                     Attn: Colette Hill
                          William S Morehead Federal Building
                              1000 Liberty Ave., Suite 1801
                                  Pittsburgh, PA 15222



1
  Any patient/veteran information must conform with VA’s guidelines/criteria for release of
information and have the appropriate documentation to verify authorization to release such
information to ORM.


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If any of the requested documents or information does not exist or is not
maintained by your facility, please have an appropriate management official
provide a signed and dated statement identifying the information and explaining
why it cannot be provided.

4. The protection of the privacy of veterans, their dependents and beneficiaries,
as well as the privacy of all employees and contractors of VA, and other
individuals for whom personal records are created and maintained in accordance
with Federal law is a critical requirement. As such, documents provided to us in
response to our requests for documents or information must be redacted prior
to their release to ORM for VA sensitive information2 and personally identifiable
information (PII). Specific examples of information that should be
redacted/sanitized before their release to ORM include:

        a. Social security numbers
        b. Names of veterans, their dependents and/or beneficiaries
        c. Medical/diagnostic and/or veteran claim information related to specific
           veterans, their dependents and/or beneficiaries
        d. Dates of birth (the exception to this are for cases that allege age based
           discrimination).
        e. Complainant’s medical information, unless this information is
           accompanied with a release of information signed by the complainant.

5. ORM will make two requests for information deemed necessary for inclusion
in the investigative file. This letter is considered the first request for information.
If an additional request is necessary, it will be prepared by the investigator
assigned to this complaint. Requests will be documented in the investigative file
along with your facility’s response, or lack thereof. Failure to submit the
requested documents may result in an adverse inference/sanction by the
VA Office of Employment Discrimination Complaint Adjudication or the
Equal Employment Opportunity Commission.

6. The Equal Employment Opportunity Commission (EEOC) encourages the use
of Alternative Dispute Resolution (ADR) to resolve EEO complaints at the lowest
possible level. Agencies and complainants can realize many advantages from
using ADR. ADR offers the parties the opportunity for an early, informal
resolution of disputes in a mutually satisfactory fashion. If you are interested in


2
  VA sensitive information as defined by Public Law 109-461, is all Departmental data, on any
storage media or in any form or format, which requires protection due to the risk of harm that
could result from inadvertent or deliberate disclosure, alteration, or destruction of the information.
The term includes information whose improper use or disclosure could adversely affect the ability
of an agency to accomplish its mission, proprietary information, records about individuals
requiring protection under various confidentiality provisions such as the Privacy Act and the
Health Insurance Portability and Accountability Act (HIPAA).


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using mediation to address the issues raised in this complaint, please contact
Timothy Helke, Case Manager, at (713) 794-7756, or the ADR Program Manager
at (202) 501-2800.




Enclosure:        Acceptance Letter

Neil Simmons, EEO Program Manager (Via E-Mail)




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              REQUESTED DOCUMENTS FOR PENDING EEO INVESTIGATIONS

COMPLAINANT’S NAME: DaShaun McCray
      CASE NUMBER: 2003-589W-2020102157
        DATE FILED: MARCH 31, 2020

INSTRUCTIONS: Please provide documents checked () below. This information is due in the ORM Field
Office within ten (10) days of receipt of request. Documents must be accompanied by a statement from an
appropriate official certifying the documents as true and accurate. Statements must be on official stationery,
dated, signed and must include the title of the certifying official. The EEO category(s)/bases of this complaint
are checked () below:
                                         EEO CATEGORIES (BASES)
[X] RACE                                []COLOR                                      []AGE
[]SEX                                  []NATIONAL ORIGIN                              []DISABILITY
[]RELIGION                             [X]REPRISAL

                                   HOSTILE WORK ENVIRONMENT

[X] Organizational chart for the organizational unit to which the complainant was assigned
    at the time of the reassignment.

[X] Statistical breakdown of the organizational unit3 involved in the action in question as of
    the date of the action. Provide name, position (title, series, and grade), and EEO
    category(s) as checked above.

[X] Facility harassment policy in effect at the time the complaint was filed.




3
 Organizational unit is defined as the section where complainant was employed (or sought employment if
complaint was filed by an applicant for employment) when the complaint was filed. For example, if the
complainant worked for Human Resources Management (HRM) Service/Division in the Labor Relations
Section, the organizational unit is the Labor Relations Section.


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                              DEPARTMENT OF VETERANS AFFAIRS
                              OFFICE OF RESOLUTION MANAGEMENT
                                        Continental District
                                  2002 Holcombe Blvd., Bldg. 110
                                        Houston, TX 77030
May 12, 2020


                                                                   In reply refer to: 08N
VIA: DaShaun.MaCray@VA.gov


DaShaun McCray
2205 S. Linden
Wichita, KS 67207

SUBJECT: Notice of Acceptance of your EEO Complaint, Case No. 2003-
589W-2020102157, Filed March 31, 2020, against officials of the Department
of Veterans Affairs, Robert J Dole VA Medical Center, in Wichita, Kansas

1. On January 31, 2020, you initiated contact with an EEO counselor. Counseling
concluded on March 16, 2020, when you were sent, via email, the Notice of Right
to File a Discrimination Complaint, which you received on March 31, 2020. On
March 31, 2020, you filed a formal complaint of discrimination, VA Form 4939.

2. Your complaint raises the following claim:

      Whether on the bases of race (African-American) and reprisal (previous
      EEO activity1), the complainant was subjected to a hostile work
      environment as evidenced by the following:

          1. From April 2018, through the present, Ruth Duda (RD), Community
          Care Service Chief, attempted to “intimidate” the complainant when
          she spoke with her in her workspace, RD yelled at her in a public
          area while discussing another employee’s pay, and RD stated, “If she
          wants to get paid, you better tell her to send us the form!”

          2. Between January 28, 2019, and January 4, 2020, RD required the
          complainant to complete the staffing model duty, without providing
          her Nurse Manager training.

          3. From January 2019, through the present, RD “usurped” the
          complainant’s supervisory authority by instructing her
          (complainant’s) staff to complete different actions than she initially
          instructed her staff to do.




1
    The complainant added the basis of reprisal on her formal complaint.


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      4. On January 24, 2020, RD increased the complainant’s workload
      after she had a meeting with the Chief of Staff to discuss RD’s
      behavior.
      5. On January 30, 2020, RD refused to allow the complainant to speak
      during a meeting with the Medical Center Director, even though the
      Director asked RD to allow her (complainant) to speak.

      6. On January 31, 2020, RD violated the complainant’s personal
      space when she looked over her so that she could see her computer,
      and RD yelled at her, “You did not allow me to talk during the
      meeting with the Pentad, and you gave incorrect information, are you
      offended?”

      7. On February 10 and 14, 2020, RD undermined the complainant’s
      ability as a supervisor when she stated, “You took all leadership
      away from Janelle Adams, Coworker. It appears you were also taking
      credit for all of the progress made, what was to be implemented in
      the future with little input from the staff,” and when she falsely
      accused her taking over a February 7, 2020, meeting and did not
      allow another employee to speak.

      8. On March 2, 2020, RD threatened to fire the complainant when she
      asked RD how to proceed with an employee’s expired nursing
      license, and RD stated to her, “I find your response interesting, as I
      was also told to fire you when you violated the HIPAA law. Yet I
      chose a merciful route. (Name unknown) could produce a license
      tomorrow, and you would have lost a valuable employee.”

3. In assessing a hostile environment claim, the totality of the circumstances
must be examined, including (1) the frequency of the discriminatory conduct; (2)
its severity; (3) whether it is physically threatening or humiliating, or a mere
offensive utterance; and (4) whether it unreasonably interferes with an
employee's work performance. A hostile environment claim generally requires a
showing of a pattern of denigrating conduct that unreasonably interferes with an
individual's work performance or creates an intimidating, hostile, or offensive
working environment. In determining whether harassment is sufficiently severe
or pervasive to create a claim of hostile environment, the harasser's conduct is
evaluated from the objective standpoint of a reasonable person. An objectively
hostile or abusive work environment is created only when a reasonable person
would find it hostile or abusive.

We have determined your claim of hostile work environment passes the severe
or pervasive requirement for further processing. The events in your complaint




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occurred over an approximate two-year period and could have the potential to
affect the work environment of a reasonable person.

4. As noted above, your overall claim of harassment, events 1-8, is ACCEPTED
for investigation.

5. If you believe that the accepted claim is improperly formulated, incomplete, or
incorrect, you must notify this office within 7 calendar days of receipt of this letter,
in writing, by mail or fax, stating your disagreement. We will include your
statement in the complaint file. If you do not contact this office within 7 calendar
days, we will assume that the claim is correctly stated. You are strongly
encouraged to use email to submit any concerns regarding the events identified
in the notice of partial acceptance to timothy.helke@va.gov

6. The accepted claim will be assigned to an impartial investigator under the
supervision of the Office of Resolution Management (ORM). The investigator will
contact you directly in order to obtain information or evidence you may wish to
offer.

7. You have additional rights that are fully explained in the enclosure to this letter.

8. Failure to keep this office advised of any change of address could lead to
dismissal of your complaint. You must also immediately advise this office, in
writing, of the name, address, and telephone number of any person you may
choose to represent you. If you advise us of representation, we will mail all
subsequent complaint-related correspondence to your representative, with
copies to you, unless you advise us, in writing, that you are no longer
represented by that individual.

9. Our fax number is (713) 794-7672. If you have any questions, please contact
Timothy Helke, Case Manager, at Timothy.helke@va.gov. You are strongly
encouraged to use email to submit your correspondence and/or documents to
ORM.




Enclosures: Complainant Rights
            EEOC Letter dated April 6, 2020




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cc:
Dr. Dana Foley, Interim Director (589W/00) (Via E-
Mail) Department of Veterans Affairs
Robert J. Dole, VA Medical Center
5500 East Kellogg
Wichita, KS 67218

Neil Simmons, EEO Program Manager (Via E-Mail)




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                                             Complainant Rights

The investigation must be completed within 180 calendar days of filing your complaint. You will receive a
copy of the investigative file upon completion. You will be advised, in writing, of your right to request a
Final Agency Decision (FAD) from the VA’s Office of Employment Discrimination Complaint
Adjudication (OEDCA) in Washington, DC, or a hearing by an administrative judge appointed by the
Equal Employment Opportunity Commission (EEOC).
                                             Requesting a Hearing
  In order to request a hearing, you must meet the following criteria:
           You have received your completed investigative file -OR-
           180 calendar or more days elapsed since you filed your formal complaint (and you have not
  received your complete investigative file)
To request that EEOC appoint an administrative judge to You must send a copy of your EEOC hearing
hear your complaint, complete a “Hearing Request Form” request to this office:
send it to:
                              Director
       U.S. Equal Employment Opportunity Commission                   Department of Veterans Affairs
                     St. Louis District Office                      Office of Resolution Management
                 1222 Spruce St., Room 8.100                                 Continental District
                      St. Louis, MO 63103                                  2002 Holcombe Blvd.
                                 or                                          Houston, TX 77030
      You may request a hearing through EEOC’s online
              portal at http://publicportal.eeoc.gov

   You are required to certify to the EEOC administrative judge that you sent a copy of the request for a
   hearing to the Office of Resolution Management at the above address.
                                        Requesting a Final Agency Decision
   To request a FAD, you must have received your completed investigative file.
To request a FAD, submit the FAD request form which will be included in your investigation file to:
                                            Department of Veterans Affairs
                                           Office of Resolution Management
                                                   Continental District
                                                 2002 Holcombe Blvd.
                                                  Houston, TX 77030
If you request a FAD, it will be rendered by VA’s Office of Employment Discrimination Complaint
Adjudication (OEDCA) in Washington, DC. The FAD will address all claims, and a decision will be made
on the merits of your complaint. You may appeal the FAD to EEOC if you are dissatisfied with the
decision. OEDCA will provide you with specific information regarding your appeal rights following its final
agency decision, including your right to file a civil action in an appropriate United States District Court.
                                               Requesting Civil Action
If you have not received a copy of the investigative file within 180 calendar days from date you filed your
formal complaint, and you do not wish to have a hearing, you also have the right to file a civil action in an
appropriate United States District Court. If you file a civil action, the court may, at its discretion and upon
your request, appoint an attorney to represent you in the matter, if you do not have or cannot afford one.
The court may also authorize the civil action to begin without payment of fees, costs, or other security.
Finally, if you decide to file a civil action, you must name the Secretary of Veterans Affairs as the
defendant.
                                                  Requesting ADR
The EEOC encourages the use of Alternative Dispute Resolution (ADR) to resolve EEO complaints.
Agencies and complainants can realize many advantages from using ADR. ADR offers parties the
opportunity for an early, informal resolution of disputes in a mutually satisfactory fashion. If you are
interested in using mediation to address the issues raised in your complaint, please contact the ORM
case manager listed in the letter or the ADR program manager at workplaceadr@va.gov.


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                               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSIN
                                           Office of Federal Operations
                                              P.O. Box 77960
                                        Washington, D.C. 20013


                                            April 6, 2020
Memorandum
TO:            Federal Sector EEO Directors & Officials


FROM:          Carlton M. Hadden
               Director, Office of Federal Operations

SUBJECT:       Processing Information for All Parties in Federal EEO Processing under 29 CFR Part 1614


In light of the National Emergency declared by the President due to the Coronavirus (COVID-
19), the U.S. Equal Employment Opportunity Commission’s (EEOC) Office of Federal
Operations (OFO) is issuing the following instructions regarding the processing of federal
sector EEO complaints covered by 29 CFR Part 1614.
The EEOC recognizes this crisis affects all federal employees, complainants, and others involved
in the EEO process. We appreciate the dedication of federal EEO professionals throughout the
federal government and we further recognize that the centerpiece of our efforts are the
employees, applicants, and former employees who believe they have experienced employment
discrimination and access our regulatory process for assistance. Nevertheless, the federal
government remains open and committed to providing mission-critical services to the greatest
extent possible, given the limitations inherent in the current environment.
The EEOC also recognizes that, because of the National Emergency, applicants who utilize the
EEO complaint process may face challenges that preclude them from meeting the regulatory
timeframes set forth in 29 CFR Part 1614.
The EEOC must balance its duty to ensure that the EEO process continues efficiently and
effectively, without compromising the safety of federal employees or the rights or safety of
complainants and others involved in the EEO process.
The EEOC expects that agencies and employees will continue to process EEO complaints in a
timely manner that will best preserve the legal rights of the parties involved, unless doing so
would interfere with mission-critical operations for an agency. Accordingly, the Office of
Federal Operations is issuing the following instructions, which will remain in effect until
further notice:
   1. Agencies will continue all counseling, investigations and other complaint processing set
      forth in 29 CFR Part 1614, except in circumstances meeting the criteria described below.




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2. To the extent practicable, regulatory timeframes concerning the processing of federal
   sector EEO complaints will continue to be met, wherever feasible. For this purpose,
   practicable means where the agency and complainant have access to needed witnesses,
   documents and representation, and where such processing will not interfere with the
   mission- critical operations of the agency.

3. The regulatory timeframes set forth in 29 C.F.R. Part 1614 will be subject to the
   equitable tolling provisions set forth in 29 C.F.R. §1614.604(c). Absent mutual
   agreement, agencies and complainants will be required to document in the record the
   reason(s) why tolling any of the time limits set forth in 29 CFR Part 1614 is necessary.
   Such justification will fully be considered by the Commission in any appeal raised in the
   matter.

4. Agencies and complainants are encouraged to seek mutual agreement with respect to the
   extension of any timeframes. Where such agreements are reached, they should be
   reduced to writing and made part of the record. OFO will honor such agreements on
   appeal, unless they are clearly onerous to one party or otherwise violate the standards for
   equitable tolling, waiver or estoppel.

5. EEOC Administrative Judges will continue to manage the hearings program.
   Administrative Judges will continue to hold conferences, manage discovery, refer cases to
   ADR and settlement, issue summary judgment decisions and, where appropriate, hold
   hearings and issue decisions. In light of the National Emergency, either party can seek an
   extension or other relief from any deadline for good cause shown.

6. The EEOC is deeply concerned about protecting (and committed to ensuring every
   federal employee continues to have) all their rights during this time of National
   Emergency. To that end, EEOC asks agency EEO offices to continue counseling
   employees, accepting their discrimination complaints, and investigating these
   complaints to the fullest extent possible without undermining mission-critical
   functions. We ask agencies not to issue final actions on any EEO complaint, unless the
   investigation is complete and the Complainant has requested that the final action be
   issued.

7. EEOC will continue to prepare appellate decisions but will not mail those decisions. A
   Complainant who provides an e-mail address and waives first class mailing may request
   the decision via e-mail to ofo.eeoc@eeoc.gov . The Commission is extremely cognizant
   of preserving a party’s right to file a civil action in U.S. District Court. Given the current
   National Emergency, the Commission is suspending issuance of all appellate decisions
   via the U. S. mail until further notice in order to best preserve those rights.

8. Until further notice, OFO does not have access to U.S. Mail; rather, we ask that all
   submissions and communications from both agencies and complainants be digital, via
   the Public Portal/FEDSEP. We ask those who submitted items via U.S. Mail on or after
   March 6, 2020 to resubmit them via the Public Portal/FEDSEP.

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9. The Commission supports and encourages the use of digital documents and electronic
   signatures. A digital document used by a person, agency, or other entity shall have the
   same force and effect as those documents not produced by electronic means. “Electronic
   signature” means any digital symbol, sound, or process attached to or logically associated
   with a digital record and executed or adopted by a person with the intent to sign the
   record.

10. Each agency subject to the regulations at 29 CFR Part 1614 is directed to forward a copy
    of this notice, using the most effective available method, to each Complainant with a
    pending EEO matter and to each person who hereafter contacts an agency EEO
    counselor or otherwise enters into the agency’s EEO process.

11. For more Commission information and resources, please go to our COVID-19
    information links at: https://www.eeoc.gov/coronavirus/




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                            DEPARTMENT OF VETERANS AFFAIRS
                               OFFICE OF RESOLUTION MANAGEMENT
                                      CONTINENTAL DISTRICT
                                2002 Holcombe Boulevard Building 110
                                         Houston, TX 77030



                                                                             In reply refer to: 08

May 4, 2020

VIA: Email (dmmccray@ymail.com)

DaShaun McCray
2205 S. Linden
Wichita, KS 67207

SUBJECT: Notice of Receipt of your Discrimination Complaint No. 2003-589W-
2020102157, Filed March 31, 2020

1. The official filing date of your complaint is March 31, 2020, based on date your Email
was received. This notice also provides you with written notification of your rights, as
well as the time requirements for exercising those rights.

2. If your claims are accepted, your case will be assigned to an impartial investigator
under the supervision of the Office of Resolution Management (ORM). The investigator
will contact you directly in order to obtain information or evidence you may wish to offer.
The investigation must be completed within 180 calendar days of the filing of your
complaint. You will be provided with a copy of the investigative file upon completion
and you will be advised, in writing, of your right to request a Final Agency Decision
(FAD) from the Office of Employment Discrimination Complaint Adjudication (OEDCA),
or a hearing by an administrative judge appointed by the Equal Employment
Opportunity Commission (EEOC).

3. If the investigation has not been completed within the 180 calendar-day time limit,
regulations permit the agency and the complainant to agree, in writing, to extend the
investigative period for not more than 90 calendar days. ORM will make every good
faith effort to complete the investigation within the prescribed period. However, where
workload demands make it impossible to complete a timely investigation, we will work
with you to seek mutual agreement to extend the period so that the investigation can be
completed before you seek an EEOC hearing or a final agency decision from OEDCA.

4. You must keep this office advised of any change of address. Failure to do so could
lead to dismissal of your complaint. You must also immediately advise this office, in
writing, of the name, address, and telephone number of any person you may choose to
represent you in this matter. All subsequent actions on your complaint will be emailed or
delivered to your representative, with copies to you, unless you advise us in writing that
you are no longer represented by that individual. You are strongly encouraged to use
email to submit your correspondence and/or documents to ORM




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Notice of Receipt
Complainant: DaShaun McCray; 2003-589W-2020102157

5. The EEOC encourages the use of Alternative Dispute Resolution (ADR) to resolve
EEO complaints at the lowest possible level. Agencies and complainants can realize
many advantages from using ADR. ADR offers the parties the opportunity for an early,
informal resolution of disputes in a mutually satisfactory fashion. Please see the
Mediation Program Information Sheet enclosed. If you are interested in using mediation
to address the issues raised in your complaint, please contact the ADR Director at
workplaceadr@va.gov. If you have questions or concerns contact Timothy Helke, ORM
Case Manager at email: Timothy.Helke@va.gov.




                                             RODGER L. EVANS
                                             Continental District Manager

Enclosure: Counselor’s Report
           Mediation Program Information Sheet


cc:      Ricky A. Ament, Director (589W/00), Via: Email
         Robert J. Dole VAMC
         5500 E. Kellogg
         Wichita, KS 67218

         Neil K. Simmons, EEO Program Manager




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                    MEDIATION PROGRAM INFORMATION SHEET

What Is Mediation?

Mediation is an informal way for employees to address disputes with a fellow employee,
manager, or colleague. In mediation, a neutral person called a mediator helps two or
more persons explore ways to resolve their differences and reach an agreement that
best addresses their interests. Mediation allows the parties to create their own unique
solutions, instead of taking the problem to an outside decision-maker and having that
person’s solution imposed on them.

Mediation does not focus on who is right and who is wrong. It focuses on forward
thinking and solving the problem. The mediator has no authority to make decisions for
the parties. The parties decide what is important to each of them and make decisions
based on those factors. The mediator helps the parties communicate, make informed
decisions by understanding and listening to each other, and work together to create
options and acceptable solutions.

Why Should I Request Mediation?

While conflict is a natural part of our daily lives, unresolved disputes may become
unproductive and negatively impact the work environment. In these instances,
mediation can save time and resources for all involved. Mediation can improve
communication and prevent future misunderstandings. Mediation provides an
opportunity to discuss sensitive issues and concerns in a private setting. Mediation
helps the parties to look realistically at the best and worst case alternatives to resolving
the dispute, and when possible, develop mutually satisfactory solutions. By agreeing to
mediate, neither party gives up any rights to other processes that may be available to
address the dispute. Parties can designate a representative to attend the mediation
and provide support and advice during the process.

How Does Mediation Fit Into The EEO Process?

An individual who has initiated the EEO complaint process may advise an Office of
Resolution Management (ORM) EEO counselor of his/her interest in mediation as
opposed to EEO counseling. The EEO counselor will inquire and find out if the Agency
is willing to participate in mediation. If so, the pre-complaint process will be extended
for no more than 90 calendar days from the individual’s date of initial contact with the
EEO counselor to allow the parties to mediate. If mediation does not resolve the matter,
the EEO counselor will advise the individual of his/her right to file a formal EEO
complaint.

After a formal EEO complaint has been filed, the complainant may request mediation at
any time during the processing of his/her complaint. If the Agency agrees to mediate,
the processing of the EEO complaint will be held in abeyance for no more than 90


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calendar days from the date of the request to mediate. If the complaint is not resolved
in mediation, the EEO complaint process resumes at the point mediation was
requested.

How Do I Begin The Mediation Process?

The mediation process is initiated by contacting the ORM official assigned to the EEO
complaint or ORM’s ADR Program Office. If the request does not involve an issue of
fraud, waste, abuse, criminal activity, sexual harassment, or removal for cause, the
other party involved in the dispute will be contacted to see if (s)he is amenable to
mediation. If the other party is willing to mediate, the ORM ADR Program Office or
Facility ADR Coordinator obtains mediators from within VA or another Federal agency,
depending on the parties’ preference. In some instances, where a party is a member of
the bargaining unit, the union may be notified of and invited to participate in the
mediation session.

What Happens During The Mediation Session?

Generally, the mediator begins with an introduction, explaining the process, each party’s
role, and establishing ground rules. Then, each party is afforded an opportunity to
share information about the dispute. The mediator may continue with all parties in a
joint session, exploring ways to address the issues raised or the mediator may meet
separately with each party in private caucuses. Any information shared only with the
mediator will be kept confidential unless permission is given to the mediator to disclose
to the other party. If the parties can find common ground and agree to terms, those
terms are documented in an agreement.

What If An Agreement Is Reached?

A written agreement is drafted and signed by all necessary parties. Once the
agreement is signed by all parties, the contract is binding and enforceable. The parties
may agree not to disclose the terms of the agreement to those who do not have a need
to know; however, the document itself is not confidential and may be disclosed to
establish compliance.

What If An Agreement Is Not Reached?

If mediation was elected during the EEO complaint process, the process resumes at the
point mediation was requested.

What If I Have More Questions?

If you would like additional information, please contact the ORM ADR Program Office at
workplaceadr@va.gov.




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                          DEPARTMENT OF VETERANS AFFAIRS
                                CONTINENTAL DISTRICT
                          OFFICE OF RESOLUTION M ANAGEMENT
                                 HOUSTON, TX 77030


                                  Investigative Report
              In the Matter of the EEO Complaint of Discrimination of:



                                                                   )
Dashaun McCray
2205 S. Linden                                                     )
Wichita KS 67207
                                                                   )
                                                                   )
                                                                   )
(Complainant)
                                                                   ) Case No: 2003-589W-2020102157
      v.                                                           )
                                                                   )
Secretary                                                          )
Department of Veterans Affairs
810 Vermont Avenue, NW                                             )
Washington, DC 20420                                               )
(Respondent)
                                                                   )
                                                                   )

Facility: Department of Veterans Affairs                           )
Robert J Dole VAMC                                                 )

Linda Harris                                                       )
EEO Investigator                                                   )
2002 Holcombe Blvd., Bldg. #110
Houston, TX 77030                                                  )
                                                                   )
                                     I. Introduction               )

Having met all procedural requirements for acceptance, with respect to the issues
specified hereafter; this complaint was assigned for investigation on June 22, 2020. An




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investigation using affidavits and sworn testimony was conducted from June 23, 2020 to
September 23, 2020, 2020. This report is submitted for the consideration of the Regional
EEO Officer on this 24th day of September.


                                        II. Background
DaShaun McCray referred to as the Complainant, contacted an EEO Counselor on
January 31, 2020 stating that race and reprisal were the bases for her claim. Counseling
was unsuccessful in resolving her complaint and she filed a formal complaint on March
31, 2020. The complaint was accepted for investigation on May 12, 2020 (1-1; 2-1; 3-1).


                                        III. Claims and Basis

Whether on the bases of race (African-American) and reprisal (previous EEO
activity1), the complainant was subjected to a hostile work environment as
evidenced by the following:

Event 1: From April 2018, through the present, Ruth Duda (RD), Community Care
Service Chief, attempted to “intimidate” the complainant when she spoke with
her in her workspace, RD yelled at her in a public area while discussing another
employee’s pay, and RD stated, “If she wants to get paid, you better tell her to send
us the form!”

Event 2: Between January 28, 2019, and January 4, 2020, RD required the
complainant to complete the staffing model duty, without providing her Nurse
Manager training.
Event 3: From January 2019, through the present, RD “usurped” the
complainant’s supervisory authority by instructing her (complainant’s) staff to
complete different actions than she initially instructed her staff to do.
Event 4: On January 24, 2020, RD increased the complainant’s workload after she had
a meeting with the Chief of Staff to discuss RD’s behavior.
Event 5: On January 30, 2020, RD refused to allow the complainant to speak during a
meeting with the Medical Center Director, even though the Director asked RD to
allow her (complainant) to speak.

Event 6: On January 31, 2020, RD violated the complainant’s personal space
when she looked over her so that she could see her computer, and RD yelled at
her, “You did not allow me to talk during the meeting with the Pentad, and you
gave incorrect information, are you offended?”




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Event 7: On February 10 and 14, 2020, RD undermined the complainant’s ability as
a supervisor when she stated, “You took all leadership away from Janelle Adams,
Coworker. It appears you were also taking credit for all of the progress made, what
was to be implemented in the future with little input from the staff,” and when she
falsely accused her taking over a February 7, 2020, meeting and did not allow
another employee to speak.

Event 8: On March 2, 2020, RD threatened to fire the complainant when she asked RD
how to proceed with an employee’s expired nursing license, and RD stated to
her, “I find your response interesting, as I was also told to fire you when you
violated the HIPAA law. Yet I chose a merciful route. (Name unknown) could
produce a license tomorrow, and you would have lost a valuable employee.”
                          IV. Review of Documents


Complainant's Evidence; Event 6                            7-7
Complainant's Evidence; Event 7                            7-8
Complainant's Evidence; Event 8                            7-9
Complainant's HWE Report                                   7-10
Complainant's Supporting Evidence                          7-11
Ruth Duda Evidence                                         7-12
OCC Fact-Finding Investigative Findings                    7-13


                                  V. Summary


   A. Summary


Complainant (Race: African American; Previous EEO activity: January 2020
complaints against Ruth Duda) was the Nurse Manager Office of Community Care at
the Robert J. Dole VAMC until May 23, 2020. Ruth Duda (Race: Caucasian) was her first-
line supervisor. Ruth Duda became aware of her race in June 2017. She believes she
was subjected to reprisal for her January 24, 2020 complaint to Ruth Duda’s supervisor
against Ruth Duda. Ruth Duda became aware of her complaints when she (Complainant)
filed the subject complaint. (7-1)
RMO, Ruth Duda (Race: Caucasian; Previous EEO Activity: Yes, involving the
Complainant) has been the Nurse 4 at the Robert J. Dole VAMC since 2017. She was



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the Complainant’s first-line supervisor. She became aware of the instant complaint in
February 2020. She did not harbor any animosity towards the Complainant because of
her race or the subject EEO complaint. She refutes that she felt threatened or intimidated
by the Complainant’s knowledge, skills and/or abilities. (7-2)
RMO, Syed Raffi (Race; Asian/Indian; Previous EEO activity: None) has been the
Deputy Chief of Staff at the Robert J Dole VAMC since 2018. He did not have a working
relationship with the Complainant. (7-4)
Witness, Cynthia Finley has been the Office of Community Care RN Nurse II at the
Robert J Dole VAMC since 2017. The Complainant was her direct supervisor during the
period. (7-5)
Witness, Robert Cummings (Race: Caucasian; Previous EEO activity: Yes, not
involving the Complainant) has been the Chief of Staff at the Robert J Dole VAMC since
2017. He did not have a working relationship with the Complainant. (7-6)
________________________________

Witness, Robert Cummings provided the following testimony regarding his
knowledge of Events 1-8 of this claim:

“At some time in 2019, Ms. McCray met with me regarding her perceptions of working
with the Service Chief. I do not recall the specifics. I offered to sit down with the Service
Chief, Nurse Manager and MSA Supervisor to discuss any issues. The latter two elected
not to do so.” He did not take any further action. He does not recall that the Complainant
told him that RD’s behavior, comments and/or actions were unwarranted nor that she felt
intimidated or harassed by RD. He has no knowledge or belief that RD harbored animosity
towards the complainant because of her complaints against her or because of her race.
He has no knowledge or belief that RD felt inferior to the Complainant and/or intimidated
by the Complainant. He testified that HR conducted a fact-finding investigation (basis
unknown) (7-6; pp. 4-6)

__________________________________

Event 1: From April 2018, through the present, Ruth Duda (RD), Community Care
Service Chief, attempted to “intimidate” the complainant when she spoke with
her in her workspace, RD yelled at her in a public area while discussing another
employee’s pay, and RD stated, “If she wants to get paid, you better tell her to send
us the form!”

The witnesses provided the following testimonies:

Complainant testified that RD behaved in the alleged manner because that was “her
level of communicating”. She explained that RD felt that she was entitled to behave in this



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manner because of her position. She felt RD’s behavior was inappropriate. She told RD
that her actions/behavior was unwarranted. She reported the incidents to Syed Raffi who
failed to take action in response. She feared retaliation for her reports against RD. (7-1;
pp. 3-4; 7-10)

Investigator Note: Off the record, the Complainant explained that there was a fact-
finding investigation after she filed her EEO complaint. The fact-finding
investigation results can be found in Exhibit 7-13.

RMO, Ruth Duda refutes that she attempted to intimidate the Complainant in her
interactions. She believes her interactions with the Complainant were professional and in
accordance with the VA’s Code of Conduct. She refutes that she yelled at the
Complainant in a public area while discussing an employee’s pay. The Complainant did
not tell her that she felt intimidated and/or harassed by her. (7-2; p. 4; 7-12)

Witness, Syed Raffi testified that in the first quarter of 2018, the Complainant
expressed concerns to him regarding RD’s behavior. Specifically, the Complainant told
him that RD was publicly talking about other employees. In response, he had discussion
with RD wherein he reminded her to speak to employees in private. He did not find reason
to take any further action. The Complainant did not tell him that she felt intimidated or
harassed by RD nor that she felt RD treated her a discriminatory manner. The
Complainant did not tell him that she felt RD was interfering with her ability to do her job.
He was unaware of any of the other matters subject of this EEO complaint. He has not
witnessed RD subject the Complainant to harassing or discriminatory treatment. He has
no knowledge or belief that RD harbored any animosity towards the Complainant
because of her reports against her or because of her race. He has no knowledge that RD
felt inferior to the Complainant or intimidated by the Complainant. (7-4; pp. 3-6)

Event 2: Between January 28, 2019, and January 4, 2020, RD required the
complainant to complete the staffing model duty, without providing her Nurse
Manager training.

The witnesses provided the following testimonies:

Complainant testified that “Staffing Model is the way leadership prepares to request
FTE. I had never been trained this duty by Ms. Duda and it was not being something that
I was informed was a duty that should be delegated to the Nurse Manager. I was informed
that is was and easy task and I could figure it out in the provided documentation.”” To
identify departmental needs based on workload and determine the need of appropriate
number of FTE to complete assigned duties and requirements of the department. Ms.
Duda did not start having meetings with department leadership until 10/28/19 and had
never before discussed this process with me until I discussed concerns of her leadership
abilities and the hostile work environment with Dr. Cummings COS.” (7-1; pp. 4-5)



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RMO, Ruth Duda testified that she required the Complainant complete this task
because it was a part of her job duties. She completed the staffing model with the
Complainant whereby she showed her how to complete the task. (7-2; pp. 4-5; 7-12)


Event 3: From January 2019, through the present, RD “usurped” the
complainant’s supervisory authority by instructing her (complainant’s) staff to
complete different actions than she initially instructed her staff to do.

The witnesses provided the following testimonies:
Complainant testified that “Ms. Duda would discredit information that I would give to
staff to complete task, often times informing staff to do something against the process as
a work around and then when I would return on site I would have correct the issued to
make sure funding was appropriate according to guidelines This happened particularly
with Jessica Clasen nurse covering Dental services, Heather Bandy RN covering
Neurology and Pain Management services.” “The staff informed me that Ms. Duda
informed them to do a different way then how they had been instructed by me and we
would then have to more often then not revert what had been done while I was out to
meet the current process to appropriately authorize services.” She believes RD
intentionally removed her supervisory authority so to exert her authority. RD’s action
interfered with her ability to do her job and her staff’s ability to perform their duties
correctly. (7-1; pp. 5-6)

RMO, Ruth Duda refutes that she gave the Complainant’s staff directives without
consulting with the Complainant. “With the implementation of the Mission Act of 2018 and
the transition from TriWest to Optum, frequent changes that occur in the Office of
Community Care (OCC) arena. Between the changes in the Choice Program, the
conversion to TriWest (TW), then Patient Centered Community Care (PC3), then PC3
with VA-scheduling, the preparation for the roll-out of the Mission Act, the many new
programs to be initiated and now the switching to Optum the Third-Party Payer replacing
TW; varying instructions were provided by VISN leadership, as they too were trying to
figure out all the new regulations and processes to follow. Each communication was then
passed on to staff, and at times became very confusing. (Supporting evidence of this
noted in e-mail dated 12/11/2019 previously submitted). The Community Care (CC) field
guide book was and is continually being updated to support new processes. Ms. McCray
did voice opposition to some of the proposed processes by VISN leadership, and that
may be her perception to pitting staff against each other, as I recommend, we follow VISN
guidance. In the end, all processes were and are being finalized.” The Complainant did
not tell her that her directives to her staff was unwarranted nor that she (Complainant) felt
that she (Duda) was undermining her supervisory authority. (7-2; pp. 5-7; 7-12)


Event 4: On January 24, 2020, RD increased the complainant’s workload after she had
a meeting with the Chief of Staff to discuss RD’s behavior.

The witnesses provided the following testimonies:



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Complainant testified that RD assigned her “busy work” such as congressional
responses and attend meetings. She explained that the department was understaff and
her efforts were needed carrying out daily operations and mission related tasks. She
believes RD increased her workload to exert her authority and out of retaliation. (7-1; p.
7)
RMO, Ruth Duda refutes that she increased the Complainant’s workload. “…As of
January 2020, Ms. McCray has been in her position approximately one year. However,
due to the frequent physical therapy appointments of Ms. McCray in January of 2019 and
many program changes in the department, I opted to roll-out her full duties slowly as to
not overburden or discourage her as a new manager. Between February of 2019 and
January 2020, I shared the responsibility of investigating, resolution of complaint, and
writing the response for all congressional inquiries and White House responses pertaining
to OCC consults as well as fielding billing inquiry calls and veteran/vendor complaints,
closing of the Individual Authorizations (payment type) and implementing the DST
(Decision Support Tree for eligibility). By January of 2020, the new Mission Act programs
(HSRM, VCA, PPMS-that Ms. McCray was overseeing) had been successfully rolled out
with minimal staff oversight required. Therefore, at the 1/6/2020 OCC Supervisory weekly
staff meeting I announced I would be turning over all duties to the immediate supervisor,
respectively MSA to Ms. Dial and RN to Ms. McCray. While informing them I, I stated I
know it is a heavy load as I have been a front-line manager, and if they needed
assistance, I am willing to help. Ms. McCray assured me multiple times ‘I can handle it’.
She seemed very pleased and confident to have full responsibility for all the nursing
functions. Therefore on 1/22/20 I trained Ms. McCray on how to access the VISN
SharePoint site and complete the staffing model used for requesting staff. And while I did
share the duties of responding to Congressional inquiries, I did not assign all to Ms.
McCray as I will still monitoring workload to time requirements. Unfortunately, from 1/6-
1/30, less than a month, Ms. McCray was missing many deadlines. She refused to ask
for help and when offered acted offended. When I had to follow-up on assignments as
her supervisor to ensure the task was completed, she became angry that I had discovered
another deadline missed. It was also during this time that Ms. McCray spent a significant
amount of time assisting Ms. Dial on her work, thereby taking away time Ms. McCray
needed to timely complete her own duties.” The Complainant did not tell her that she had
a problem with the workload nor that she needed assistance. (7-2; pp. 7-8; 7-12)
Event 5: On January 30, 2020, RD refused to allow the complainant to speak during a
meeting with the Medical Center Director, even though the Director asked RD to
allow her (complainant) to speak.

The witnesses provided the following testimonies:
Complainant testified that “[i]n meeting with Pentad Ms. Duda was giving information why
we were behind on certain metrics. When I would attempt to give information, she would talk
over me and continue to speak to the point where the Medical Center Directo r raised his hand
and requested, she allow me to speak.” RD did not explain why she refused to allow her to



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speak. She told RD that her refusal was unwarranted. She believes RD took this action to
exert her authority and out of inferiority; as her (Complainant) knowledge of the department
exceeded RD’s knowledge . RD did not deny any other person to speak. (7-1; pp. 7-8)

RMO, Ruth Duda refutes that she refused to allow the Complainant to speak during a
meeting with the Director. “I was presenting to our Executive Leadership team, known as
the Pentad, of which the Director is present on 1/30/2020. I invited Ms. McCray to attend
the meeting as this was another opportunity for exposure to upper level management.
While it was my responsibility to present as Chief of the service, Ms. McCray took over
answering questions concerning how the data was gathered. Because Ms. McCray had
only a cursory overview of the model, she stated misleading statements to the authenticity
of the report which resulted in having to produce another report to address time required
on backlog, which is built into the staffing model by Central Office. (Pentad presentation
supplied as well as next backlog report post meeting 1/30/20, and the series of e-mails to
get correct data submitted provided in original response). Important to note that due to
her responses to the Pentad leadership meeting, Ms. McCray was notified the following
morning that she was removed from participating in the implementation of the Referral
Coordination Initiative (RCI). This did not set well with Ms. McCray.” (7-2; pp. 8-9; 7-12)

Event 6: On January 31, 2020, RD violated the complainant’s personal space
when she looked over her so that she could see her computer, and RD yelled at
her, “You did not allow me to talk during the meeting with the Pentad, and you
gave incorrect information, are you offended?”

The witnesses provided the following testimonies:
Complainant testified that “Ms. Duda arrived at my office and informed me that Dr.
Cummings did not feel I needed to go to meeting with community provider today and I
should work on project that was due by COB 1/31/20. She then asked me if I had received
the email from Dr. Cummings. I informed her yes. She then proceeded to come around
my workstation and look over my shoulder at something I was addressing. She then burst
out and started yelling at me about me not letting her talk when it was clearly the other
way around and am I offended about being taken off of the meeting with community
provider.” In response, she asked RD to leave her workspace. “She was not happy the I
was able to give a clearer picture to the Pentad regarding the need for staff to complete the current
outliers for Community Care active and scheduled appointments.” She believes RD behaved in
this manner out of retaliation and because of her race. She reported the incident to the COS,
Robert V. Cummings and the former Director. In response, the Director told her that the
matter would be addressed. (7-1; pp. 8-9; 7-1(a); -7)

RMO, Ruth Duda refutes that she yelled at the Complainant. “ When I arrived at the OCC
office, post morning huddles with Leadership, with briefcase, lunch bag, purse in hand, and
my coat is still on, Ms. McCray asks if I had read the e-mail from Dr. Cummings. I had not,
and she had it pulled up on her computer screen. She pushed herself back in the chair and
posturing for me to read it. Because I have bi-focals I had to go around her desk to see the
screen. Standing beside her, I read the e-mail. At which she belligerently accused me of
invading her personal space. I immediately returned to the opposite side of the desk. She



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was very upset as Dr. Cummings has removed her from participating on the Referral
Coordination Team. I asked if she was offended, and indeed she was, in addition to claiming
to be the only subject matter expert and certified case manager in this VA. Which is not true,
not only do I have other OCC RN’s with case manager certifications there are case managers
in the VA working on the main campus with certifications. Ms. McCray has never worked on
the inpatient side or in an outpatient setting at the VA.” She asserts that she behaved in this
manner in response to the Complainant’s question. Neither retaliation, hostility nor the
Complainant’s race were factors in the matter. (7-2; p. 9)

Event 7: On February 10 and 14, 2020, RD undermined the complainant’s ability as
a supervisor when she stated, “You took all leadership away from Janelle Adams,
Coworker. It appears you were also taking credit for all of the progress made, what
was to be implemented in the future with little input from the staff,” and when she
falsely accused her taking over a February 7, 2020, meeting and did not allow
another employee to speak.

The witnesses provided the following testimonies:
Complainant testified that on “February 7,2020 Team meeting to discussed ER
notification and authorization process. Ms. Duda did not state anything to me regarding
how she interpreted the way the task was discussed with the staff in the meeting, nor did
the staff. On February 10, 2020 she went to the desk of Janelle Adams and asked her if
she felt that I took leadership away from her and if she felt unable to talk to me about this
type of thing due to fear of retaliation. Ms. Adams immediately went to the desk of Cynthia
Finley RN and stated that she felt Ruth was trying to pit her against me.” “Ms. Finley
informed me of the incident, and I contacted Ms. Adams to verify the information. Ms.
Adams confirmed the statement and information although was not willing to put it in
writing. I could accept this as it is understandable that the staff would fear going against
the Chief when they are trying to work toward promotion and other opportunities within
the department and facility and she was currently working toward attaining her Nurse II.”
She confronted RD regarding the matter. She believes RD took this action out of
retaliation. (7-1; pp. 9-11; 7-8)

RMO, Ruth Duda testified that she did make the referenced statements to the
Complainant because of complaints she received from nursing staff. She claims that she
gave the Complainant her “…observation of her leadership and how is was received by
the staff”. She asserts that she did not “accuse” the Complainant of taking over the
meeting but made a “statement of facts”. She refutes that she attempted to undermine
the Complainant’s supervisory authority. She did not make these statements to provoke,
harass or intimidate the Complainant. Neither retaliation, hostility nor race were factors in
the matter. (7-2; pp. 10-11; 7-12)

Witness, Janell Adams refutes that Ruth Duda came to her desk and asked her if she
felt the Complainant took leadership away from her and if she felt unable to talk to the
Complainant in fear of retaliation. At no time, did she witness RD subject the Complainant
to harassing or discriminatory treatment. The Complainant told her that she felt RD



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treated her differently. She has no knowledge or belief that RD harbored animosity
towards the Complainant because of her complaints against her or because of her race.
She has no knowledge or belief that RD felt inferior to the Complainant or intimidated by
the Complainant (7-3; pp.2-4)
Witness, Cynthia Finley testified that she did not witness the alleged conversation
between Ruth Duda and Janelle Adams. At no time, did she witness RD subject the
Complainant to harassing or discriminatory treatment. She has no knowledge or belief
that RD harbored animosity towards the Complainant because of her complaints against
her or because of her race. She has no knowledge or belief that RD felt inferior to the
Complainant or intimidated by the Complainant (7-5 ;pp. 2-4)

Event 8: On March 2, 2020, RD threatened to fire the complainant when she asked RD
how to proceed with an employee’s expired nursing license, and RD stated to
her, “I find your response interesting, as I was also told to fire you when you
violated the HIPAA law. Yet I chose a merciful route. (Name unknown) could
produce a license tomorrow, and you would have lost a valuable employee.”

The witnesses provided the following testimonies:
Complainant testified that “Ms. Duda informed me that Ms. DeBellis nursing license
had expired, and she would have to be sent home. When I question information, she gave
me regarding the process to HR she responded reminding me when she was told to fire
me.” “She does not like her actions to be questioned, but as a new supervisor and never
being involve in an issue as such I wanted to have a clear understanding this was a
livelihood. Then I was made to give the staff a reprimand after she had been removed
and reinstated by the VISN Director. Ms. Duda then took it down to a lower punishment
to make it look like she was being lenient and I was being cruel and harsh.” She told RD
that her actions/behavior was unwarranted. She reported the incident to VISN Director
and HR (7-1; pp. 11-12; 7-1(a); 7-9)


RMO, Ruth Duda testified that “Ms. McCray had a subordinate RN working with an
expired licensure. I have never had to deal with such an issue therefore we were seeking
guidance from HR. HR Guidance was to terminate the employee. Ms. McCray felt this
was too harsh and there should be a way to avoid termination. I agreed and referenced
her own personal experience and shared when I was told to terminate her by Dr. Revote,
Chief of Staff at the time, when she deliberately and admittedly violated the HIPPA
regulation. However, we discovered that not all violations have the same flexibility of
disciplinary action. Ms. McCray has taken the conversation out of context.” She refutes
that she threatened to terminate the Complainant or implied that she should/could be
terminated. (7-2; pp. 11-12; 7-12)
Pretext
The final burden now shifts to the Complainant, to demonstrate the articulated reasons of
management are pretext. The Complainant can show either with direct evidence of



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discriminatory motive or by showing that the articulated reasons of management are
unworthy of belief.
The information in this report was obtained from witness testimonies and documentation
provided by the complainant and /or the Agency.



 Linda Harris                                        September 24, 2020
Linda Harris                                             Date
EEO Investigator




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                          DEPARTMENT OF VETERANS AFFAIRS
                         OFFICE OF RESOLUTION MANAGEMENT



                             Written Affidavit of DaShaun McCray

                 in the Matter of the EEO Complaint of Discrimination filed by


DaShaun McCray                             )
                                           )
Complainant                                )
                                           )
                                           )     Case No. 2003-589W-2020102157


                                           )
Secretary                                  )
Department of Veterans Affairs             )
810 Vermont Avenue, NW                     )
Washington, DC 20420                       )
                                           )
Respondent                                 )
                                           )
                                           )
Facility: Robert J. Dole, VAMC             )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )
______________                             )

(SEE BELOW FOR RELATED EVENTS AND QUESTIONS)


I, DaShaun McCray, solemnly swear/affirm that the information given in response to the
following questions is true and correct to the best of my knowledge and belief.

_DMM_
 Initial




Please answer the following questions:




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    1. Please identify the facility where you were employed at the time of this claim.

       Robert J. Dole VAMC

    2. Please provide your race.

       African American


    3. Please provide the name of your direct supervisor at the time of this claim.

       Ruth Duda

    4. Please identify the position and grade you held at the time of this claim.

       Nurse Manager Office Community Care

      a. Are you currently in this position? No

                      i. If yes, how long have you been in this position?

                      ii. If yes, how long have you been with the organization?

                     iii. If no, when was your last day in this position? 5/23/20

    5. What was your working relationship with Ruth Duda during the period of the claim ( 1st
       line supervisor, 2 nd line supervisor)? 1st line supervisor

    6. What is                      Caucasian


    7. Was Ruth Duda aware of your race? Yes

      a. If yes, when was she made aware? June 2017 upon assuming her position in
          Community Care

      b. If yes, how was she made aware? Upon presentation

____________________________
Reprisal is a basis of this claim

1. Please explain the event or circumstance that would have caused you to be
   subjected to reprisal. January 24,2020 I went to Ms. Duda direct supervisor and
   informed him how she continues to create hostile work environment and has not
   improved.




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2. When did this event or circumstance occur (Date)?
   January 24,2020 Ms. Duda returned to the office at 3:15pm requesting I present to
   weekly meeting Monday ready to address priorities. January 24,2020 3:51pm sent
   email to Dean Rhein in Education to request if I sent him an email with TMS that
   needed to be assigned to OCC staff. Which was not the procedure how these are
   assigned,


3. Who was involved in this event or circumstance? Ms. Duda and I


4. Was Ruth Duda aware of this event or circumstance? Yes


       a. If yes, how did she become aware? When notified of EEO filing


       b. If yes, when did she become aware? When notified of EEO filing

_________________________

Whether on the bases of race (African-American) and reprisal (previous EEO
activity1), the complainant was subjected to a hostile work environment as
evidenced by the following:

Event 1: From April 2018, through the present, Ruth Duda (RD), Community Care
                                                                 she spoke with
her in her workspace, RD yelled at her in a public area while discussing another
                                     wants to get paid, you better tell her to send
us the

1. Explain the incident(s) subject of Event 1;separately.

       a. Explain the event/circumstance preceding the incident, person(s) involved in the
          incident, the actions/behavior of the person(s) involved, and witnesses to the
          incident. Tenesha Burks previous Supervisory Program Specialist who left abruptly
          after experiencing hostile work environment under the leadership of Ms. Duda that
          caused her to have exacerbations of health conditions, increased anxiety and stress.

2. Why do you believe RD took these actions and/or behaved in the described manner ? This is
   her level of communicating as she, being in a leadership position felt she had the right to

       a. Explain the motivating factors. Ms. Duda knew I had a good working relationship with
          my previous supervisor and felt that if anybody communicated with her it would be me.
          But her discussing the issues of Ms. Burks pay with me or the need for any paperwork
          was inappropriate.




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3. Did you tell RD that her actions/behavior were unwarranted? Yes

        a. If yes, how did you object? By informing her that Ms. Burks has worked many years
           and I am sure she would know the appropriate thing to do.

                   i. If in writing, submit a copy with your response.

4.    Did you report the incidents subject of Event 1 to any management official? Yes

        a. If yes, to whom? Dr. Syed Raffi

        b. If yes, how did you report this? In Writing and Meeting

                i. If in writing, submit a copy with your response.

        b. What action did this person take in response?
           No action, but later informed Ms. Duda per her statement that I had reported her to
           him in 2018 when she was planning to hire me at the Nurse Manager in Community
           Care.

        c. Did you tell this person that     actions/behavior were unwelcomed? Yes

5. Explain how the incidents subject of Event 1 contributed to the hostile work environment in
which you allege. This behavior went without acknowledgement and caused me to be in
continual fear of reprisal for reporting her to her superior.

6. Explain why you believe the incidents subject of Event 1 were motivated by your race. Ms.
Burks is African American and I African American and her having the audacity of implying I was
on that level to communicate with me about another person of color work issues was
inappropriate.

7. Explain why you believe the incidents subject of Event 1 were motivated by your previous
EEO activity. At the time of this incident I had no previous EEO activity. I was just working to
provide the best care to veteran s under continually changing circumstances.

________________________

Event 2: Between January 28, 2019, and January 4, 2020, RD required the
complainant to complete the staffing model duty, without providing her Nurse
Manager training.

 1. Explain the referenced Staffing Model duty.

      Staffing Model is the way leadership prepares to request FTE. I had never been trained
      this duty by Ms. Duda and it was not being something that I was informed was a duty




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    that should be delegated to the Nurse Manager. I was informed that is was and easy
    task and I could figure it out in the provided documentation.

2. Was this duty within your scope of duties?

    To identify departmental needs based on workload and determine the need of
    appropriate number of FTE to complete assigned duties and requirements of the
    department. Ms. Duda did not start having meetings with department leadership until
    10/28/19 and had never before discussed this process with me until I discusse d
    concerns of her leadership abilities and the hostile work environment with Dr. Cumming s
    COS



3. Have you performed this duty prior to this time?

    I had never performed any of the of the duties she stated were supposed to be
    completed by the Nurse Manager and were at my level of leadership. I had primarily
    worked in the role of completing daily operations and making sure our departm ent
    remained in compliance with VACO identified metrics. These other duties were
    assigned without any formal training or documentation for me to self-train. One sessio n
    with her pointing and clicking and an Oh its easy is all I received.

4. Did you have a problem completing this duty? No

        a. If yes, explain.

        b. If yes, did you tell RD that you had a problem completing this duty?

5. Why do you believe RD had you perform this duty? She was not happy when her direct
supervisor informed her to get out of the weeds and allow me to learn the true duties and
responsibilities of my job.

        a. Explain the motivating factors. My going to her supervisor regarding how I felt I was
being treated as a manager,

6. What affect did this have on you? I felt thrown into an area of unknown with duties and
responsibilities of my position. Having to train myself, but the need to do this task prior to
leaving the work area never came up again.

___________________________

Event    3: From January         2019, thr

complete different actions than she initially instructed her staff to do.




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1.      Please explain the Event.


        a. Explain the event/circumstance, person(s) involved in the incident, the actions of the
           person(s) involved, and witnesses to the incident. Ms. Duda would discredit
           information that I would give to staff to complete task, often times informing staff to
           do something against the process as a work around and then when I would return
           on site I would have correct the issued to make sure funding was appropriate
           according to guidelines This happened particularly with Jessica Clasen nurse
           covering Dental services, Heather Bandy RN covering Neurology and Pain
           Management services.

2. How did you discover RD took this action? The staff informed me that Ms. Duda
   informed them to do a different way then how they had been instructed by me and
   we would then have to more often then not revert what had been done while I was
   out to meet the current process to appropriately authorize services


3. Do you believe RD took this action to intentionally take away your supervisory
   authority? Yes

        a. If yes, explain. She did not understand the interworking processes of
           Community Care and if I was out of office, she would either ask staff to wait
           until I return or try to work to the best of her knowledge without
           understanding the process,
        b. If yes, why do you believe she took this action? She is the Chief and she
           would have me the person that would either take the fall or have the
           situation cleaned up before it was ever noticed.

                  i. Explain the motivating factors. She strives on power and uses that
                     to her advantage even when she knows she may not have the
                     process correctly

        c. If yes, did you tell RD that her actions were unwarranted? Yes, continually .
           I would ask her what she understood about the process and how things
           should flow and she would inform me she has read and understand the
           Field Guide Book, but really had not did the job of this role.

4. What affect did this have on you? Staff were afraid to bring me things that they
   knew they possibly had did incorrectly in fear of going against her and ultimately I
   would have to clean up the fall out from the action.

_____________________________

                                                                                  after she had
                                                           behavior.




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1. How did RD increase your workload? Busy work that took away the time that I
   was spending doing daily operations that assisted in keeping our departm e nt
   afloat.

          a. Provide examples. Giving me more congressional responses and
             requirements to attend meetings while our department was
             understaffed and in need of a working RN manager to assist in meeting
             goals while preparing for CCN roll out, which she took off the whole
             week of and left me to run the department.

2. Why do you believe RD increased your workload? As reprisal for going to her
   boss


          a. Explain the motivating factors. She was informed by her supervisor to
             get out of the weeds and began to drop more in my workload.

3. What affect did the increased workload have on you? Impacted outcomes of the
   department when I was not able to do the second level reviews as consistent to
   assist nursing staff to get care expedited.


4. Did you have a problem with the increased workload? (yes/no) No

          a. If yes, did you tell RD that you had a problem with this?

5. Is there a justifiable non-discrim inatory reason why RD increased your workload?
   She increase the workload because she could. I assumed my responsibilities and
   continued to run things as before with additional task continuing to meet
   deadlines and maintain processes.

____________________________


Event 5: On January 30, 2020, RD refused to allow the complainant to speak during a
meeting with the Medical Center Director, even though the Director asked RD to
allow her (complainant) to speak.

1.    Please explain the Event. In meeting with Pentad Ms. Duda was giving
information why we were behind on certain metrics. When I would attempt to give
information, she would talk over me and continue to speak to the point where the
Medical Center Director raised his hand and requested, she allow me to speak.

      a. Explain how RD refused to allow you to speak. She kept explaining the
         circumstance from her perspective which were not completely correct.




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 2.      Did RD explain why she refused to allow you to speak? No

         a. If yes, what was her justification?

                 i. Did you find this justification acceptable?

                           1. If no, explain. She stated that is not what the Pentad wanted to
                              hear, although I have email from Medical center director stating
                              my thought process was exactly how we needed to address our
                              issue to complete the task

3.       Did you tell RD that her refusal was unwarranted? Yes

4.     Why do you believe RD refused to allow you to speak? She is inferior to my knowledge
base of Community Care and enforces she is the Chief and lets people know she is my boss.

         a. Explain motivating factors. Her knowing that many considered me the subjec t
            matter expert for Community Care offended her.

5. Did RD refuse to allow any other person to speak? No


__________________________

                                                                         space
when she looked over her so that she could see her computer, and RD yelled at
                                              meeting with the Pentad, and you
gave incorrect information, are you

      1. Explain the incident subject of Event 6.

             a. Explain the event/circumstance preceding the incident, person(s) involved in t he
                incident, the actions/behavior of the person(s) involved, and witnesses to the
                incident. Ms. Duda arrived at my office and informed me that Dr. Cummings did
                not feel I needed to go to meeting with community provider today and I should
                work on project that was due by COB 1/31/20. She then asked me if I had
                received the email from Dr. Cummings. I informed her yes. She then proceeded
                to come around my workstation and look over my shoulder at something I was
                addressing. She then burst out and started yelling at me about me not letting her
                talk when it was clearly the other way around and am I offended about being
                taken off of the meeting with community provider.

      2. Why do you believe RD took these actions and/or behaved in the described manner? She
         was not happy the I was able to give a clearer picture to the Pentad regarding the need
         for staff to complete the current outliers for Community Care active and scheduled
         appointments.

         a. Explain the motivating factors. She has inferiority to my abilities to discuss Community




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           Care processes and did not like to be looked as less knowledgeable then myself

   3. Did you tell RD that her actions/behavior were unwarranted? Yes

       a. If yes, how did you object? I asked her to please remove herself from my personal
          space

                  i. If in writing, submit a copy with your response.

   4. Did you report the incidents subject of Event 6 to any management official? Yes

       a. If yes, to whom? Chief of Staff and Medical Center Director.

       b. If yes, how did you report this?

              i. If in writing, submit a copy with your response.

       c. What action did this person take in response? I received a response from the Medical
Center Director asking to allow them to handle this.

       d. Did you tell this person that      actions/behavior were unwelcomed? Yes.

5. Explain how the incidents subject of Event 6 contributed to the hostile work environment in
which you allege. Ms. Duda has the inclination she can talk to and approach me and any kind
of way based on me being her subordinate.

6. Explain why you believe the incidents subject of Event 6 were motivated by your race. I have
seen Ms. Duda with nurses in my department have situations and her behavior with nurse not
of color have not been to this level of outburst.

7. Explain why you believe the incidents subject of Event 6 were motivated by your previous
EEO activity. To this point I had not filed, but I did file that afternoon.

_________________________

Event 7: On February 10 and 14, 2020                                        ability as
                                                            away from Janelle Adams,
Coworker. It appears you were also taking credit for all of the progress made, what
was to be implemented in the fu
falsely accused her taking over a February 7, 2020, meeting and did not allow
another employee to speak.

   1. Explain the incident(s) subject of Event 7;separately.

       February 7,2020 Team meeting to discussed ER notification and authorization process.
       Ms. Duda did not state anything to me regarding how she interpreted the way the task




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       was discussed with the staff in the meeting, nor did the staff. On February 10, 2020 she
       went to the desk of Janelle Adams and asked her if she felt that I took leadership away
       from her and if she felt unable to talk to me about this type of thing due to f ear of
       retaliation. Ms. Adams immediately went to the desk of Cynthia Finley RN and stated
       that she felt Ruth was trying to pit her against me.

        a. Explain the event/circumstance preceding the incident, person(s) involved in the
           incident, the actions/behavior of the person(s) involved, and witnesses to the
           incident. Ms. Finley informed me of the incident, and I contacted Ms. Adams to verify
           the information. Ms. Adams confirmed the statement and information although was
           not willing to put it in writing. I could accept this as it is understandable that the staff
           would fear going against the Chief when they are trying to work toward promotion
           and other opportunities within the department and facility and she was currently
           working toward attaining her Nurse II.

   2. Why do you believe RD took these actions and/or behaved in the described manner? She
      had been trying to build a case against me since I reported her to Dr. Cummings.

       a. Explain the motivating factors. She is a vindictive person and it is known around the
          facility.

   3. Did you tell RD that her actions/behavior were unwarranted? Yes

       a. If yes, how did you object? Informed her that I know she is trying to pit staff against
          me, but I did not care as I know I have provided opportunity for all staff to approach
          me with any issues, as I have and open-door policy. No staff would be in f ear to
          approach me.

                  i. If in writing, submit a copy with your response.

   4. Did you report the incidents subject of Event 7 to any management official? No

       a. If yes, to whom?

       b. If yes, how did you report this?

              i. If in writing, submit a copy with your response.

       c. What action did this person take in response?

       d. Did you tell this person that      actions/behavior were unwelcomed?

5. Explain how the incidents subject of Event 7 contributed to the hostile work environment in
which you allege. Ms. Duda continually trying to pit staff against me, to make me look to be the
manager that is not easily approachable when truly it has been her. Staff have stated this but
are in fear of reprisal from Ms. Duda for siding with me.




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6. Explain why you believe the incidents subject of Event 7 were motivated by your race. She
only approach Caucasian nurses to try to make it look like and issue of race

7. Explain why you believe the incidents subject of Event 7 were motivated by your previous
EEO activity. These incidents did not start happening until I reported her to her supervisor
regarding her behavior.

_________________________

Event 8: On March 2, 2020, RD threatened to fire the complainant when she asked RD
                                                           license, and RD stated to
                                               was also told to fire you when you
violated the HIPAA law. Yet I chose a merciful route. (Name unknown) could
produce a license

   1. Explain the incident subject of Event 8.

          a. Explain the event/circumstance preceding the incident, person(s) involved in the
             incident, the actions/behavior of the person(s) involved, and witnesses to the
             incident. Ms. Duda informed me that Ms. DeBellis nursing license had expired,
             and she would have to be sent home. When I question information, she gave me
             regarding the process to HR she responded reminding me when she was told to
             fire me.

   2. Why do you believe RD took these actions and/or behaved in the described manner ?

       a. Explain the motivating factors. She does not like her actions to be questioned, but as
          a new supervisor and never being involve in an issue as such I wanted to have a clear
          understanding this was a             livelihood. Then I was made to give the staff a
          reprimand after she had been removed and reinstated by the VISN Director. Ms. Duda
          then took it down to a lower punishment to make it look like she was being lenient and
          I was being cruel and harsh.

   3. Did you tell RD that her actions/behavior were unwarranted? Yes

       a. If yes, how did you object?

                  i. If in writing, submit a copy with your response. Email response 3/2/20

   4. Did you report the incidents subject of Event 8 to any management official? Yes

       a. If yes, to whom? Dr. Patterson VISN Director and Keith Blackstone VISN HR

       b. If yes, how did you report this?

              i. If in writing, submit a copy with your response.




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       c. What action did this person take in response? None to my knowledge

       d. Did you tell this person that   actions/behavior were unwelcomed?

5. Explain how the incidents subject of Event 8 contributed to the hostile work environment in
which you allege. Ms. Duda made me to look to be inconsiderate after following the instructions
he she and Tina Dean in HR. Once again trying to have another RN think that I am excessively
punitive when I was enforced to provide that action.

6. Explain why you believe the incidents subject of Event 8 were motivated by your race.

7. Explain why you believe the incidents subject of Event 8 were motivated by your previous
EEO activity.
_________________________


What are you seeking in terms of resolution for this complaint? Financialdamages for pain
and suffering. From the beginning of working under the leadership of Ms. Duda. I received
a reprimand she was instructed to issue and I have felt in fear of her and was not ever
willing to bring issues forward that made me feel inferior to her in fear of losing my job. I
still feel that she blocked me from positions that I applied for and outscored the other
candidate on interview and resume. I would like damages of $50,000 per year under her
leadership and pain and suffering of $50,000.

Upon the completion of this investigation, the EEO file will be emailed. Please provide an
email address to which you would like your file delivered. Dashaun.Mccray@va.gov

Do you have anything else you would like to ad d to your testimony?

       If yes, please provide your statement below.

PLEASE NOTE THAT ORM RESERVES THE RIGHT TO SUPPLEMENT OR ASK
ADDITIONAL QUESTIONS AS THE INVESTIGATION REQUIRES.

The above information has beenfurnished withouta pledge of confidencea nd I understand
that it may be shown to any interested party[ies] with a need to know for this complaint.
This includes but is not limited to VA, EEOC, contracting officials with a n eed to know
during the course and scope of the informal and formal EEO process including
administrative procedures and litigation as applicable and mandated by law.

This statement is made under penalty of perjury on this _13___day of __July___, 2020.

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DaShaun McCray




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Harris, Linda (ORMDI)

From:                                        McCray, DaShaun
Sent:                                        Thursday, September 3, 2020 1:55 PM
To:                                          Harris, Linda (ORMDI)
Subject:                                     RE: Office of Resolution Management- Response Requested


     1) Robert V. Cummings – COS
     2) Ricky A. Ament- Previous Medical Center Director
     3) William P. Patterson- VISN 15 Medical Director

DaShaun M. McCray MBA, BSN, CCM
Program Manager C6, Clinical Integration
VHA Office of Community Care


From: Harris, Linda (ORMDI) <Linda.Harris8@va.gov>
Sent: Wednesday, September 2, 2020 1:01 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: Office of Resolution Management- Response Requested
Importance: High


Ms. McCray,

Please provide the following information for the record on or before September 4, 2020:

     1) Full name of the Chief of Staff referenced in you testimony.
     2) Full name of the Medical Center Director referenced in you testimony.
     3) Full name of “Dr. Patterson” reference in testimony.

Thank you in advance,
Linda Harris
EEO Investigator
Office of Resolution Management- Diversity and Inclusion
Fax: 713-794-7672
Linda.Harris8@va.gov

NOTICE: ORM-DI is operating in a 100% telework environment. ORM-DI does not have the capability to send
and/or receive hardcopy documents at this time. In order to be more responsive, we ask that if you have
previously sent documents to us via U.S. Mail or other delivery services, please resend those documents to us
electronically. All meetings, interviews, and mediation sessions will be conducted in a virtual capacity (i.e.
telephonic, skype, video conference etc.). Your patience is appreciated during the COVID-19 Pandemic.




VA Core Values: Integrity Commitment Advocacy Respect Excellence
VA Core Characteristics: Trustworthy | Accessible | Quality | Innovative | Agile | Integrated

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Thank you for contacting the Office of Resolution Management. Our goal is to provide you with exceptional
customer service. Please take a moment to complete a very brief survey to let us know how my service
was today.


This e-mail and any attachments thereto, is intended only for the use of the addressee(s) named herein
and may contain legally privileged and/or confidential information. If you are not the intended recipient of
this e-mail, you are hereby notified that any dissemination, distribution or copying of this e-mail, and any
attachments thereto, is strictly prohibited. If you have received this e-mail in error, please notify me via
return e-mail and permanently delete the original and any copy of any e-mail and any printout thereof.




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                         DEPARTMENT OF VETERANS AFFAIRS
                         OFFICE OF RESOLUTION MANAGEMENT



                                 Written Affidavit of Ruth Duda

                  in the Matter of the EEO Complaint of Discrimination filed by


DaShaun McCray                              )
                                            )
Complainant                                 )
                                            )
                                            )     Case No. 2003-589W-2020102157


                                            )
Secretary                                   )
Department of Veterans Affairs              )
810 Vermont Avenue, NW                      )
Washington, DC 20420                        )
                                            )
Respondent                                  )
                                            )
                                            )
Facility: Robert J. Dole, VAMC              )
                                            )
                                            )
                                            )
                                            )
                                            )
                                            )
______________                              )

(SEE BELOW FOR RELATED EVENTS AND QUESTIONS)


I, Ruth Duda, solemnly swear/affirm that the information given in response to the following
questions is true and correct to the best of my knowledge and belief.

_______
 Initial




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Claim: Whether on the bases of race (African-American) and reprisal (previous
EEO activity), the complainant was subjected to a hostile work environment as
evidenced by the following:

Event 1: From April 2018, through the present, Ruth Duda (RD), Community Care
Service Chief, attempted to “intimidate” the complainant when she spoke with
her in her workspace, RD yelled at her in a public area while discussing another
employee’s pay, and RD stated, “If she wants to get paid, you better tell her to send
us the form!”

Event 2: Between January 28, 2019, and January 4, 2020, RD required the
complainant to complete the staffing model duty, without providing her Nurse
Manager training.

Event 3: From January 2019, through the present, RD “usurped” the
complainant’s supervisory authority by instructing her (complainant’s) staff to
complete different actions than she initially instructed her staff to do.

Event 4: On January 24, 2020, RD increased the complainant’s workload after she had
a meeting with the Chief of Staff to discuss RD’s behavior.

Event 5: On January 30, 2020, RD refused to allow the complainant to speak during a
meeting with the Medical Center Director, even though the Director asked RD to
allow her (complainant) to speak.

Event 6: On January 31, 2020, RD violated the complainant’s personal space
when she looked over her so that she could see her computer, and RD yelled at
her, “You did not allow me to talk during the meeting with the Pentad, and you
gave incorrect information, are you offended?”

Event 7: On February 10 and 14, 2020, RD undermined the complainant’s ability as
a supervisor when she stated, “You took all leadership away from Janelle Adams,
Coworker. It appears you were also taking credit for all of the progress made, what
was to be implemented in the future with little input from the staff,” and when she
falsely accused her taking over a February 7, 2020, meeting and did not allow
another employee to speak.

Event 8: On March 2, 2020, RD threatened to fire the complainant when she asked RD
how to proceed with an employee’s expired nursing license, and RD stated to
her, “I find your response interesting, as I was also told to fire you when you
violated the HIPAA law. Yet I chose a merciful route. (Name unknown) could
produce a license tomorrow, and you would have lost a valuable employee.”

_____________________________________




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Please answer the following questions:

1. Please identify the facility where you were employed at the time1 of this claim
      a. Robert J Dole VA

2. Please provide you race.
      Caucasian
3. Please provide the name of your direct supervisor at the time of this claim.
      Robert Cummings, MD-Chief of Staff
4. Please identify the position and grade you held at the time of this claim.
      Nurse 4, step 6
           a. Are you currently in this position?
              Yes
                i. If yes, how long have you been in this position?
                   3 years
                 ii. If yes, how long have you been with the organization?
                    19 years
                iii. If no, what was your last day in this position?

5. What was your working relationship with the Complainant during the period of the
   claim (e.g. first-line supervisor; second-line supervisor; coworker)?
   First-line supervisor
6. Have you previously been involved in EEO activity?
       Yes
       a. If yes, did that activity involve the Complainant?
           Indirectly-when I began to hold Ms. Elizabeth Dial accountable to her work, DaShaun
           McCray became defensive and began to cover and complete the work required of Ms.
           Dial.
           Ms. McCray was often found in Ms.Dial’s office re-explaining how to pull data and
           defining processes.

7. When did you become aware of the Complainant’s grievances that are subject of this EEO
complaint? (date)
      Some time in February of 2020 when I received notice from EEO office.
      a. Did the Complainant’s grievances present a problem for you?
     No-
________________________


Event 1: From April 2018, through the present, Ruth Duda (RD), Community Care
Service Chief, attempted to “intimidate” the complainant when she spoke with
her in her workspace, RD yelled at her in a public area while discussing another
employee’s pay, and RD stated, “If she wants to get paid, you better tell her to send
us the form!”


1
    April 2018 through March 2020.



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1.Did you attempt to intimidate the Complainant in your interactions with her?
   No
2. Do you believe your interactions with the Complainant were professional and in
accordance with the VA’s Code of Conduct?
   Yes

3. At any time, did you yell at the Complainant in a public area while discussing another
employee’s pay?
   No

          a. If yes, why did you behave in this manner?

          b. If yes, did you did you behave in this manner out of hostility?

          c. If yes, did you did you behave in this manner out of retaliation?

          d. If yes, did you did you behave in this manner because of the
             Complainant’s race?

4. Did the Complainant tell you that she felt intimidated and/or harassed by you?

    No


5. If Event 1 is untrue, please explain.
     In 2018, Ms. McCray was a staff nurse and therefore her workstation was in a cubicle
area. Oftentimes while making rounds staff would ask questions of processes, including
HR leave processes. Several in her area had questions regarding FLMA and how it is used
and approved. I answered the question for those in that area. Additionally, it was then
presented in the staff meeting in July as I figured is several had questions then others
might as well. (Staff meeting attached)
_________________________

Event 2: Between January 28, 2019, and January 4, 2020, RD required the
complainant to complete the staffing model duty, without providing her Nurse
Manager training.

   1. Did you require the Complainant to complete the staffing model duty?

      Yes

          a. If yes, why was the Complainant required to complete this duty?
             Part of her job duties as Nurse Manager in Office of Community Care
          b. If yes, was the Complainant trained to perform this duty?




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              Yes, in fact, we completed it together in my office while I walked her through
              each step. This can be verified as I was the one who submitted it to the VISN
              share point site. Submission is the final step of the process.

              i. If yes, when was she trained to perform this duty?-Yes

              ii. If yes, who provided this training to the Complainant?-I did, Chief of OCC

              iii. If no, why was the Complainant required to perform this duty without
              training?

              iv. If no, did you require the Complainant to complete his duty without training
              in an attempt to negatively affect her performance/reputation or
              program/service?

              v. If no, did you require the Complainant to complete this duty without
              training out of hostility?

              vi. If no, did you require the Complainant to complete this duty without
              training out of retaliation?

              vii. If no, did you require the Complainant to complete this duty without
              training because of her race?

   2. Did the Complainant object to performing this duty?
      1) we completed it together and I submitted the staffing model for 2020 and 2) Ms.
      McCray knew this was the expectation of the Nurse Manager to know not only how
      to complete the model but the use of the model to justify current staff or use as a
      tool to request additional staff.

3. If Event 2 is untrue, please explain.-

VISN share point site verifies who uploaded document as the primary POC (screen shots
from VISN Share point site attached)

_____________________________

Event 3: From January 2019, through the present, RD “usurped” the
complainant’s supervisory authority by instructing her (complainant’s) staff to
complete different actions than she initially instructed her staff to do.

1. Did you give the Complainant’s staff directives without consulting with the Complainant?
No
        a. If yes, do you believe that it was appropriate to give these directives without
        consulting with the Complainant?




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              i. If yes, explain.

       b. If yes, did you take this action in attempt to take away the Complainant’s
       supervisory authority?

       c. If yes, did you take this action in an attempt to exert your authority?

       d. If yes, did your directives conflict with the Complainant’s directives to
       staff?

              i. Did you intentionally give conflicting directives out of spite?

       e. If yes, did you fail to consult with the Complainant before giving these
       directives out of hostility?

       f. If yes, did you fail to consult with the Complainant before giving these
       directives out of retaliation?

       g. If yes, did you fail to consult with the Complainant before giving these
       directives because of her race?


2. Did the Complainant tell you that your directives to her staff was unwarranted?
  No
3. Did the Complainant tell you that she felt you were undermining her supervisory
authority?
    No
3. Did you give directives to the Complainant’s staff in an attempt to interfere with her
ability to do her job?
   No
4. If Event 3 is untrue, please explain.
 With the implementation of the Mission Act of 2018 and the transition from TriWest to Optum,
frequent changes that occur in the Office of Community Care (OCC) arena. Between the changes
in the Choice Program, the conversion to TriWest (TW), then Patient Centered Community Care
(PC3), then PC3 with VA-scheduling, the preparation for the roll-out of the Mission Act, the many
new programs to be initiated and now the switching to Optum the Third-Party Payer replacing
TW; varying instructions were provided by VISN leadership, as they too were trying to figure out
all the new regulations and processes to follow. Each communication was then passed on to staff,
and at times became very confusing. (Supporting evidence of this noted in e-mail dated
12/11/2019 previously submitted). The Community Care (CC) field guide book was and is
continually being updated to support new processes. Ms. McCray did voice opposition to some of
the proposed processes by VISN leadership, and that may be her perception to pitting staff
against each other, as I recommend, we follow VISN guidance. In the end, all processes were
and are being finalized.
_________________________

Event 4: On January 24, 2020, RD increased the complainant’s workload after she had
a meeting with the Chief of Staff to discuss RD’s behavior.



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1. At any time, did you increase the Complainant’s workload?
   No
               a. If yes, why did you increase her workload?

               b. If yes, did you increase her workload out of retaliation for her
               complaints against you?

               c. If yes, did you increase her workload in an attempt to interfere with her ability
               to perform her job?

               d. If yes, did you increase her workload out of hostility?

               e. If yes, did you increase her workload in an attempt to exert your authority?

2. Did the Complainant tell you that she had a problem with the workload?
   No, and continually denied need for assistance when offered

3. If Event 4 is untrue, please explain.
  Claim states RMO increased her workload on 1/24/2020. As of January 2020, Ms. McCray has
been in her position approximately one year. However, due to the frequent physical therapy
appointments of Ms. McCray in January of 2019 and many program changes in the department,
I opted to roll-out her full duties slowly as to not overburden or discourage her as a new
manager. Between February of 2019 and January 2020, I shared the responsibility of
investigating, resolution of complaint, and writing the response for all congressional inquiries
and White House responses pertaining to OCC consults as well as fielding billing inquiry calls
and veteran/vendor complaints, closing of the Individual Authorizations (payment type) and
implementing the DST (Decision Support Tree for eligibility). By January of 2020, the new
Mission Act programs (HSRM, VCA, PPMS-that Ms. McCray was overseeing) had been
successfully rolled out with minimal staff oversight required. Therefore, at the 1/6/2020 OCC
Supervisory weekly staff meeting I announced I would be turning over all duties to the
immediate supervisor, respectively MSA to Ms. Dial and RN to Ms. McCray. While informing
them I, I stated I know it is a heavy load as I have been a front-line manager, and if they needed
assistance, I am willing to help. Ms. McCray assured me multiple times ‘I can handle it’. She
seemed very pleased and confident to have full responsibility for all the nursing functions.
Therefore on 1/22/20 I trained Ms. McCray on how to access the VISN SharePoint site and
complete the staffing model used for requesting staff. And while I did share the duties of
responding to Congressional inquiries, I did not assign all to Ms. McCray as I will still monitoring
workload to time requirements. Unfortunately, from 1/6-1/30, less than a month, Ms. McCray
was missing many deadlines. She refused to ask for help and when offered acted offended.
When I had to follow-up on assignments as her supervisor to ensure the task was completed,
she became angry that I had discovered another deadline missed. It was also during this time
that Ms. McCray spent a significant amount of time assisting Ms. Dial on her work, thereby
taking away time Ms. McCray needed to timely complete her own duties.

__________________________________




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Event 5: On January 30, 2020, RD refused to allow the complainant to speak during a
meeting with the Medical Center Director, even though the Director asked RD to
allow her (complainant) to speak.

   1. In or about January 2020, did you refuse to allow the Complainant to speak during
      a meeting with the Medical Center Director?
      No

   a. If yes, why did you take this action 2?

   b. If yes, do you feel this was appropriate?

                i. If yes, explain.


  c. If yes, did you take this action to intimidate her?

  d. If yes, did you take this action to embarrass her?
  e. If yes, did you take this action to exert your authority?

  f. If yes, did you take this action to forgo appearing less knowledgeable?

  g. If yes, did you take this action out of retaliation?

  h. If yes, did you take this action out of hostility?

  i. If yes, did the Complainant’s race motivate you to take this action?

2. Did the Complainant tell you that your refusal to allow her to speak was
unwarranted ?

3. If Event 5 is untrue, please explain.

      I was presenting to our Executive Leadership team, known as the Pentad, of
      which the Director is present on 1/30/2020. I invited Ms. McCray to attend the
      meeting as this was another opportunity for exposure to upper level
      management. While it was my responsibility to present as Chief of the service,
      Ms. McCray took over answering questions concerning how the data was
      gathered. Because Ms. McCray had only a cursory overview of the model, she
      stated misleading statements to the authenticity of the report which resulted in
      having to produce another report to address time required on backlog, which is
      built into the staffing model by Central Office. (Pentad presentation supplied as
      well as next backlog report post meeting 1/30/20, and the series of e-mails to get
      correct data submitted provided in original response). Important to note that due




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      to her responses to the Pentad leadership meeting, Ms. McCray was notified the
      following morning that she was removed from participating in the implementation
      of the Referral Coordination Initiative (RCI). This did not set well with Ms.
      McCray.
_________________________________

Event 6: On January 31, 2020, RD violated the complainant’s personal space
when she looked over her so that she could see her computer, and RD yelled at
her, “You did not allow me to talk during the meeting with the Pentad, and you
gave incorrect information, are you offended?”

1. On or about the referenced date, did you yell at the Complainant and/or make the
referenced statement?
       I did not yell but answered her question if I had read the latest e-mail from Dr.
Cummings. (I had not), After reading she wanted to know why Cummings removed her, it
was then I stated probably based on her responses to the Pentad questions at yesterday’s
(1/30) meeting.

   a. If yes, why did you behave in this manner? I responded to her question.

   b. If yes, did you did you behave in this manner out of hostility?
             no
   c. If yes, did you did you behave in this manner out of retaliation?
             no
   d. If yes, did you did you behave in this manner because of the Complainant’s
      race? no
   2. Did the Complainant tell you that your behavior and/or statement was
      unwarranted?
      Only after she invited me to read the e-mail.

   3. If Event 6 is untrue, please explain.
      When I arrived at the OCC office, post morning huddles with Leadership, with
      briefcase, lunch bag, purse in hand, and my coat is still on, Ms. McCray asks if I
      had read the e-mail from Dr. Cummings. I had not, and she had it pulled up on
      her computer screen. She pushed herself back in the chair and posturing for me
      to read it. Because I have bi-focals I had to go around her desk to see the
      screen. Standing beside her, I read the e-mail. At which she belligerently
      accused me of invading her personal space. I immediately returned to the
      opposite side of the desk. She was very upset as Dr. Cummings has removed
      her from participating on the Referral Coordination Team.
      I asked if she was offended, and indeed she was, in addition to claiming to be the
      only subject matter expert and certified case manager in this VA. Which is not true,
      not only do I have other OCC RN’s with case manager certifications there are case
      managers in the VA working on the main campus with certifications. Ms. McCray
      has never worked on the inpatient side or in an outpatient setting at the VA.




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______________________________

Event 7: On February 10 and 14, 2020, RD undermined the complainant’s ability as
a supervisor when she stated, “You took all leadership away from Janelle Adams,
Coworker. It appears you were also taking credit for all of the progress made, what
was to be implemented in the future with little input from the staff,” and when she
falsely accused her taking over a February 7, 2020, meeting and did not allow
another employee to speak.

1. Did you make the referenced statements to the Complainant?
    yes
    a. If yes, why did you make these statements? Direct complaints from RN staff in the
       meeting lead by Ms. McCray

   b. If yes, did you make these statements to provoke the Complainant? No

   c. If yes, did you make these statements in an attempt to harass her? No

   d. If yes, did you make these statements in an attempt to intimidate her? No

   e. If yes, did you make these statements out of retaliation? No

   f. If yes, did you make these statements out of hostility? No

   g. If yes, did you make these statements because of her race? No

2. Did you accuse the Complainant of taking over a February 7, 2020 meeting and not allowing
another employee to speak?

        a. If yes, was your accusation untrue? It was not an accusation but a statement of the
facts

      b. If yes, why did you make this accusation? Factual evidence supported by complaints
from multiple staff members, including Ms. Adams, and my physical presence in the meeting as
an observer.

3. At any time, did you attempt to undermine the Complainant’s supervisory authority? No


4. Did the Complainant tell you that your behavior and/or comments were unwelcomed?
No, as I informed Ms. McCray in private in my office after the meeting.

5. If Event 7 is untrue, please explain. Post meeting held by Ms. McCray I have her my
observation of her leadership and how it was received by her staff. She refused to accept
any constructive criticism.

________________________________




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Event 8: On March 2, 2020, RD threatened to fire the complainant when she asked RD
how to proceed with an employee’s expired nursing license, and RD stated to
her, “I find your response interesting, as I was also told to fire you when you
violated the HIPAA law. Yet I chose a merciful route. (Name unknown) could
produce a license tomorrow, and you would have lost a valuable employee.”

1. At any time, did you threaten to terminate the Complainant or imply that she
should/could be terminated? No

      a. If yes, why did you take this action 3?

      b. If yes, do you feel this was appropriate?

                      i. If yes, explain.


     c. If yes, did you take this action to intimidate her?

     d. If yes, did you take this action out of retaliation?

     e. If yes, did you take this action out of hostility?

     f. If yes, did the Complainant’s race motivate you to take this action?

2. Did the Complainant tell you that your threat and/or comment was unwelcomed?
no

3. If Event 8 is untrue, please explain.
   Ms. McCray had a subordinate RN working with an expired licensure. I have never had to deal
with such an issue therefore we were seeking guidance from HR. HR Guidance was to terminate
the employee. Ms. McCray felt this was too harsh and there should be a way to avoid termination.
I agreed and referenced her own personal experience and shared when I was told to terminate
her by Dr. Revote, Chief of Staff at the time, when she deliberately and admittedly violated the
HIPPA regulation. However, we discovered that not all violations have the same flexibility of
disciplinary action. Ms. McCray has taken the conversation out of context.
_______________________

Did you harbor any animosity towards the Complainant because of her race? No

Did you harbor any animosity towards the Complainant because of the subject
EEO complaint? No

Did you feel threatened or intimidated by the Complainant’s knowledge, skills
and/or abilities? No

3
    a thing done; an act.



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________________________________


Do you have anything else you would like to add to your testimony? No

      If yes, please provide your statement here.

PLEASE NOTE THAT ORM RESERVES THE RIGHT TO SUPPLEMENT OR ASK
ADDITIONAL QUESTIONS AS THE INVESTIGATION REQUIRES.

The above information has been furnished without a pledge of confidence and I
understand that it may be shown to any interested party[ies] with a need to know
for this complaint. This includes but is not limited to VA, EEOC, contracting
officials with a need to know during the course and scope of the informal and
formal EEO process including administrative procedures and litigation as
applicable and mandated by law.

                                                        12
This statement is made under penalty of perjury on this ____day    September
                                                                of ____________,
2020.



_________________
Ruth Duda




                                      000090
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1


                      DEPARTMENT OF VETERANS AFFAIRS
                         OFFICE OF RESOLUTION MANAGEMENT



                            Written Affidavit of Janelle Adams
              in the Matter of the EEO Complaint of Discrimination filed by


DaShaun McCray                           )
                                         )
Complainant                              )
                                         )
                                         )      Case No. 2003-589W-2020102157




                                         )
Secretary                                )
Department of Veterans Affairs           )
810 Vermont Avenue, NW                   )
Washington, DC 20420                     )
                                         )
Respondent                               )
                                         )
                                         )
Facility: Wichita VAMC                   )
                                         )
                                         )
                                         )
                                         )
                                         )
______________                           )

(SEE BELOW FOR RELATED EVENTS AND QUESTIONS)


I, Janelle Adams, solemnly swear/affirm that the information given in response to the
following questions is true and correct to the best of my knowledge and belief.


_JMA___
 Initial




                                       000091
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2



Whether on the bases of race (African-American) and reprisal (previous EEO
activity1), the complainant was subjected to a hostile work environment as
evidenced by the following:

                                                                          ability
                                                              away from Janelle
Adams, Coworker. It appears you were also taking credit for all of the progress
made, what was to be implemented in
and when she falsely accused her taking over a February 7, 2020, meeting and
did not allow another employee to speak.
____________________________

Please answer the following questions:

1. Please identify the facility where you were employed at the time of this claim1.
   RJDVA
2. Please identify the position and grade you held during the period of the claim.
   Community Care RN -Nurse I

     a. Are you currently in this position? Yes

            i. If no, provide the date of the last day in this position?

            ii. If yes, how long have you been in your current position?
            Since 6/25/18

            iii. If yes, how long have you been with the organization?
            Since 6/25/18

3. Please provide the name of your direct supervisor during the period of the claim.
   DaShaun McCray

4. What was your working relationship to the Complainant during the period (e.g. first-
   line, second-line supervisor, co-worker) ?
The complainant was my direct supervisor.
____________________________

1. On February 10, 2020, did Ruth Duda (RD) come to your desk and ask you if you
felt that the Complainant took leadership away from her and if you felt unable to talk to
the Complainant about this type of thing due to fear of retaliation? No

        a. If yes, did RD explain why she was questioning you about this?


1 February 2020




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3

              i. If yes, what was the justification?

       b. If yes, did you feel RD s questioning was appropriate?

                     1. If no, explain.

       c. If yes, why do you believe RD questioned you about this?

       d. If yes, what was your response to RD?

       e. If yes, did you report this incident to any person?

              i. If yes, to whom?

              ii. If yes, why did you report this to this person?

       f. If yes, do you believe RD was attempting to set you against the Complainant?

              i. Do you have any knowledge as to why she would want to do this?

                     1. If yes, explain.

2. At any time, did the Complainant tell you that RD s actions, behavior and/or
statements were unwelcomed? NA

3. Was the Complainant your supervisor during the period of this Event? Yes

4. At any time, have you witnessed RD subject the Complainant to harassing
treatment? No

       a. If yes, how often have you witnessed this treatment?

       b. If yes, explain the harassing treatment you have witnessed.

5. At any time, did you witnessed RD subject the Complainant to discriminatory
treatment? No

       a. If yes, how often have you witnessed this treatment?

       b. If yes, explain the discriminatory treatment you have witnessed.

6. At any time, did the Complainant tell you that he felt harassed by RD? No

7. At any time, did the Complainant tell you that he felt RD treats her differently? Yes

8. Do you have any knowledge and/or belief that RD harbored any animosity towards
the Complainant because of her (Complainant) reports against her (RD)? No




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        a. If yes, explain.

9. Do you have any knowledge and/or belief that RD harbored any animosity towards
the Complainant because of her (Complainant) race? No

        a. If yes, explain.

10. Do you have any knowledge and/or belief that RD felt inferior to the Complainant
and/or intimidated by the Complainant because of her (Complainant) knowledge, skills
or abilities? No

        a. If yes, explain.


___________________________

Do you have anything else you would like to add to your testimony?

        If yes, please provide your statement below.

PLEASE NOTE THAT ORM RESERVES THE RIGHT TO SUPPLEMENT OR ASK
ADDITIONAL QUESTIONS AS THE INVESTIGATION REQUIRES.

The above information has been furnished without a pledge of confidence and I
understand that it may be shown to any interested party[ies] with a need to know
for this complaint. This includes but is not limited to VA, EEOC, contracting
officials with a need to know during the course and scope of the informal and
formal EEO process including administrative procedures and litigation as
applicable and mandated by law.

This statement is made under penalty of perjury on this _14___day of
__September__________, 2020.

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 ______________________
Janelle Adams




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1


                          DEPARTMENT OF VETERANS AFFAIRS
                           OFFICE OF RESOLUTION MANAGEMENT



                              Written Affidavit of Cynthia Finley
                in the Matter of the EEO Complaint of Discrimination filed by


DaShaun McCray                                 )
                                               )
Complainant                                    )
                                               )
                                               )   Case No. 2003-589W-2020102157




                                               )
Secretary                                      )
Department of Veterans Affairs                 )
810 Vermont Avenue, NW                         )
Washington, DC 20420                           )
                                               )
Respondent                                     )
                                               )
                                               )
Facility: Witchita VAMC                        )
                                               )
                                               )
                                               )
                                               )
                                               )
______________                                 )

(SEE BELOW FOR RELATED EVENTS AND QUESTIONS)


I, Cynthia Finley, solemnly swear/affirm that the information given in response to the
following questions is true and correct to the best of my knowledge and belief.


__CF_____
 Initial


Affiant’s Initials: __________   Date:__________

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2



Whether on the bases of race (African-American) and reprisal (previous EEO
activity1), the complainant was subjected to a hostile work environment as
evidenced by the following:

Event 7: On February 10 and 14, 2020, RD undermined the complainant’s ability
as a supervisor when she stated, “You took all leadership away from Janelle
Adams, Coworker. It appears you were also taking credit for all of the progress
made, what was to be implemented in the future with little input from the staff,”
and when she falsely accused her taking over a February 7, 2020, meeting and
did not allow another employee to speak.
____________________________

Please answer the following questions:

1. Please identify the facility where you were employed at the time of this claim1.
   Robert J. Dole VA Medical Center

2. Please identify the position and grade you held during the period of the claim.
       Office of Community Care RN/ Nurse II
   a. Are you currently in this position? Yes

            i. If no, provide the date of the last day in this position?

            ii. If yes, how long have you been in your current position? 3 years

            iii. If yes, how long have you been with the organization? 4 years

3. Please provide the name of your direct supervisor during the period of the claim.
   DaShaun McCray

4. What was your working relationship to the Complainant during the period (e.g. first-
   line, second-line supervisor, co-worker) ? Complainant was my first line supervisor

____________________________

1. On February 10, 2020, did Ruth Duda (RD) go to Janelle Adams desk and ask her
if she felt that the Complainant took leadership away from her and if she felt unable to
talk to the Complainant about this type of thing due to fear of retaliation? I did not
witness this conversation nor did I see Ruth Duda go to Janelle Adams desk.

        a. If yes, how are you aware of this incident?

        b. If yes, did you discuss this matter with Janelle Adams?

1 February 2020




Affiant’s Initials:__________   Date:__________
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                i If yes, did Janelle Adams explain why RD was questioning her about
                this?

                        1. If yes, what was the justification?

        b. If yes, did Janelle Adams say that she felt RD’s questioning was appropriate?

                        1. If she stated that RD’s questioning was not appropriate, did she
                        explain why she felt it was inappropriate?

                                a. If yes, explain.

        c. If yes, why do you believe RD was questioned Janelle Adams about this?

        d. If yes, did you report this incident to the Complainant ?

                i. If yes, why did you report this to the Complainant?

        e. If yes, do you believe RD was attempting to set Janelle Adams against the
        Complainant?

                i. Do you have any knowledge as to why she would want to do this?

                        1. If yes, explain.

2. At any time, did the Complainant tell you that RD’s actions, behavior and/or
statements were unwelcomed? I do not recall a specific incident

3. Was the Complainant Janelle Adam’s supervisor during the period of this Event?
Yes

4. At any time, have you witnessed RD subject the Complainant to harassing
treatment? No

        a. If yes, how often have you witnessed this treatment?

        b. If yes, explain the harassing treatment you have witnessed.

5. At any time, did you witnessed RD subject the Complainant to discriminatory
treatment? No

        a. If yes, how often have you witnessed this treatment?

        b. If yes, explain the discriminatory treatment you have witnessed.

6. At any time, did the Complainant tell you that he felt harassed by RD? I do not recall.


Affiant’s Initials:__________   Date:__________
                                              000103
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7. At any time, did the Complainant tell you that he felt RD treats her differently? I do
not recall.

8. Do you have any knowledge and/or belief that RD harbored any animosity towards
the Complainant because of her (Complainant) reports against her (RD)? No

        a. If yes, explain.

9. Do you have any knowledge and/or belief that RD harbored any animosity towards
the Complainant because of her (Complainant) race? No

        a. If yes, explain.

10. Do you have any knowledge and/or belief that RD felt inferior to the Complainant
and/or intimidated by the Complainant because of her (Complainant) knowledge, skills
or abilities? No

        a. If yes, explain.


___________________________

Do you have anything else you would like to add to your testimony?

        If yes, please provide your statement below.

PLEASE NOTE THAT ORM RESERVES THE RIGHT TO SUPPLEMENT OR ASK
ADDITIONAL QUESTIONS AS THE INVESTIGATION REQUIRES.

The above information has been furnished without a pledge of confidence and I
understand that it may be shown to any interested party[ies] with a need to know
for this complaint. This includes but is not limited to VA, EEOC, contracting
officials with a need to know during the course and scope of the informal and
formal EEO process including administrative procedures and litigation as
applicable and mandated by law.

This statement is made under penalty of perjury on this 15th day of September, 2020.



Cynthia Finley
_____________________
Cynthia Finley




Affiant’s Initials:__________   Date:__________
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Harris, Linda (ORMDI)

From:                             McCray, DaShaun
Sent:                             Monday, July 13, 2020 7:21 PM
To:                               Harris, Linda (ORMDI)
Subject:                          McCray Event #6




DaShaun M. McCray MBA, BSN, CCM
Program Manager C6, Clinical Integration
VHA Office of Community Care


From: McCray, DaShaun
Sent: Saturday, February 1, 2020 1:37 PM
To: Ament, Ricky A. <Ricky.Ament@va.gov>
Subject: RE: Plan by COB

Mr. Ament,

I really do appreciate you and what you have shown me in regard to how to run a business. I value your input and
the opportunities you have given me to address concerns that affect RJD as a whole and not just Community Care.
With that said, Dr. Cummings called me to his office to meet with he and Ruth 1/31/20 at 3:30 pm. When I arrived
we initial discussed the plan for the backlog and in which I had sent him the numbers for but did not have it in excel
format like he wanted. He requested Ms. Duda and I work together to get that to him by Noon Monday. After that
conversation he stated that he wanted RJD Community Care to be the Platinum Standard for VISN 15 and that would
require Ms. Duda and I working together. I informed him I do not trust her, she usurps my authority and pits my staff
against me. She takes information I give her and puts it off as her own. I do understand she is the Chief of this
department and I respect her position but I no longer respect her as a person or professional. I continued to request
re-assignment and decline resolving my issue with Ms. Duda as this has been going on between she and I since 2018
and I just took it because I am a single parent and was in fear of losing my job. His words were, “ when are you
leaving because Ms. Duda has an organization to run”. I am one of the reasons RJD Community Care did so well of
the past years and he will see that once I am gone. In do thank you for the continued support and opportunities, but
now I have no faith in Ms. Duda direct supervision addressing her behavior. He made it look like I am the problem,
although without me Community Care will run different, but the good this is I have supported the team and trained
them well so it will continue to function without me.

Very respectfully,

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Ament, Ricky A. <Ricky.Ament@va.gov>
Sent: Saturday, February 1, 2020 8:12 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Plan by COB
                                                          1
                                                     000111
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DaShuan,
I am out of town until Tuesday. I can assure you Dr. Cummings and I will discuss this on my return.
Regarding the discussion on Thursday, I felt good about the interchange. In fact, after your departure, we addressed
the difference between throwing bodies (perhaps the wrong ones) at the problem rather than Fixing the real
problem then staffing accordingly. Your analysis and articulation were right on target.

Rick

Sent with BlackBerry Work
(www.blackberry.com)



From: McCray, DaShaun <DaShaun.McCray@va.gov>
Date: Friday, Jan 31, 2020, 11:42 AM
To: Cummings, Robert V. <Robert.Cummings@va.gov>
Cc: Ament, Ricky A. <Ricky.Ament@va.gov>
Subject: Plan by COB

Dr. Cummings,

On Ms. Duda return to Community Care this morning after morning report she approached me regarding Plan by
COB. She had also sent a text during morning report stating “ You need to focus on the GT 7 as this is the PM” on my
personal cell phone. These are not the standard she has held the department to and is the reason we are so far out.
When myself and Elizabeth attempted to implement this standard she stated “ we will get behind and then maybe
the front office will see we need people’, and many have heard he state this. She asked me if I had received email
regarding Plan by COB. I informed her I have been in receipt of the email and I am working to address the 2183. She
came around my desk and was in my personal space stating these were the numbers I gave and I know that these
are the numbers given by Ms. Behnk. She continued to stand over me and talk I requested she go on the other side
of the desk and she continued to be loud and telling me that I took over the meeting yesterday and did not allow her
to speak. This is retaliation, intimidation and abuse of authority which are unacceptable practices of a person in a
leadership role. I feel threatened and will not accept this behavior.

Very respectfully,

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




                                                         2
                                                    000112
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From:             McCray, DaShaun
To:               Alford, Natalina (ORM)
Subject:          Additional Information McCray
Date:             Tuesday, February 18, 2020 4:22:13 PM


Good Afternoon Ma’am,

Wanting to know if your received my signed forms.


Highlighted areas in Yellow.
3) She added this to me and we are on short notice to the COS and she never has trained me. Added
to my work load.

4) She also stated in front of Deputy Nurse Executive that the said staff was fearful of speaking to me
in fear of retaliation. I have spoken with this staff member and she states Ms. Duda came to her on
2/10/20 and asked her these questions and she felt like Ms. Duda was trying to pit her against me. I
am not sure I would be able to get her to state this again. But it definitely substantiates what I had
stated in the reason for my case.


V/r

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Friday, February 14, 2020 4:12 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Cc: Brown, Heather (WIC) <Heather.Brown_7@va.gov>
Subject: meeting on 2/14/2020

DaShaun
This is a recap of today’s meeting to assist keeping us on the same page.
These weekly meetings will be conducted and to mirror those I have with Dr. Cummings. The intent
is information sharing by both parities as well as to assist in training to be a strong leader. This is why
Heather Brown was invited, as you had told me she is your mentor to assist with professional growth
and development. Thank you Heather for attending.
Items Reviewed:
     1. I was informed this am that ALL radiation oncology will be routed through KC VA first as an



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    IFC. They will do the reach out call as part of the RCI and then forward the consult to OCC if
    need be. You raised a valid point to see if the radiation oncology has been pulled from the
    SECOC. Thank you for following up on that issue. Please let Pam B and myself know.

 2. Sunshine Vanderboom’s last day to process consults will be 3/26/2020. The administrative
    decision to assist with coverage will be a joint effort between OCC RN staff and ARNP from PC.
     For grandfather eligible veterans and any RFS received for a grandfather eligible veteran; the
     OCC RN will receive the consult, gather all clinical information needed to do a clinical review
     and apply IQ criteria.
     If met, the OCC RN will enter the appropriate consult under the ARNP’s name, the consult be
     entered as hold for signature.
     If the criteria is not met, we follow IQ process and first request additional information from
     the ordering community provider, once received, if meets criteria proceed as above. If it still
     does not meet criteria then send the request to the ARNP for medical determination and
     disposition. At that point the ARNP will enter the consult.
     This will be a good trial as we approach the CPO process.

 3. I confirmed with HR that for staffing requests the Chief of the Service does present, however
    the preparation of staffing request does not have to be the Chief of the service. This is within
    the expectations of Nurse Managers and therefore I am providing you with the opportunity to
    take control of your staffing and prepare the request for intermittent RN staffing. I have
    provided a sample of my past staffing proposals to assist.

 4. Reflecting upon the transfer nurse meeting held on Friday, Feb. 7, 2019 and Janelle’s request
    to leave the team post meeting. I would like to provide feedback to you on how you were
    perceived by not only myself but Ms. Adams. Ms. Adams was given autonomy to lead the
    transfer team as part of a way to earn her Nurse 2, therefore she had prepared the handout
    of processes tried-successes and failures. However, at the meeting in front of the entire team,
    you took all leadership away from Janelle and it appeared you were also taking credit for all
    progress made and what was to be implemented in the future, with little input from the staff.
    Janelle came into my office several days later and stated she felt undermined and all the
    effort to gel and create a successful team was worth her effort and stress. She additional
    stated she felt nothing was being done about Lori’s lack of customer service and attitude to
    be a team player. I assured her you were aware and that is all I could share. I appreciated you
    voicing your perspective that you were unaware of Janelle being asked to ‘lead the team’ but
    did acknowledge the conversation that we had discussed this would be a good way for her to
    earn her Nurse 2. I appreciate you voicing it was never any intent to upset or take away from
    Janelle.


 5. I need you to focus on managing the nurses and allow Ms. Dial to manage the MSA as she is
    the Program Specialist Supervisor. You stated you understood.

 6. When in meetings, be it is always good practice to always show respect and if you feel there is
    an error, allow a way to ‘save face’. Be it with the Pentad or in the staff meeting. On Tues to


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     address the backlog, you announced very blatantly, ‘Ruth was wrong’ . You did not correct
     yourself until I cleared my throat and stated, I was given wrong information. Therefore, the
     misguidance was unintentional. By your denial of making the statement, I will surmise that it
     was not intentional to show any disrespect.


Ruth Duda, RN, BSN, MBA, MHC
Chief of Community Care
Robert J Dole VA
Wichita, KS
(316)685-2221 X57073




                                           000115
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From:            McCray, DaShaun
To:              Alford, Natalina (ORM)
Cc:              McCray, DaShaun
Subject:         Claim
Date:            Monday, February 10, 2020 12:35:47 PM


Timeline

1/24/20- Met with COS to discuss behavior of direct supervisor

1/24/20- Met with local EEO to discuss Mediation

1/24/20- Direct supervisor returns from meeting at main campus and begins to increase email traffic
regarding prioritizing work

1/30/20- Attended meeting with Chief Nurse Ruth Duda with Pentad. Discussion was going as
planned and Ms. Duda was reporting information without plan for resolution. Medical Center
Director placed his had up to ask her to allow me to speak. I gave information in perspective to
department workflow and he understood recommendation and request myself and Ms. Duda have
information to Pentad by COB 1/31

1/31/20 7:58 - Ms. Duda sent Text message stating what I needed to focus on and I agreed

1/31/20 approximately – Ms Duda came to my office informing me COS sent an email stating the
need for plan by COB. I informed her I had received the email and would be working to get the
information to COS. She came behind my desk and started looking at my computer. I did not ask or
invite her to look at my email. She started stating I was the one that did not let her talk and gave
wrong information to Pentad. Informed her it was not me it was the information from the GPM that
gave the numbers. She began getting loud and stating to me am I offended and continued to stand
over me. I am making a claim on harassment due to racial discrimination.




DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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From:             McCray, DaShaun
To:               Alford, Natalina (ORM)
Cc:               McCray, DaShaun
Subject:          FW: Plan by COB
Date:             Monday, February 10, 2020 12:19:31 PM


Ms. Alford here is the email traffic.

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: McCray, DaShaun
Sent: Saturday, February 1, 2020 2:37 PM
To: Ament, Ricky A. <Ricky.Ament@va.gov>
Subject: RE: Plan by COB

Mr. Ament,

I really do appreciate you and what you have shown me in regard to how to run a business. I value
your input and the opportunities you have given me to address concerns that affect RJD as a whole
and not just Community Care. With that said, Dr. Cummings called me to his office to meet with he
and Ruth 1/31/20 at 3:30 pm. When I arrived we initial discussed the plan for the backlog and in
which I had sent him the numbers for but did not have it in excel format like he wanted. He
requested Ms. Duda and I work together to get that to him by Noon Monday. After that
conversation he stated that he wanted RJD Community Care to be the Platinum Standard for VISN 15
and that would require Ms. Duda and I working together. I informed him I do not trust her, she
usurps my authority and pits my staff against me. She takes information I give her and puts it off as
her own. I do understand she is the Chief of this department and I respect her position but I no
longer respect her as a person or professional. I continued to request re-assignment and decline
resolving my issue with Ms. Duda as this has been going on between she and I since 2018 and I just
took it because I am a single parent and was in fear of losing my job. His words were, “ when are you
leaving because Ms. Duda has an organization to run”. I am one of the reasons RJD Community Care
did so well of the past years and he will see that once I am gone. In do thank you for the continued
support and opportunities, but now I have no faith in Ms. Duda direct supervision addressing her
behavior. He made it look like I am the problem, although without me Community Care will run
different, but the good this is I have supported the team and trained them well so it will continue to
function without me.

Very respectfully,

DaShaun M. McCray BSN, RN, CCM

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Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Ament, Ricky A. <Ricky.Ament@va.gov>
Sent: Saturday, February 1, 2020 8:12 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Plan by COB

DaShuan,
I am out of town until Tuesday. I can assure you Dr. Cummings and I will discuss this on my return.
Regarding the discussion on Thursday, I felt good about the interchange. In fact, after your
departure, we addressed the difference between throwing bodies (perhaps the wrong ones) at the
problem rather than Fixing the real problem then staffing accordingly. Your analysis and articulation
were right on target.

Rick

Sent with BlackBerry Work
(www.blackberry.com)



From: McCray, DaShaun <DaShaun.McCray@va.gov>
Date: Friday, Jan 31, 2020, 11:42 AM
To: Cummings, Robert V. <Robert.Cummings@va.gov>
Cc: Ament, Ricky A. <Ricky.Ament@va.gov>
Subject: Plan by COB

Dr. Cummings,

On Ms. Duda return to Community Care this morning after morning report she approached me
regarding Plan by COB. She had also sent a text during morning report stating “ You need to focus on
the GT 7 as this is the PM” on my personal cell phone. These are not the standard she has held the
department to and is the reason we are so far out. When myself and Elizabeth attempted to
implement this standard she stated “ we will get behind and then maybe the front office will see we
need people’, and many have heard he state this. She asked me if I had received email regarding
Plan by COB. I informed her I have been in receipt of the email and I am working to address the
2183. She came around my desk and was in my personal space stating these were the numbers I
gave and I know that these are the numbers given by Ms. Behnk. She continued to stand over me
and talk I requested she go on the other side of the desk and she continued to be loud and telling
me that I took over the meeting yesterday and did not allow her to speak. This is retaliation,
intimidation and abuse of authority which are unacceptable practices of a person in a leadership


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role. I feel threatened and will not accept this behavior.

Very respectfully,

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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From:               McCray, DaShaun
To:                 Alford, Natalina (ORM)
Subject:            FW: Functional Statement
Date:               Monday, February 10, 2020 1:01:16 PM
Attachments:        Utilization Management Nurse NII.pdf


This is the Functional statement that was sent to me by her secretary and I was told it was because
they received information from HR that I was requesting re-assignment, which I did 1/22/20, but it
ironically got addressed when I stated I am just going to address this with my caseworker.

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Seymour, Gwen C. <Gwen.Seymour@va.gov>
Sent: Friday, February 7, 2020 11:18 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: Functional Statement

DaShaun,

Please see attached functional statement for the Utilization Management Nurse NII.

Thank you,

Gwen Seymour
Secretary, Nurse Executive
Robert J. Dole VA Medical Center
5500 E. Kellogg
Wichita, KS 67218
(316) 685-2221 ext. 53622
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individual or entity to whom they are addressed. Please notify the sender immediately by email if you have received
this email by mistake and delete this email from your system. If you are not the intended recipient you are notified
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From:            McCray, DaShaun
To:              Alford, Natalina (ORM)
Subject:         Additional Information
Date:            Tuesday, March 3, 2020 10:37:31 AM


Ms. Alford,

Area in highlighted in yellow is badgering. First she gives me wrong information stating the employee
can have a “grace period” so I asked for the regulation from HR including her in the email so we be
on the same page, then she comes to me and states how she could have fired me.

Respectfully,

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 10:40 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

Do you have a minute? Please come to my office

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 10:34 AM
To: Duda, Ruth <Ruth.Duda@va.gov>
Subject: RE: Licensure

You are taking this out of context as I am not choosing to terminate. I agree with the provide
licensure within 72 hours and written counseling. I was just asking the regulation so I know for
myself. I do not want the staff to be blind sided as that I had also discussed the grace period with her
prior to her leaving.

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


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From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 10:22 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

I sent you the e-mail I sent Dr. Cotton per advisement of Sydney Kaus.

I find your response interesting, as I was also told to fire you when you violated the HIPPA law. Yet I
chose a merciful route.
(Name Retracted) could produce a license tomorrow, and you would have lost a valuable employee.
Ruth


From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 9:51 AM
To: Duda, Ruth <Ruth.Duda@va.gov>
Cc: Dean, Christina <Christina.Dean@va.gov>
Subject: RE: Licensure

Ruth,

Please reply all so we all are on the same page. I am wanting to make sure where I should be from a
management standpoint with HR. I cannot allow any personal feelings about this situation over rule
the regulation.

Very respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 9:43 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

DaShaun,
While I believe in acting justly, and providing mercy, there still needs to be a disciplinary action even
if she produces her nursing license in the next 48 hours.
Anything over 72 hours is grounds for termination.


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Ruth


From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 9:35 AM
To: Dean, Christina <Christina.Dean@va.gov>
Cc: Duda, Ruth <Ruth.Duda@va.gov>
Subject: Licensure
Importance: High

Christina,

Staff member ( Name Retracted) has been notified that her RN license shows lapsed in KSBN quick
verification. This staff member has been sent home and I am emailing you to verify my position as
the Nurse Manager of this staff in resolution of this issue, ie. grace period versus removal.

Very respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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From:            McCray, DaShaun
To:              Alford, Natalina (ORM)
Subject:         Add to Case
Date:            Tuesday, March 3, 2020 3:49:11 PM


Yes.

7:57 am 3/2/20- Text to my cellphone stating Staff Member RN must show proof of licensure or be
fired immediately. I checked Kansas State Board of Nursing while the staff member was in my office
the system stated lapsed. Ms. Duda informed me the staff member would need to be sent home and
I asked sent home as in escorted out show within time frame and she responded, “ For now
opportunity to show…” I asked her who gave her that information and she state two members of HR
and the Nurse executive.

Approximately 8:40 she arrives to the office and the staff member comes by and we both inform her
to work to get the process expedited as she could have opportunity to show and retain her job. I
send an email to HR representative and stating “This staff member has been sent home and I am
emailing you to verify my position as the Nurse Manager of this staff in resolution of this issue, ie.
grace period versus removal.” HR responds with the regulation which was removal. I clarify that is
what I read in the regulation also and my Chief responds with “ I find your response interesting, as I
was also told to fire you when you violated the HIPPA law. Yet I chose a merciful route. Staff member
could produce a license tomorrow, and you would have lost a valuable employee. “ I was not
speaking of termination, I was wanting to know the regulation for myself, as she had brought back
contradicting information from another HR specialist and she as the Chief was giving me miss
information that I then passed on to the staff member. I find her statement to me badgering and
causing me to feel undue stress because I want to know the regulation so I can be able to properly
inform staff. This could also fall with the usurps my authority as she could have passed me the
information she received from the Nurse Executive and I would have handled the situation with HR
giving the staff member appropriate guidance.




V/r

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Alford, Natalina (ORM) <Natalina.Alford@va.gov>
Sent: Tuesday, March 3, 2020 10:49 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>



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Subject: RE: Additional Information

Do you want this added to your claim?

If so please give a brief description (Date and What Happened)


From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Tuesday, March 3, 2020 10:37 AM
To: Alford, Natalina (ORM) <Natalina.Alford@va.gov>
Subject: Additional Information

Ms. Alford,

Area in highlighted in yellow is badgering. First she gives me wrong information stating the employee
can have a “grace period” so I asked for the regulation from HR including her in the email so we be
on the same page, then she comes to me and states how she could have fired me.

Respectfully,

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 10:40 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

Do you have a minute? Please come to my office


From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 10:34 AM
To: Duda, Ruth <Ruth.Duda@va.gov>
Subject: RE: Licensure

You are taking this out of context as I am not choosing to terminate. I agree with the provide
licensure within 72 hours and written counseling. I was just asking the regulation so I know for
myself. I do not want the staff to be blind sided as that I had also discussed the grace period with her
prior to her leaving.




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DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 10:22 AM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

I sent you the e-mail I sent Dr. Cotton per advisement of Sydney Kaus.

I find your response interesting, as I was also told to fire you when you violated the HIPPA law. Yet I
chose a merciful route.
(Name Retracted) could produce a license tomorrow, and you would have lost a valuable employee.
Ruth


From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 9:51 AM
To: Duda, Ruth <Ruth.Duda@va.gov>
Cc: Dean, Christina <Christina.Dean@va.gov>
Subject: RE: Licensure

Ruth,

Please reply all so we all are on the same page. I am wanting to make sure where I should be from a
management standpoint with HR. I cannot allow any personal feelings about this situation over rule
the regulation.

Very respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734


From: Duda, Ruth <Ruth.Duda@va.gov>
Sent: Monday, March 2, 2020 9:43 AM


                                              000130
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To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Licensure

DaShaun,
While I believe in acting justly, and providing mercy, there still needs to be a disciplinary action even
if she produces her nursing license in the next 48 hours.
Anything over 72 hours is grounds for termination.
Ruth

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 2, 2020 9:35 AM
To: Dean, Christina <Christina.Dean@va.gov>
Cc: Duda, Ruth <Ruth.Duda@va.gov>
Subject: Licensure
Importance: High

Christina,

Staff member ( Name Retracted) has been notified that her RN license shows lapsed in KSBN quick
verification. This staff member has been sent home and I am emailing you to verify my position as
the Nurse Manager of this staff in resolution of this issue, ie. grace period versus removal.

Very respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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From:            McCray, DaShaun
To:              Alford, Natalina (ORM)
Subject:         Additional information
Date:            Friday, February 14, 2020 4:00:52 PM


Ms. Alford,

2/14/20- Scheduled for an update meeting with my direct supervisor 2/14/20 at 2:00pm she then
lets me know it is rescheduled to invite my personal mentor that happens to be the Nurse Executive.
During this meeting she begins with business as usual and states that the things that are appropriate
to the team. She then begins to go into instances where she states she is going to allow me to
manage the nurses, states that I took over a meeting on 2/7/20 and did not allow the RN to speak,
then proceeds to tell me the RN was fearful to discuss anything with me secondary to fear of
retaliation. She had my personal mentor that is the Nurse Executive there while she verbally
discredited my ability as a supervisor and stated rumored information. She once again used
intimidation tactics in which I felt threatened me credibility in the whole facility bringing an outside
party to a meeting, and she never asked me if I was okay with her attending. These are two senior
level nurses that are not of my race sitting in a meeting with me that I was completely not aware of
 the allegations presented until she starts saying them in front of her.


Very respectfully,



DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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Harris, Linda (ORMDI)

From:                              McCray, DaShaun
Sent:                              Monday, July 13, 2020 7:16 PM
To:                                Harris, Linda (ORMDI)
Subject:                           McCray Email for Event #8




DaShaun M. McCray MBA, BSN, CCM
Program Manager C6, Clinical Integration
VHA Office of Community Care


From: McCray, DaShaun
Sent: Tuesday, April 14, 2020 11:59 AM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: RE: Excessive Punitive Treatment

Yes Sir. My number is 316-239-2734

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Sent: Tuesday, April 14, 2020 12:58 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Excessive Punitive Treatment

Will 3:00 today work?

Keith Blackstone
Employee/Labor Relations Branch Chief
VA Heartland (VISN 15) Network Office
Ph: 816-728-9176

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Tuesday, April 14, 2020 12:49 PM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: RE: Excessive Punitive Treatment

Mr. Blackstone,

It has been a week and I still have not heard from you. I really would like to set up a time to talk.

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Respectfully,

DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Sent: Tuesday, April 7, 2020 1:43 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Excessive Punitive Treatment

Hopefully I can answer some of the questions you have, when we talk

Keith Blackstone
Employee/Labor Relations Branch Chief
VA Heartland (VISN 15) Network Office
Ph: 816-728-9176

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Tuesday, April 7, 2020 1:37 PM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: RE: Excessive Punitive Treatment

Mr. Blackstone,

I do many questions about HR practices here. I just feel that my employee situations was double jeopardy. I now am
aware that what is given to me from HR is a recommendation and I could have decided to give a verbal counseling,
as this employee had already been through a lot. I am learning the more I read, and abuse of position is not good.

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Sent: Tuesday, April 7, 2020 1:30 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Excessive Punitive Treatment

DaShaun,
I wanted to follow up with you. I apologize for the delay, this COVID crisis has me
hopping. I have not forgot about your situation and have been looking into some things. I
still need to talk to you at some point in the near future. I am sure you are busy too. I will
be in touch soon. If you have any questions let me know.


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Keith Blackstone
Employee/Labor Relations Branch Chief
VA Heartland (VISN 15) Network Office
Ph: 816-728-9176

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Thursday, March 26, 2020 8:56 AM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: FW: Excessive Punitive Treatment

Sir,

I do understand we are all very busy, but for the well being of our staff I would like a response. This is not just one
staff we are dealing with. I also have detailed staff to my area that is questioning the practices of our HR and how
they is leading the processes. I really am working to get the information so that I will not be put in this position again
in the future.


Very Respectfully,

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Sent: Tuesday, March 24, 2020 2:27 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Subject: RE: Excessive Punitive Treatment

I will be reaching out to you soon, I am a little tied up at the moment. What number can I
reach you?

Keith Blackstone
Employee/Labor Relations Branch Chief
VA Heartland (VISN 15) Network Office
Ph: 816-728-9176

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Tuesday, March 24, 2020 2:25 PM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: RE: Excessive Punitive Treatment

Mr. Blackstone,

For my understanding is this the process that is to be followed? As I see being removed as the top penalty and then
coming back and giving additional excessive. I have read the credentialing and the HR regulations in regard to this
and I am wanting to be aware for myself if this happens in the future.


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Very Respectfully,

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Sent: Monday, March 23, 2020 12:20 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>; Patterson, William P. (V15) <William.Patterson@va.gov>
Cc: Washington, Tanya D. (V15) <Tanya.Washington@va.gov>
Subject: RE: Excessive Punitive Treatment

Dr. Patterson,
I am gathering all the pertinent information and will ensure this issue is resolved.

Keith Blackstone
Employee/Labor Relations Branch Chief
VA Heartland (VISN 15) Network Office
Ph: 816-728-9176

From: McCray, DaShaun <DaShaun.McCray@va.gov>
Sent: Monday, March 23, 2020 11:20 AM
To: Patterson, William P. (V15) <William.Patterson@va.gov>
Cc: Washington, Tanya D. (V15) <Tanya.Washington@va.gov>; Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: Excessive Punitive Treatment
Importance: High

Dr. Patterson,

I am DaShaun McCray Nurse Manager Community Care Robert J. Dole VAMC. I had staff member on 3/2/20 that was
notified her nursing license lapsing which was identified as error of the KSBN and resolution made by COB 3/2/20
with her license being reinstated. I reached out to Nurse Executive and Tina Dean HR specialist to work to resolve
issue. This staff member had already been removed in which you overturned on 3/4/20, she was off from 3/2-3/4
leave without pay which could be looked at as a suspension.

I have been made to give her a reprimand which was issued on 3/18/20 under the direction of Tina Dean HR
specialist, but I feel this is Double Jeopardy and this staff member has received due disciplinary action. I am a newer
supervisor and just did not know how to approach this situation and had no effective guidance from my direct
supervisor, as her response was this was above her.

Please see this as an appeal on the behalf of my staff member as I did not feel just culture is being observed by
issuing the reprimand, but did not know how to approach the situation.


Very Respectfully,

DaShaun M. McCray MBA, BSN, RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC

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5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734




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Harris, Linda (ORMDI)

From:                           McCray, DaShaun
Sent:                           Monday, July 13, 2020 7:17 PM
To:                             Harris, Linda (ORMDI)
Subject:                        Email for event #8
Attachments:                    Debellis prop repriamnd.docx; licensure lapse.pdf




DaShaun M. McCray MBA, BSN, CCM
Program Manager C6, Clinical Integration
VHA Office of Community Care


From: McCray, DaShaun
Sent: Tuesday, April 14, 2020 2:24 PM
To: Blackstone, Keith (V15) <Elmer.Blackstone@va.gov>
Subject: FW: Proposed Reprimand



DaShaun M. McCray RN, CCM
Nurse Manager Community Care
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: Dean, Christina <Christina.Dean@va.gov>
Sent: Tuesday, March 10, 2020 5:14 PM
To: McCray, DaShaun <DaShaun.McCray@va.gov>
Cc: Irick, Matthew W. <Matthew.Irick@va.gov>
Subject: Proposed Reprimand

Attached is the proposed reprimand and evidence for Jessica Debellis related to her license lapsing.
There were 3 employees who had licenses lapse and all 3 are receiving the same level of proposed
action. Please notify the employee of a meeting time and let her know she can bring a Union rep.
Issue the proposed action and the employee’s timeframe to respond to Ruth is outlined in the
letter. Let us know if you have any questions.

Tina Dean
Supervisory ER/LR Specialist
Robert J. Dole VAMC
Wichita, KS 67218
(316) 685-2221 ext 58029

Help us serve you better with the VISN 15 HR Customer Service survey: VISN 15 HR Quick Card

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Please make sure you select VISN 15 and Wichita




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From:            Cotton, Julianna
To:              Duda, Ruth
Cc:              Billings, Christopher A.; VHAWIC ER-LR
Subject:         licensure lapse
Date:            Sunday, March 1, 2020 5:33:04 PM
Attachments:     image001.png


Hi Ruth, the RN license for Jessica De Bellis is showing lapsed. Please make sure she does not work without
a license. Please contact ER/LR for how to address this matter if it has not been resolved. Thank you.




Julie (Julianna) Cotton, DNP, RN, NE-BC
Associate Director of Patient Care Services/Nurse Executive
Robert J. Dole VA Medical Center
5500 E. Kellogg Ave.
Wichita, KS 67218
Office: 316-685-2221 ext. 53728
Cell: 316-285-8742

Every journey begins with the first step…




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March 12, 2020                                                Reply Refer To: 589A7/HR


Jessica Debellis
Staff Nurse
Robert J. Dole VA Medical Center
Wichita, KS 67218

SUBJECT: Proposed Reprimand

   1. I am proposing to reprimand you for the following reason(s):

       CHARGE: Failure to Maintain License

       Specification: A requirement for your employment with the Department of
       Veterans Affairs is to maintain a state license as a Registered Nurse (RN). On
       February 29, 2020, your RN license issued by the state of Kansas expired. You
       were notified on March 2, 2020 that your license had lapsed.

   2. Maintaining your required license is a requirement for you to function as a RN.
      The lapse of your license put undue hardship on your co-workers since you were
      not available to perform your duties.

   3. RIGHT TO REPLY: In accordance with 38 U.S.C. § 7463, which was modified
      by Public Law 115-41, Section 208 on June 23, 2017, the time period for you to
      respond to this notice of proposed reprimand is 7 business days from receipt of
      this notice. Business days are defined as Monday through Friday, in Washington
      D.C., excluding Federal holidays. If you choose to reply, you may do so orally, or
      in writing, or both orally and in writing, and you may submit affidavits and other
      documentary evidence in support of your reply, showing why the charge is
      unfounded and any other reasons the proposed action should not be effected. If
      you elect to reply, please contact Ruth Duda, Chief, Office of Community Care,
      to arrange for a meeting or submit a written reply, which must be received no
      later than 11:59 p.m. 7 business days from receipt of this notice.

   4. RIGHT TO REVIEW EVIDENCE: The evidence on which this notice of proposed
      action is based is enclosed. You will be allowed eight hours of official duty time
      for reviewing the evidence relied on to support the reason(s) in this notice,

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       preparing a written reply, securing affidavits, and for making a personal reply.
       Arrangements for the use of official time or requests for additional time should be
       made with me.

   5. RIGHT TO REPRESENTATION: You may be represented by an attorney or
      other representative of your choice at all stages of this matter, up to and
      including the issuance of the decision. Any representative must be designated in
      writing.

   6. FREEDOM TO PRESENT DEFENSE: Be assured that you and your
      representative have freedom from restraint, interference, coercion,
      discrimination, or reprisal in discussing, preparing, and presenting a defense.

   7. DECISION: The final decision to effect the action proposed has not been made.
      Ms. Duda will make the final decision and will give full and impartial consideration
      to your reply(ies), if submitted. You will be given a written decision within 15
      business days of the date you receive the notice of proposed action. If an action
      is effected, the applicable grievance or appeal rights will be included in the
      decision letter.

   8. If you have any questions or do not understand the above reason(s) why this
      action is proposed, contact me, or Sandy Miller, Employee and Labor Relations
      Specialist at 316-651-3625 or me for a further explanation. The Agency has an
      Employee Assistance Program (EAP) that is available with a wide range of
      services. If you believe that this program may be of benefit, you may call EAP at
      (800)-604-4371.




DaShaun McCray
OCC Nurse Manager



                                                                 /
Employee Receipt Signature                                       Date:

Enclosure: Evidence File


cc: HR (ER/LR)




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Harris, Linda (ORMDI)

From:                                McCray, DaShaun
Sent:                                Monday, July 13, 2020 7:25 PM
To:                                  Harris, Linda (ORMDI)
Subject:                             Event #1-McCray




DaShaun M. McCray MBA, BSN, CCM
Program Manager C6, Clinical Integration
VHA Office of Community Care


From: McCray, DaShaun
Sent: Monday, February 10, 2020 1:38 PM
To: Alford, Natalina (ORM) <Natalina.Alford@va.gov>
Subject: FW: Appointment Please

This is the information from 2018 that shows this is not isolated.

DaShaun M. McCray BSN, RN, CCM
Nurse Manager Care in the Community
Robert J. Dole VAMC
5500 E. Kellogg
Wichita, Kansas 67218
Phone: 316-685-2221 ext 52734

From: McCray, DaShaun
Sent: Thursday, April 5, 2018 11:19 AM
To: Raffi, Syed <Syed.Raffi@va.gov>
Subject: RE: Appointment Please

Yes I will meet you in the COS office.

From: Raffi, Syed
Sent: Thursday, April 05, 2018 11:12 AM
To: McCray, DaShaun
Subject: RE: Appointment Please

Thank You. Could we still meet and talk at noon ?

From: McCray, DaShaun
Sent: Thursday, April 05, 2018 11:09 AM
To: Raffi, Syed <Syed.Raffi@va.gov>
Subject: RE: Appointment Please

I will stand down at this time. I will just put it in the email for you

On 5 April 18 approximately 0830 Ruth Duda came to my desk standing over me and told me I might want to have
Tenesha call her if she wants to get her time approved. Then proceeded to say she has not returned her phone calls
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ore text and she will not be approving her time. I informed her that Tenesha has been working in the business long
enough to know what she needs to do to get her pay. She also informed me that we meaning RJD VAMC does not
have the paperwork.

From: Raffi, Syed
Sent: Thursday, April 05, 2018 11:00 AM
To: McCray, DaShaun
Subject: RE: Appointment Please

Do you want me to come or you can come here we can sit down at the chief of staff office

From: McCray, DaShaun
Sent: Thursday, April 05, 2018 10:58 AM
To: Raffi, Syed <Syed.Raffi@va.gov>
Subject: RE: Appointment Please

I am at Parklane. I need a sit down time. If you do not have that I will go to the next up the chain. Thank you

From: Raffi, Syed
Sent: Thursday, April 05, 2018 10:57 AM
To: McCray, DaShaun
Subject: RE: Appointment Please

I am in a meeting with the pentad now but you can come to Director’s Conference Room and knock and I can step
out.

From: McCray, DaShaun
Sent: Thursday, April 05, 2018 10:53 AM
To: Raffi, Syed <Syed.Raffi@va.gov>
Subject: FW: Appointment Please
Importance: High

I am requesting an appointment with you soon I will have to move up the chain as this is a time sensitive matter. This
is an Ethical concern and Mr. Brigman encouraged I go up the chain of command.

From: McCray, DaShaun
Sent: Thursday, April 05, 2018 9:09 AM
To: Raffi, Syed
Subject: Appointment Please
Importance: High

Dr. Raffi,

I need to speak to you today. I have a direct complaint and I do not chose to discuss in an email.

Thank you,

DaShaun McCray RN, BSN, CCM
Care in the Community
Robert J. Dole VAMC
316-685-2221 ext 57025




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OCC FACT FINDING DISCUSSION SYNOPSIS---                       DISCUSSION DATE           4-20-2020

DASHAUN MCCRAY


1) Please share your preferred name, professional credentials, # of years at the VA, current
   position, and length of time serving in that role. DaShaun McCray, MBA BSN RN, CCM
   Have been with the VA for 4 years and in my current role (RN Supervisor in CC) since 1/29/2019.
   I was previously a staff nurse in CC from my start date in 2015. Whole four years at VA have
   been in Community Care.



2) Could you describe for us the culture of the OCC department when you began in your role of
   Supervisor and compare it to the current culture of the department? Culture when I began, I
   was the peer of the nurses and had worked side-by-side with the MSAs as a staff nurse in CC.
   The culture changed in 2017 when Dr. Ravodi placed Ruth Duda and Dr. Tran into CC without
   any warning. They did not notify the supervisor she was being demoted. Ruth Duda became the
   RN supervisor and Dr. Tran was like physician over the Program. Tenesha Burks had been the
   supervisor over both the MSAs and the nurses since 2013; until they did what they did in June of
   2017. The culture went down effective that very day.
   As I came in to CC we had much cohesiveness. People were willing to follow Ms. Burks, we were
   meeting metrics and following guidelines, we lead in our VISN, and we were doing what we
   needed to do in OCC. I worked side-by-side with the MSAs and the nurses and then became the
   manager of the RN. Ruth Duda had been the nurse manager, but then she became the Chief and
   she was the supervisor over the MSAs.
   Feb 4 of 2019, Ms. Elizabeth Dial arrived as MSA supervisor. She came to us with supervisory
   experience from the KCVA medical center where she had been the MSA supervisor in Specialty
   Care; she ran a tight ship and she intended to continue in that process as she had ran things in
   that previous position.
   If you go against Ruth Duda, you have no opportunity in community care. Ms. Dial was trying to
   learn her job and get staff in be productive, follow rules, arrive on time, notify supervisor when
   they were taking leave, be at their duty station…she ran a tight line. She had several staff...if
   they came in after 8, came in at 8:10 and 815; well that’s AWOL. Ruth and Dr. Foley said she
   needed to be a little more lenient. Not the “7minute rule”, but give them 7 minutes and we’ll go
   from there.
   April 15th of 2019: Ruth Duda came to me and said “If you’re still in contact with Tenesha, let her
   know that her paperwork didn’t go through and she’s not going to get paid.” I have the emails;
   the emails even to Dr. Raffi. Nothing ever got done with it.

    When we were expecting Elizabeth to get here; Ruth was over the MSAs (about a year and a
    half). Every time things would come up that needed done, she would just say, “We’ll just wait
    until the new supervisor gets here, I’ll let her handle it.” Ms. Dial didn’t get to learn her job or
    build relationships with her staff. When she got here, she was given a list of 5 staff members
    that the Chief wanted her to target: Katie Smith (she took FMLA and then resigned), Janet
    Gunter, Jacklyn Murphree, Marcia Dickenson (reassigned and was on her way out the door until




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    me and Ms. Dial pleaded; she targeted by Ruth and Tina Dean) and Rowana Gully (She was
    ready to do an EEO; until Ruth took her reprimand down to a written in January of this year).
    Ruth always has the backing of Tina Dean; it’s just an unprofessional personnel practice for HR.
    If you speak out against Ruth, she is very vindictive and retaliatory. She was placed in that
    position and everyone knows that if I did not remain there, it would be different. In the unit,
    facility, VISN, and region, it is known that I am considered an expert in CC . I tried for a different
    job and I got the FOIA. I outscored the person who got it and I did better on the interview, but
    the other person got the job. Terry Scott and Ruth Duda made the decision because Ruth
    wouldn’t know what’s going on if I left CC. Dr. Cummings won’t admit it but he knows if I wasn’t
    there. Mr. Ament knew. I am the one who knows the program. They know that nurses come to
    me and state they are afraid; they ask “what are we going to do if you’re not here”.

   The culture did change, but it WAS NOT Elizabeth Dial, she was set up by Ruth to write people
   up, there’ll be documentation.
   Tracy Hudson is an example. She’s been given a written 3 times; but it has not reached the table
   of penalty. She’s protected by Ruth. Every times Ms. Dial tries to hold Tracy accountable,
   nothing has ever happened; she had an EEO and was on her way to another EEO from staff just
   this year. Ruth said that Elizabeth had gone around and asked the staff to give a statement
   about Tracy. Elizabeth was trying to get the facts, like a supervisor should. Tracy was
   disrespectful in an open forum. Some people would give NO statement because it’s been going
   on for 2 years and Ruth and has done nothing about it.
   Environment is not good. It WASN’T Elizabeth Dial. Ruth put her up to those things. She set her
   up like that. Ms. Dial was trying to meet standards and do what a supervisor should, but she
   couldn’t. She retired due to hostile and retaliative environment. She had lost 15lbs in one
   month and doctor encouraged her not to subject herself to this environment. She saw the
   doctor on Friday, called in sick Monday, came in Tuesday and filed her paperwork, and she was
   out the door by Wednesday.
   THREE staff have retired with 1 day notice: Talisha sent keys and badge in the mail—just never
   came back, Bob tried—but retired with no notice, and Elizabeth retired…she had no plan on
   retiring. This a master’s educated woman with experience, but she was out the door because of
   Ruth Duda.
3) Tell us how you communicate within the department:
        a. With Ms. Duda and how successful is that? I do my best. I respect her position. There’s
            not a task she gives me I can’t complete. She’s good at delegating. She’s incompetent
            and reckless but I don’t speak out about that in front of people.
            ASKED IF THERE IS AN EXAMPLE OF THE INCOMPENTENCE AND RECKLESSNESS: If I’m
            away; she would give my staff instructions and tell them to do something and I’d have
            to come back and correct it all. She doesn’t know what she’s doing but she just makes
            decisions. I’ve had to clean up many things in the department because most of the time
            she has no idea. At least NOW she’ll usually say “let’s wait until DaShaun gets back”.
            On 1/30 of this year: Dr. Cummings sat in his office, leaned back in his chair, folded his
            hands in front of his face and asked, “So when are you leaving because Ms. Duda has a
            job to do.” He didn’t care about me or what I’ve done or the fact that I know CC and
            actually do the work or get it done. I don’t trust her. I do not respect as a person, but I




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         respect her position. I will continue to come here and do my job until I find a new one. I
         received and email from Ruth Duda the other day saying a new nurse said he hadn’t
         been properly trained by me. He emailed, just to protect himself, and said he
         appreciates all I have done. How can I trust her?
      b. With Ms. Dial and how successful is that? Until I received an email from Ruth Duda on
         2/14/2020; it was good. I tried to train her. She had supervisory experience at the VA,
         but it was a different department and a different VA.
      c. With staff and how successful is that? Oh that’s fine! I have an open door; any time they
         need me, I’ll answer a question or find the answer if I don’t know. They are able to pick
         my brain. I don’t keep knowledge to myself. I share what I know with them. I help with
         issues related to their work, nursing, their career, or what I can help them promote in
         life.
      d. Do you believe that given the ever changing nature of the department and the fast-
         paced environment, that communication is adequate and that everyone receives and
         understands what is communicated at all times? How do you ensure that? It’s well
         enough because they just communicate with me. I don’t know how to say it but Ruth
         Duda is the “face”, if you see my emails, people from VISN, if our IMs would
         save….people communicate with me if they want information or answer. If they say we
         need it by COB on the 16th, it gets done, but not by Ruth Duda. I have glowing
         recommendations by anyone outside of Robert J Dole. Misty Lester can tell you that
         when she got here, I tried to make sure all bases were covered between SW and CC.

          Miss Dial was always asking for training; but Ruth gave her a wrong Position Description.
          She was never told what was expected except what Ruth told her to do as an order.
          They still don’t have the PD and she’s retired. She was doing whatever Ruth wanted her
          to do. She came in with 22 now 33 staff to supervise, supervisory program analyst role,
          meeting the metrics that was all new, and trying to keep all of those people on course;
          the only person who could train her was me. Why? Because Ruth Duda can’t. She
          doesn’t know the job or what it takes to do it and she told Ms. Honeycutt (via email with
          Elizbeth which cannot be retrieved now that she’s gone). On top of that, they gave her
          the OA work and said they had to do that in order for her to even qualify as an 11.
          Ruth will say “As a supervisor you ‘should’…”. But she handed her a MESS. She had been
          the supervisor for a year and a half, but the folders were A MESS when she gave them to
          Elizabeth. When she dropped the RN folders off with me when I took over she never
          showed me how to do it. I had to reach out to other nurse managers. Asked Heather
          Brown how to do things, what’s the process, what do I do? Ruth doesn’t know.
          Ms. Duda don’t know how to do the job. Elizabeth reached out to other VAs in the VISN
          to people with her job or similar job and she trained herself how to do the things she
          was doing in CC. If she ran into things, I know all of it, I would tell her how to do it or
          what the process was. I helped her out with a lot of things. I had the email from Feb. 14
          “I need you to not…” basically saying that my role is not to train Elizabeth. I still helped
          her. She needed the help! If I didn’t, my department fails and that falls on me.
          I DID NOT do part of her job. I helped her so she would not fail. She was set up to fail.




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           Negligence on one side would affect the other side. There is no failure in this
           department. I have good nurses. We are dedicated. We know what we are doing. ; our #
           dropped when they gave us our own scheduling. We are still known as one of the best in
           Comm. Care. This department runs the way it runs.

           What barriers do you believe exist that prohibit effective communication?
               i. What have you done to remove those barriers and ensure that quality
                  communication exists?
              ii. If staff reports that there is poor communication, what steps have been taken to
                  improve it?
             iii. If staff indicate that communication is not adequate for them to know their
                  roles and execute their work, how do you address that?

4) What is your relationship like with the OCC Chief, Ms. Duda?
     a. What factors contribute to the status of your relationship?
     b. At what level do you think she understands and executes her role?
     c. How would you describe her ability to coach and lead her staff in the department?
     d. How would you describe the way she sets expectations with staff and describes their
           work? She delegates. She’s a super delegator. She is NOT a leader. Ms. Duda has been
           moved around at Robert J Dole. I’ve been told that it is even documented that she was
           not to be in a supervisory role. She was removed from surgery, removed from UM,
           placed in CC as a manager; Tenesha was still running it and keep her out of the way. She
           was then given the Chief job supposedly because she had a degree. I know the
           program, but I didn’t get it because I didn’t have a master’s degree. I’ve been done so
           badly at this VA, it’s not even worth talking about. They took someone who was
           REMOVED from other places and then put her to be the leader in a high profile program.
           Nobody expected it to be so high profile, but she is nothing more than the face. Even
           when she tries to speak about the program, she’s IMing me asking me for the
           information so that I can make it look like she knows.



5) What was your relationship like with Administrative Supervisor, Ms. Dial?
      a. We understand she retired unexpectedly. Can you tell us why that was?
      b. What factors contribute to the status of your relationship?
      c. At what level do you think she understands and executes her role?
      d. How would you describe her ability to coach and lead her staff in the department?
      e. How would you describe the way she sets expectations with staff and describes their
         work?
6) How would you describe the collaboration and coaching:
      a. That occurs between yourself, Ms. Duda, and Ms. Dial as a leadership team?
              i. Is there poor collaboration between you and one or both of them? If so, what
                  has been done to address and improve collaboration with the other member/s
                  the leadership team?
      b. Are there barriers or limits to your ability to collaborate with Ms. Duda or Ms. Dial?




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            c. How would you describe the collaboration or coaching that occurs between Ms. Duda
               and her staff?
            d. What about the collaboration or coaching that occurs between Ms. Dial and her staff?
            e. What about the individual collaboration between yourself and Ms. Dial?
            f. And between Ms. Dial’s staff and your staff?
                   i. Is there poor collaboration between the 2 areas? What has been done to
                       address and improve collaboration within the department?

10/28/2019 is when we even started having meetings with her. We had been in our roles for months,
but she never met with us or tried to get us training.

This has been an ongoing issue, but I’ve emailed and they want us to work on it at the lowest level. I’ve
got all the emails between me and Dr. Cummings, Mr. Ament….just let me do my work; she can take the
check and all is well because the job will get done. Get out of my way; be the chief, let us run the
department and the people. Whenever she’s not there; people are happy. As soon as she returns;
people are not happy again.

What she does is she makes the Supervisors be the bad cop; we can’t hold people accountable because
they run to Ruth. They aren’t doing their work and we try to hold them accountable and then she gives
them a break, making HER look good and US look bad. I didn’t come to work for building friendship; I
come to work to build an organization. She want’s everyone to make her look good. She told Elizabeth
“they don’t trust you”. But the thing is, Ruth didn’t ever want to write them up because she didn’t want
to look bad…so Ruth had her writing them all up. Good Cop/Bad Cop. A staff member just came to me
and said that Ruth is pitting staff members against me. She approached them and tried to get them to
say I did something.

I’ve turned in all the emails, all of the documentation that I have to the Office Of Resolution
Management. I have everything to show them the Retaliation and Hostile work environment against
Ruth Duda.




    7) How would you describe staff’s understanding of their roles within OCC: They all know their
       roles, they all been trained, they all know how to do it. We have a lot of things stacked on us.
       We’re an ever changing beast. News things are rolled out. We do additional training if they
       don’t understand. We are overworked.
       We do group trainings. The lead MSA do PowerPoints with examples and screen shots. We try
       different things and we adapt so that we work smarter, not harder.
       Because there are lots of changes; everybody is frustrated because everything is changing all the
       time. We have to be adaptable. Adapt and recover. Since Mission Act Rolled out 10 months ago
       it has been all about changing. They know their role and the other roles on the team. Every
       nurse and MSA team that are working together work well together. Some of the younger nurses
       may not communicate the best. But if they tell on each other, it all gets taken care of. We all
       have one primary focus. We’ve had ADR between one of our teams. Otherwise they know their
       role.




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        a. How well do the nurses understand and execute their role?
                 i. What has been done to ensure understanding?
        b. How well do the MSAs understand and execute their role?
        c. How well does each section understand the role of the other?
        d. If there is an lack of understanding of roles or poor execution of work, how is that
           addressed?


8) When changes need to be implemented or new processes are put in place, how is staff alerted
   and how do you verify that everyone understands and implements their piece successfully?



9) If an issue is brought up within the department, how is that handled?
        a. If it is between members of the leadership team?
        b. If it is between the staff of the two sections/supervisors? If an issue brought up…well, if
            it’s an MSA issue Elizabeth would work to get all the facts. Take the people in who it
            concerned and try to have open discussion with them. First team that couldn’t get
            along, she got Neil Simmons involved and did ADR to work together and tried to work it
            out. She knows ER/LR HR stuff like the back of her hand. If people don’t get to where
            they can work together. Well... Tracy and the RN (Tracy has protective status with Ruth)
            don’t get along. She was my MSA before I became the nurse manager. I never had a
            problem with her, but now she’s got problems. It’s like once Elizabeth came it all went
            downhill. Not sure what Tracy and Ruth were up to with that, but since Ruth protects
            her so much, there’s got to be something to it.
            I don’t have any RN issues: they reported one nurse. It was a communication thing and
            she’s set in her ways. She’s been there 8 years with NO opportunity for promotion.
            She’s disheartened. Ruth wrote her up and but made ME issue it. I just told her that I
            didn’t agree, but I was directed to do it.
            A lot of the things that Ruth Duda tries to….Tina and Ruth reprimanded Ms. Dial for the
            first time in her ENTIRE career over a blatant lie. If you asked Ruth about it, she’d say
            that I just don’t know all the information and I probably don’t, but I do know Ms. Dial’s
            work. Elizabeth was here 12 hours a day; on the weekends. She whipped things into
            shape. Every employee folder is pristine; completely up to date and all accurate. All of
            her stuff was organized and kept neatly completed. Even though she was working, Ruth
            told her she couldn’t get overtime as a supervisor and she still continued to work
            probably 70 hours per week. It’s ILLEGAL. They have to pay her if she’s working
            overtime. But that’s Ruth’s idea. Supervisors can’t get overtime.
            I work overtime; my boss has always refused to pay me overtime. I went to read the
            directive myself and I started putting my name down on the list to get paid. I’ve been
            getting it. I don’t try to milk the system. She had 33 staff; and so many brand new
            MSAs, still not learned her job. She’d be here 7a-630/7pm. She burnt her candle at
            every end just trying to do her job and do it right and figure it out.
            Ruth’s orders that supervisors cannot get overtime.




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                Under the supervision of Ruth Duda, Elizabeth’s career is gone…this is actually her
                second career and she’s good at it, but because of one person, she retired.
                One person, someone with a flight of ideas: we’re both Veterans; both master’s
                prepared; both with fully successful careers. How do you deal with that? I just say she’s
                the boss.

                If they get into her file; there may not be anything documented that she shouldn’t be in
                a supervisory position, but I’ve been told that is the case.



    10) It is reported that issues that arise within the department, remain unresolved and simply may
        not be addressed. Are you aware of unresolved issues and if so, what are they?

    The PENTAD isn’t taking action on many supervisors: no disciplinary actions at all. Dr. Cummings can
    look me in the eye and act like what I do is of no value. I didn’t get the last job here I applied for
    because they said that my transcript wasn’t conferred. They slide things around here how they want
    them; there are very bad HR and personnel practices at this facility. I could go do a whistleblower
    right now. I’m on the way out the door, so why?

    I’d like to know if Dr. Cummings has Dementia? I’ve gone to him and let him know Ruth’s actions.
    His question is when am I leaving Ms. Duda has a service to run. You won’t see any unresolved
    issues in the department. The only things that are left unresolved are accountability of the Chief and
    things that are pending Dr. Cummings action. We are now staffed at 1 RN to 2 MSA. We had to wait
    for approval from Dr. Cummings. We are on the radar for being over 8281 consults scheduled and
    not closed as of January. I was to get a plan to Cummings by COB. I sent him a plan (increase of 10
    staff). He denied it; didn’t like my plan. Said that nothing I had done worked; but now we have
    added 8 people. The same plan that I sent on 1/30, didn’t go forward…because of Dr. Cummings. He
    didn’t want to address Ruth Duda’s behavior either. I come to work. I just come and do my job.

    I’m proud. I’m a Veteran (whole family) I love what I do. I follow directives. I live in directive land.
    Very black and White. The reason we don’t have any local policy is because when I came, I said that
    if we just follow national directive we’d be ok. We were ok until 11/19 when they put scheduling
    on us.

            a. What prevents these issues from being addressed?
            b. How do you think it impacts staff when they bring up and issue and it is not addressed
               or resolved?
            c. What steps could be taken to resolve issues as they arise?
            d. How do you communicate with staff when an issue has been addresses/resolved or
               cannot be resolved?

She’s the only reason I’m leaving here. I should have been the Chief but didn’t get it because I didn’t
have the degree; even though I know CC. I worked hard and I got my degree. I’ve got everything HERE
(kids in school, man, house, family, etc.), but she’s the reason I’m leaving here.

And Julie Cotton is part of why I didn’t get a job because of a Prohibited personal practice. I scored the
highest, but she put an “* she has corrective action”. I did. I had a reprimand. When I first got here, I had



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a friend who asked me to check in his record for an appointment and I did it. I wouldn’t ever do that
again!

I’m taking that information where it needs to go. It was privileged information. Julie Cotton wrote it on
my interview form. She can feel like she’s the bomb-diggity sitting up on the PENTAD when I know
where she’s from. I’m from here. I know the neighborhood, but I’m not trying to ruin her career. She
ruined my career. You can’t put it on the interview form. That’s so dumb. I’m not dumb. I have the
emails where Ruth would argue back and forth and say things; who is so dumb?

Heather Brown is my mentor outside of my job I value and respect her. Ruth was going to have a
meeting with me and she called and invited Heather Brown to come to the meeting. We didn’t need my
mentor there. That was intimidation (2 white woman vs 1 black girl). I value Heather Brown; she didn’t
do anything. Ruth brought my mentor into a meeting (2/14) and she had no right to do that.

The thing about Ruth, she wanted us to be “angry black women”. Elizabeth handled her with so much
class. We are NOT angry black women. We could come in here acting one way, but we don’t.

Ruth has protective status with Dr. Cummings and Tina Dean. Nothing will happen. They won’t hold her
accountable. They’ll just let this go on for whatever reason. I’m not here to ruin her career, but she is
not a leader. She is not leading this department. She’s destroying the department. I’m far from dumb.




The items on this document reflect the synopsis of the conversation as accomplished by the OCC fact
finding panel.



_________________________________________                   5/22/2020
                                                            _______________________

Signature                                                        Date




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Care in the Community              Staff
Meeting Minutes                 Date: 7-
20-18                                                                                                                                              9/29
1=Present/Designee, 0=Absent/Excused     TITLE      OCT    NOV       DEC   JAN       FEB       MAR APR      MAY JUN       JUL       AUG   SEP   extra
Chief of Care in the Community           Chair      x            0         x                       x           1                1
Medical Director for CITC                Co-Chair         0x               x                              0    0                1
Supervisor for CITC                      Co-Chair   x      x               x
Adams, Janelle                           member                                                                                 1
Beall, Elizabeth                         member                                0.1         1      1       1     1     1         1
Bennett-Smith, Teresa                    member     x      x               x                          x         1     1         1
Byrum, Ila                               member     x      x               x                          x         1     1         1
Campbell, Dawn                           member                            x                              0     1     0         1
Clasen, Jessica                          member                                                                       1         1
Dickinson, Marcia                        member     x      x               x                          x         1     1         1
Dir, Stephanie                           member     x      x               x                          x         1     1         0
Field, Renee                             member                            x                          x         1     0         1
Finley, Cynthia                          member     x      x               x                          x         1     1         1
Gulley, Rowe                             member                            x                          x         1     1         1
Gunter, Janet                            member     x      x               x                          x         1     0         1
Hampt, Daniel                            member     x            0               0                        0     0     0         0
Hudson, Tracy                            member     x      x               x                          x         1     1         1
Keller, Becky                            member           0x               x                          x         1     1         1
Keller, Chad                             member     x      x               x                          x         1     1         1
Kim, Min                                 member     x      x               x                              0     1     1         1
Lewis, Lori                              member     x      x               x                          x         1     1         1
McCray, DaShaun                          member     x      x               x                          x         1     1         1
Murphy, Jacquelyn                        member           0x               x                          x         1     1         1
Phillips, Susan                          member     x      x               x                              0     1     1         1
Profit, Crystal                          member     x      x               x                          x         1     1         1
Rosewicz, William                        member     x      x               x                          x         0     1         1
Sincere, Anjette                         member                                                                 1     1         1
Smith, Katie                             member     x      x               x                          x         1     1         1
Steele, Michele                          member     x      x               x                          x         1     1         1
Thorne, Rosalie                          member     x      x               x                              0     1     1         1



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Warren, Joni                        member                  x               x        1    0    1
Williams, Alicia                    member   x    x         x               x        1    1    0
Wilson, Peggy                       member                  x               x        1    0    1


Guests:
Rick Ament-Director




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                                                                                                                               Responsible Party/Follow
DATE: 7-20-18                     Discussion                                                      Action                       UP

Review and approval of minutes    Meeting was called to Order: 1300-                              approved via voting          Duda
GUEST: Director Rick Ament

Saftey Issues:

Ethical Issues:

Welcome New Employees             Janelle Adams RN
                                  Mr. Michael Chavez and Charlotte Porter have accepted
                                  the position-vice Roberson and Steele. Both start new
                                  employee orientation Aug. 5th.     Open position-
Staffing Update:                  AO/MSA Supervisor-in HR process                       none                                   Duda
Old Business
                                  CCN is still in roll out phas-VISN 15 not anticipated to roll
Choice Update                     out ill near end of FY 2019                                                                  Tran



                                        Document              S:\Fee\Oversight
                                                                                                       Document
                                                             Committee\Meeting
                                                             Minutes\work book
Consult Closure
Performance/New Performance       All consults should be touched every month unless               Good job everyone-keep up the
Measures                          awaiting an appointment.                                        great work                    Duda
                                  1)progressing-using IQ-official training requested form
                                  VISN IQCI-training dates to be announced-two sessions
                                  will be held just for CITC. Instructor has asked for
                                  categories of care that currently present problems
Ns. DOA                           finding.                                                        TBA-on IQ training           Duda




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                                                                           Topic board in Ruth's office, feel
                                                                           free to list topics you want
                   to assist with flow and congruency-MSA meetings will be discussed or issues that need
MSA meetings       re-started for every other Thursday                     addressing-please initial          Duda

AES                We reached 100%-results forthcoming.                                                     Thorne
NEW BUSINESS:


                   Leave request must be entered by employee-only
                   exception is if it is on the Friday at the end of the PP -if
                   you are taking more than 1 week off, each week must be
                   entered at a time, rather than collective dates
                   -If you are requesting leave and there is not enough
                   leave in your balance, the system will not allow you
                   enter the leave. In the same vein, if you are requesting
                   LWOP in lieu of AL -anticipate that it may be denied.
                   Justication explained by Supervisor          -When you
                   enter leave watch the hours calculated closely, the
                   system has been messing up, if it does, delete the
                   request and re-enter                            -SL
New Time-VATAS     authorization does not change, FLMA does not change. Information Only                    Duda
                   Bill has volunteered to oversee the mail room rotation
                   schedule and ensure coverage in the case if person           see MSA meeting minutes-
Mail Room          assigned is absent.                                          closed                      Duda
OPEN DISCUSSION




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Sign In Sheet
DATE:                                                      7/20/2018
EVENT:                  Staff Meeting
Guest
Adams, Janelle
Beall, Elizabeth
Bennett-Smith, Teresa
Byrum, Ila
Campbell, Dawn
Clasen, Jessica
Dickinson, Marcia
Dir, Stephanie
Field, Renee
Finley, Cynthia
Gulley, Rowe
Gunter, Janet
Hampt, Daniel
Hudson, Tracy
Keller, Becky
Keller, Chad
Kim, Min
Lewis, Lori
McCray, DaShaun
Murphy, Jacquelyn
Phillips, Susan
Profit, Crystal
Rosewicz, William
Sincere, Anjette
Smith, Katie
Steele, Michele
Thorne, Rosalie
Warren, Joni
Williams, Alicia
Wilson, Peggy

GUEST: Rick Ament




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      Department of                                             Memorandum
      Veterans Affairs

Date: February 15, 2020

From: Chief of Office of Community Care (OCC)

Subj: RMO response to case number 102157

  To: Natalina Alford

Thru: EEO Manager
      Human Resources

The following response is to alleged allegations of harassment/HWE (non-sexual) raised by
Ms. DaShaun McCray, Nurse Manager for Office of Community Care (OCC). To my
knowledge this is the first time I have been made aware of harassment towards Ms. McCray.
As noted in explanation in Claim #2, I was made aware she no longer wanted to work in
Community Care or under my supervision, but not a hostile environment or harassment. And I
must say I am very surprised she is filing a harassment/HWE: in 2017, Ms. McCray blatantly
and admittedly violated the HIPPA regulation by accessing a veteran’s chart in CPRS.
Because I believe in, and govern in a just culture mindset, I investigated the case. Realizing
that indeed the violation occurred, it also allowed Ms. McCray the details needed to suggest to
the medical staff a different plan of treatment. The suggested treatment did indeed save the
limb and avoid an amputation for her significant other. Against advice from the Chief of Staff
(COS), Dr. Revote, to terminate Ms. McCray, I proposed a lessor disciplinary action. In 2018,
Ms. McCray continued to demonstrate strong clinical skills and leadership qualities, therefore I
petitioned and appealed the Board of Nursing’s decision to reconsider promoting Ms. McCray
to a Nurse III, waiving the educational requirement (see appeal attachment). She was
promoted to a Nurse III without the completion of a master’s degree. When the position
opened to hire a Nurse Manager for OCC, I encouraged Ms. McCray to apply. Ms. McCray
was selected by the interviewing panel and was introduced to the staff as the New Nurse
Manager in February of 2019. The following is to address each stated claim proposed by Ms.
McCray with supporting documents attached.

Claim HWE:
   1) Claim states I, RMO, usurped her authority beginning in 2018 and forward. I am
      confused by this statement as Ms. McCray was a staff nurse and not in a position of
      authority/supervisory role till returning from surgery in Jan. of 2019 (staff meeting
      minutes attached for reference). Since no examples were provided with this alleged
      claim, I can only summarize Ms. McCray is referencing to the frequent changes that
      occur in the Community Care (CC) arena. Between the changes in the Choice Program,
      the conversion to TriWest (TW), then Patient Centered Community Care (PC3), then
      PC3 with VA-scheduling, the preparation for the roll-out of the Mission Act, the many



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   new programs to be initiated and now the switching to Optum the Third-Party Payer
   replacing TW; varying instructions were provided by VISN leadership, as they too were
   trying to figure out all the new regulations and processes to follow. Each communication
   was then passed on to staff, and at times became very confusing. (Supporting evidence
   of this noted in e-mail dated 12/11/2019). The Community Care (CC) field guide book
   was and is continually being updated to support new processes. Ms. McCray did voice
   opposition to some of the proposed processes by VISN leadership, and that may be her
   perception to pitting staff against each other, as I recommend, we follow VISN
   guidance. In the end, all processes were and are being finalized. All staff are using the
   most current process to date. I still value Ms. McCray’s input as she is very diligent to
   review the most current directives and processes identified in the CC field guide book.

2) Claim 2 states RMO increased her workload on 1/24/2020. To date, Ms. McCray has
   been in her position approximately one year. However, due to the frequent physical
   therapy appointments of Ms. McCray in January of 2019 and many program changes in
   the department, I opted to roll-out her full duties slowly as to not overburden or
   discourage her as a new manager. Between February of 2019 and June of 2019, I
   shared the responsibility of investigating, resolution of complaint, and writing the
   response for all congressional inquiries and White House responses pertaining to CC
   consults as well as fielding billing inquiry calls and veteran/vendor complaints. I
   delegated full responsibility of Veteran Care Agreements (VCA) and well as oversight of
   all Individual Authorization conversion to Ms. McCray. While I assisted in the
   implementation of Decision Support Tree (DST) program and education of all other
   services. Ms. McCray was also preforming other routine manager duties such as
   Nurses Performance appraisals, staffing, time keeping, dispute resolution between staff,
   and other meetings associated with being a Nurse Manager. From June of 2019 to
   December of 2019, Ms. McCray led the team in the conversion to Provider Profile
   Management System (PPMS) and Health Sharing Referral Management (HSRM)
   programs (programs now replacing TW) (PP slide attached with workload distribution
   noted). These programs are now being utilized with minimal support needed.
   Therefore, at the 1/6/2020 OCC Supervisory weekly staff meeting I announced I would
   be turning over all duties to the immediate supervisor, respectively MSA to Ms. Dial and
   RN to Ms. McCray. While informing them I, I stated I know it is a heavy load as I have
   been a front-line manager, and if they needed assistance, I am willing to help. Ms.
   McCray assured me multiple times ‘I can handle it’. She seemed very pleased and
   confident to have full responsibility for all the nursing functions. Therefore on 1/22/20 I
   trained Ms. McCray on how to access the VISN SharePoint site and complete the
   staffing model used for requesting staff. I invited her to attend the meeting with
   leadership where I was to present the staffing requests for the department on 1/30/20,
   as this was another opportunity for exposure to upper level meetings and business
   etiquette.
   Unfortunately, from 1/6-1/30, less than a month, Ms. McCray was missing many
   deadlines. She refused to ask for help and when offered acted offended. When I had to
   follow-up on assignments as her supervisor to ensure the task was completed, she
   became angry that I had discovered another deadline missed.




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   Ms. McCray statement in the claim that her behavior was discussed at the meeting
   between myself and Dr. Cummings is an assumption on her part, as she was not in
   attendance nor did I discuss any specific behavior of Ms. McCray. I did ask Dr.
   Cummings, COS, for advice on how best to lead Ms. McCray as I feel she is becoming
   more frustrated and I am not sure of the reason, and I feel she will no longer accepts
   advice on leading staff. It was advised to me at one of my standing weekly meeting with
   Dr. Cummings to allow Ms. McCray to have full responsibility of all Nurse Manger
   Functions. This was a concern after the EEO review conducted by Neil Simmons in our
   department concerning the direct supervisors (see attachment). Therefore, the
   announcement was made at the 1/6/2020 OCC Supervisory meeting as noted above. It
   was not until the meeting called by Dr. Cummings, on 1/31/20 that I heard from Ms.
   McCray’s mouth how unhappy and dissatisfied she was in her current position. Ms.
   McCray informed me (announced) that she had spoken to Dr. Cummings and Dr.
   Cotton weeks earlier concerning me and repeatedly stated ‘she was done with
   Community Care’. The false claims she stated referencing to 2018 were merely out of
   lack knowing the entire story, one which she would not have been privy to as a staff
   nurse.

3) Claim 3 states she was not allowed to speak at the meeting in which I was presenting to
   our Executive Leadership team, known as the Pentad, of which the Director is present
   on 1/30/2020. However, such claim is easily disputed by all in attendance. While it was
   my responsibility to present as Chief of the service, Ms. McCray took over answering
   questions concerning how the data was gathered. Because Ms. McCray had only a
   cursory overview of the model, she stated misleading statements to the authenticity of
   the report which resulted in having to produce another report to address time required
   on backlog, which is built into the staffing model by Central Office. (Pentad presentation
   supplied as well as next backlog report post meeting 1/30/20, and the series of e-mails
   to get correct data submitted). Important to note: after meeting with COS on 1/31/20,
   Ms. McCray refused to complete backlog report or submit a plan, RMO finished report
   and submitted to COS.

4) Claim 4 counters the very statement she inferred in claim 3 of not being allowed to
   speak.
   When I arrived at the OCC office, post morning huddles with Leadership, with briefcase,
   lunch bag, purse in hand, and my coat is still on, Ms. McCray asks if I had read the e-
   mail from Dr. Cummings. I had not, and she had it pulled up on her computer screen.
   She pushed herself back in the chair and posturing for me to read it. Because I have bi-
   focals I had to go around her desk to see the screen. Standing beside her, I read the e-
   mail. At which she belligerently accused me of invading her personal space. I
   immediately returned to the opposite side of the desk. She was very upset as Dr.
   Cummings has removed her from participating on the Referral Coordination Team.
   I asked if she was offended, and indeed she was, in addition to claiming to be the only
   subject matter expert and certified case manager in this VA. After moving on from that
   topic, I commented that I was going to allow her to complete the report for Dr.
   Cummings and the rest of the Pentad, as she took over the presentation and created




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      much more work. I did not yell or raise my voice, it was stated very matter of fact in a
      calm manner. This too irritated Ms. McCray.

      While I still believed she could become a great manager, she is not listening to advice
      or suggestions. I tried verbally counseling Ms. McCray on 2/5/20 not for any disciplinary
      action but to educate her as a manager how to meet deadlines, use Inter Qual criteria,
      use data and lead staff (see my notes from the verbal counseling). I realized that I could
      no longer be of value to train Ms. McCray as a manager, however, she mentioned
      Heather Brown, Deputy Nurse Exc. is her mentor for professional growth. Because I
      believe that Ms. McCray has the potential to be a good leader, and she has announced
      she is looking for other job opportunities, with Ms. McCray’s knowledge I invited Ms.
      Brown to the meeting with Ms. McCray and myself on 2/14/2020. Ms. McCray voiced no
      objection to having Ms. Brown attend our meeting. Heather could provide the
      mentorship for Ms. McCray for the areas of staff interactions that I had to bring to Ms.
      McCray’s attention (see meeting notes attached). Unfortunately, my best intentions
      were miss-construed; no self-reflection, no openness to guidance or constructive
      criticism was accepted by Ms. McCray. Instead she became agitated and left in an
      abrupt manner.

      I will continue to treat Ms. McCray respectfully and am confident she will perform her
      Nurse Manger duties in a satisfactory manner. If I can be of any further service to you,
      please feel free to contact me. I appreciate your time to investigate and resolve this
      issue.


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                                DEPARTMENT OF VETERANS AFFAIRS
                                            Robert J. Dole
                                   Medical & Regional OfficeCenter
                                           5500 E. Kellogg
                                         Wichita, KS 67218




MEMORANDUM FOR RECORD                                                                      5-28-2020

This panel was tasked to accomplish a fact finding of the Office of Community Care (OCC) to determine
adequacy of communication, understanding of work, provision of coaching/guidance by
supervisors/leads, collaboration amongst staff, collaboration and coordination amongst leadership, and
outstanding issues that need to be addressed.

Interviews were accomplished of Chief of department, Supervisor, lead MSAs and Nursing staff assigned
to OCC both currently and previously. During this investigation, One supervisor retired, and the other
supervisor took a position at a different VA. The Chief has a new nurse manager assigned.

It is the finding of this panel that the overall issues in question may have self-resolved due to the
supervisory changes that occurred within the department shortly prior to the start and during this
investigation. The management of the department changed and currently leaves Ms. Duda as the Chief
with new supervisory personnel directly subordinate to her. Some changes in team dynamics have also
occurred, and the majority of personnel interviewed have stated that the changes in the department in
the past couple of weeks have been positive.

It was determined by this panel that requirements of this department are rapidly changing and
communication of these changes has been troublesome. Almost all respondents noted that
communication is deficient between MSAs and Nursing staff. There have been sporadic meetings to
attempt to collaborate dissemination of information, however, they are infrequent and often spur of the
moment leaving all personnel confused with direction and guidance. Communication is difficult due to
the pace of changes, the division of the department, and the tools utilized to communicate (mostly
email which is overwhelming in volume and content). An added struggle with communication has been
the development of telework agreements due to the pandemic that has created barriers to group
encounters.

The understanding of work is problematic due to the communication breakdowns. Staff do not receive
the same information at the same time, may receive conflicting information, or may not implement the
information shared. Training is provided by trainers, but is not uniform and information may be
provided differently, depending on the trainer. In general, MSAs and Nurses do know their own roles,
but may not always understand the division of duties.

The supervisors seem to lack time for coaching. Leads are more often sought out for information; as was
DaShaun, historically. Staff are allowed to “skip” the leads and their supervisor and go straight to the
Chief for information; thus creating a gap in information and a lack of trust in the supervisors, as well as
a perception of favoritism.

Collaboration among staff in general is acceptable. The one exception noted was rectified with the team
change previously stated.

The major disfunction identified by this panel is coordination of leadership. There is very little
coordination amongst leadership when it comes to how they supervise staff, how they communicate

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information to staff, how they communicate with each other, how they organize their teams, how
information flows up, how information flows via chain of command, etc. There appears to be an issue or
personality conflict between the Chief and each of the supervisors. From the testimony of one
supervisor and the Chief herself, it seems that Ms. Duda is a good program manager and is good with
staff, but is not as good at leading supervisors. It seems that she allows staff to jump the chain of
command, leaves out the supervisors on important issues, and does not communicate equally or require
the same level or amount of accountability. It is the opinion of the team that Ms. Duda may benefit from
leadership skills, education, development, and mentoring on being in the Chief role vs. a supervisor and
how to handle supervisors who report to her vs. staff who report to the supervisors.

The biggest deterrent to the team was the conflict between the Chief and the supervisors, and the
identified lack of communication provided to all personnel. This created a tenseness in the environment
that may now be corrected with the supervisory changes. However, without provision of some
supervisory training, the potential for continuation of similar problems with new supervisors is possible
but unknown. Nearly all staff complained about the toilets overflowing and having problems with
environmental issues due to their lack of space and poor building maintenance at the Parklane facility
No other outstanding issues were identified by department personnel.

This concludes the findings of this panel.




MELVIN BINGHAM                  MISTY LESTER                             RAYMON MILES
Chief, Prosthetics              Chief, Social Work Service               Chief, EMS




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From:             Blackburn, Lisa R.
To:               Bingham, Melvin J.; Miles, Raymon S.; Lester, Misty
Cc:               Dean, Christina
Subject:          Assignment Notification
Date:             Thursday, April 9, 2020 7:31:14 AM
Attachments:      Charge Letter.pdf
                  Discrimination Definitions by Type.pdf
                  FF Analysis - Blank.docx
                  Witness Notice.docx
                  Weingarten Rights Form.pdf
                  FF questionForm.docx


You have been tasked by the PENTAD to complete a confidential fact finding. Please see attached
documents for details. HR will assist you with questions appropriate to the scope. Please note that
Mr. Bingham is out of the office until Monday.

Thank you,


Lisa Blackburn
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Medical Center Director
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“How old would you be if you didn’t know how old you are?” ~ Satchel Paige




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